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                 EXHIBIT 67
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                  Confidential Videotaped Deposition of James R. Fruchterman
                                Conducted on September 8, 2015
                                                                                                1 (Pages 1 to 4)
                                                         1                                                            3
 1          UNITED STATES DISTRICT COURT                  1             APPEARANCES OF COUNSEL
 2          FOR THE DISTRICT OF COLUMBIA                  2       FOR THE PLAINTIFFS:
 3                                                        3           QUARLES & BRADY LLP
 4   AMERICAN EDUCATIONAL RESEARCH                        4           BY: JONATHAN HUDIS, ESQ.
 5   ASSOCIATION, INC., ET AL.,                           5           1700 K Street, NW, Suite 825
 6        PLAINTIFF,                                      6           Washington, D.C. 20006
 7      vs.           No. 1:14-CV-00857-TSC-DAR           7           Telephone: (202) 372-9599
 8   PUBLIC.RESOURCE.ORG, INC.,                           8           E-mail: jon.hudis@quarles.com
 9        DEFENDANT.
                                                          9           and
     _____________________________
                                                         10           OBLON, MCCLELLAND, MAIER & NEUSTADT,
10
                                                         11           L.L.P.
11
                                                         12           BY: KATHERINE D. CAPPAERT, ESQ.
12
                                                         13           1940 Duke Street
13           VIDEOTAPED DEPOSITION OF
                                                         14           Alexandria, Virginia 22314
14            JAMES R. FRUCHTERMAN
15              CONFIDENTIAL
                                                         15           Telephone: (703) 413-3000
16          Tuesday, September 8, 2015
                                                         16           E-mail: Kcappaert@oblon.com
17                                                       17       FOR THE DEFENDANT:
18                                                       18           FENWICK & WEST, LLP
19                                                       19           BY: SEBASTIAN KAPLAN, ESQ.
20                                                       20           555 California Street, 12th Floor
21                                                       21           San Francisco, California 94104
22                                                       22           Telephone: (415) 875-2477
23                                                       23           E-mail: skaplan@fenwick.com
24    Reported By:                                       24       ALSO PRESENT:
25    KATHLEEN WILKINS, CSR #10068, RPR-RMR-CRR-CCRR-CLR 25           STEVE PATAPOFF, VIDEOGRAPHER

                                                         2                                                            4
 1     VIDEOTAPED DEPOSITION OF JAMES R. FRUCHTERMAN          1            INDEX
 2          BE IT REMEMBERED that on Tuesday,                 2         INDEX OF EXAMINATIONS
 3    September 8, 2015, commencing at the hour of            3                       PAGE
 4    9:21 a.m. thereof, at FENWICK & WEST, LLP, 801          4    EXAMINATION BY MR. HUDIS ......................9
 5    California Street, Mountain View, California,           5    AFTERNOON SESSION ...........................143
 6    before me, Kathleen A. Wilkins,                         6
 7    RPR-RMR-CRR-CCRR-CLR, a Certified Shorthand             7              INDEX OF EXHIBITS
 8    Reporter, in and for the State of California,           8    EXHIBIT          DESCRIPTION                PAGE
 9    personally appeared JAMES R. FRUCHTERMAN, a             9    Exhibit 48 Document entitled, ............12
10    witness in the above-entitled court and cause,         10             "Subpoena to Testify in a
11    who, being by me first duly sworn, was thereupon       11             Civil Action"
12    examined as a witness in said action.                  12    Exhibit 49 Curriculum Vitae, James .......21
13                                                           13             R. Fruchterman
14                                                           14    Exhibit 50 Spreadsheet entitled, .........41
15                                                           15             "Patents, Trademarks and
16                                                           16             Copyrights of Calera
17                                                           17             Recognition Systems,
18                                                           18             Inc."
19                                                           19    Exhibit 51 Spreadsheet entitled, .........50
20                                                           20             "Patents and Trademarks
21                                                           21             of RAF Technology, Inc."
22                                                           22    Exhibit 52 Document entitled, ............68
23                                                           23             "Patents and Trademarks
24                                                           24             of Arkenstone, Inc."
25                                                           25   //

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 1          INDEX OF EXHIBITS (Continued)                  1        INDEX OF EXHIBITS (Continued)
 2    EXHIBIT           DESCRIPTION                PAGE    2   EXHIBIT           DESCRIPTION              PAGE
 3    Exhibit 53A United States Patent No. ......69        3   Exhibit 62 Lexis reported version of ....237
 4             5,470,233                                   4            the Second Circuit Court
 5    Exhibit 53B Document entitled, ............69        5            of Appeals decision in
 6             "Abstract of Title for                      6            Authors Guild versus
 7             Application 08210239"                       7            HathiTrust reported at
 8    Exhibit 54 Spreadsheet entitled, .........98         8            755 F.3d 87
 9             "Trademarks and                             9   Exhibit 63 Document entitled, "The ......241
10             Copyrights of Beneficent,                  10            Internet Archive's Open
11             Inc."                                      11            Library is violating
12    Exhibit 55 Screenshots from .............143        12            authors' copyrights"
13             Bookshare website                          13   Exhibit 64 Document entitled, ...........249
14    Exhibit 56 Document entitled, "The ......179        14            "Expert Report of James
15             Chafee Amendment:                          15            R. Fruchterman"
16             Improving Access to                        16
17             Information"                               17         EXHIBITS PREVIOUSLY MARKED
18    Exhibit 57 Article entitled, ............185        18      AND REFERRED TO IN THIS DEPOSITION
19             "Developing Information                    19   EXHIBIT                  PAGE
20             Technology to Meet Social                  20   Exhibit 34              304
21             Needs"                                     21
22    Exhibit 58 Document entitled, ...........190        22    QUESTIONS WITNESS INSTRUCTED NOT TO ANSWER
23             "Assistive Technology for                  23           PAGE LINE
24             Visually Impaired and                      24           221 8
25             Blind People"                              25           227 4

                                                      6                                                          8
 1          INDEX OF EXHIBITS (Continued)                  1   September 8, 2015                  9:21 A.M.
 2    EXHIBIT            DESCRIPTION             PAGE      2             PROCEEDINGS
 3    Exhibit 59 Document entitled, ...........208         3          THE VIDEOGRAPHER: Good morning. Here
 4             "Declaration of James                       4   begins Tape No. 1 in the video deposition of
 5             Fruchterman in Support of                   5   James Fruchterman in the matter of American
 6             Motion For Summary                          6   Educational Research Association, Incorporated, et
 7             Judgment"                                   7   al., versus Public.Resource.Org, Incorporated, in
 8    Exhibit 60 Document entitled, ...........208         8   the U.S. District Court of the District of
 9             "Supplemental Declaration                   9   Columbia, Case Number 1:14-CV-00857-TSC-DAR.
10             of James Fruchterman In                    10          Today's date is September 8th, 2015.
11             Support of Defendant                       11   Time on the video monitor is 9:21 a.m. The
12             Intervenors' Opposition                    12   videographer today is Steve Patapoff representing
13             to Plaintiffs' Motion For                  13   Planet Depos. The video deposition is taking
14             Summary Judgment"                          14   place at Fenwick & West, 801 California Street,
15    Exhibit 61 Westlaw reported version .....229        15   Mountain View, California.
16             of district court opinion                  16          Would counsel please voice-identify
17             in the Authors Guild,                      17   themselves and state whom they represent.
18             Inc. versus HathiTrust,                    18          MR. HUDIS: Jonathan Hudis,
19             et al., reported at 902                    19   Quarles & Brady, LLP, for plaintiffs.
20             F.Supp.2d 445                              20          MS. CAPPAERT: Katherine Cappaert from
21                                                        21   Oblon, LLP, for plaintiffs.
22                                                        22          MR. KAPLAN: Sebastian Kaplan,
23                                                        23   Fenwick & West, LLP, for defendant
24                                                        24   Public.Resource.Org, Incorporated.
25    //                                                  25          THE VIDEOGRAPHER: Court reporter today

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                                                           9                                                        11
 1    is Kathleen Wilkins representing Planet Depos.            1   BY MR. HUDIS:
 2           Would the reporter please swear in the             2      Q. Correct. And your counsel is right,
 3    witness.                                                  3   unless it's about privilege.
 4             JAMES R. FRUCHTERMAN,                            4         If at any point you come to realize that
 5            having been duly sworn,                           5   an answer that you've already given during the
 6       was examined and testified as follows:                 6   day, Mr. Fruchterman, is not completely correct,
 7            EXAMINATION BY MR. HUDIS                          7   will you please let me know, and I will give you
 8    BY MR. HUDIS:                                             8   an opportunity to correct that answer.
 9       Q. Good morning, sir. Would you state your             9      A. Yes.
10    full name and address for the record.                    10      Q. Is there any reason, whether by taking
11       A. James Robert Fruchterman, Jr.                      11   medication or illness, that you cannot testify
12    1850 Middlefield Road, Palo Alto, California.            12   completely, accurately and truthfully today?
13       Q. And is that your business address or               13      A. No.
14    your home address?                                       14      Q. Mr. Fruchterman, have you been deposed
15       A. My home address.                                   15   before?
16       Q. Could I have your business address,                16      A. Yes.
17    please.                                                  17      Q. When?
18       A. My business address is 4780 California             18      A. In the last month or two, once.
19    Avenue, Palo Alto, California.                           19      Q. Was that in the ASTM case?
20       Q. Mr. Fruchterman, I am here -- my name is           20      A. Yes.
21    Jonathan Hudis, representing the plaintiffs in an        21      Q. And that case is also pending in DC,
22    action in which you've been designated as an             22   federal court?
23    expert witness.                                          23      A. I'm not familiar with what court it's
24           My colleague, Katherine Cappaert, is              24   in.
25    here with me and will be working with me during          25      Q. And that case is also pending against
                                                       10                                                           12
 1    the deposition.                                           1   Public.Resource.Org, Inc.?
 2           Before we get started, a couple of                 2      A. Yes, that's my understanding.
 3    deposition rules which I'd like you to                    3      Q. Is that the only time you've been
 4    acknowledge.                                              4   deposed?
 5           You understand you're giving testimony             5      A. Yes.
 6    under oath?                                               6      Q. Have you ever testified at a trial
 7       A. Yes.                                                7   before?
 8       Q. The court reporter, you understand, is              8      A. No.
 9    taking down everything that you're saying?                9          MR. HUDIS: I'd like the court reporter
10       A. Yes.                                               10   to now mark as Plaintiff's Exhibit Fruchterman 48.
11       Q. We'll need audible responses from you,             11          Counsel.
12    so no nods or gestures.                                  12          (Whereupon, Deposition Exhibit 48 was
13       A. Yes.                                               13      marked for identification.)
14       Q. If at any point you do not understand a            14   BY MR. HUDIS:
15    question, please let me know, and I will try to          15      Q. Mr. Fruchterman, I now place in front of
16    clarify the question for you.                            16   you what's been marked as Deposition Exhibit 48.
17       A. Okay.                                              17          Have you seen this deposition subpoena
18       Q. All right. If you need a break for any             18   of Exhibit 48 that is directed to you before
19    reason, please let me know, and we can provide you       19   today?
20    that break. Except if there is a question                20      A. No, I don't believe so.
21    pending, you must answer the question before we          21      Q. How is it you were made aware that you
22    take the break.                                          22   were testifying today?
23       A. Yes.                                               23      A. Through counsel.
24           MR. KAPLAN: Unless it's about                     24      Q. All right. What did you do to prepare
25    privilege.                                               25   for testifying today?

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                                                     13                                                       15
 1           MR. KAPLAN: And I'll object to the            1      A. No.
 2    extent that the question calls for privileged        2      Q. Did you speak with Mr. Malamud to
 3    communications or other information protected by     3   prepare to testify today?
 4    Federal Rule of Civil Procedure 26 and instruct      4      A. No.
 5    the witness to answer only to the extent that it     5          MR. KAPLAN: Objection. Asked and
 6    does not involve communications with counsel.        6   answered.
 7           THE WITNESS: I reread my expert report.       7          THE WITNESS: I will try to pause.
 8    I read the rebuttal report from plaintiff's          8   Sorry.
 9    expert.                                              9          MR. KAPLAN: Got to give me --
10    BY MR. HUDIS:                                       10          THE WITNESS: Yeah, you're not in that
11       Q. Anything else?                                11   rhythm yet.
12       A. Nothing beyond the things I can               12          MR. HUDIS: Come on. Got to catch up.
13    disclose.                                           13      Q. How long do you think you took to
14       Q. Okay.                                         14   prepare by reading the two reports and their
15           MR. KAPLAN: Jonathan, if you don't           15   attachments?
16    mind.                                               16      A. Less than two hours total for the
17           To clarify my instruction, you can           17   reading.
18    mention the existence of conversations that we      18      Q. And that is the sum total of the
19    had, just not their content.                        19   documents you reviewed to prepare to testify?
20           THE WITNESS: So I have also spoken with      20      A. Yes.
21    counsel.                                            21          And I believe in this entire line of
22    BY MR. HUDIS:                                       22   questioning, we're talking about in preparation
23       Q. All right. And that was the                   23   for this deposition, since the creation of my
24    Fenwick & West counsel?                             24   expert report.
25       A. Correct.                                      25      Q. That is correct, sir.
                                                     14                                                       16
 1       Q. All right. Did you speak with any of           1      A. Okay. Then my -- my testimony has been
 2    the counsel from EFF, Electronic Frontier            2   accurate so far.
 3    Foundation, to prepare to testify?                   3      Q. All right. Since you were retained to
 4       A. No. Well, just to be accurate, not in          4   be an expert witness in this case, have you read
 5    months. So ...                                       5   the pleadings, meaning the complaint, the answer
 6       Q. All right. So just to clarify, you were        6   and the reply?
 7    told by counsel you were going to be testifying      7      A. No.
 8    today, but you haven't seen the deposition           8      Q. Mr. Fruchterman, what is the highest
 9    subpoena of Exhibit 48 before?                       9   level of your education?
10       A. Correct.                                      10      A. A master's degree.
11       Q. Besides reviewing your expert report and      11      Q. Okay. And based upon reviewing some of
12    the rebuttal expert report, did you review any      12   your papers and your expert witness report, you
13    other documents to prepare to testify today?        13   received a bachelor's degree from the California
14       A. Only those attached to those reports.         14   Institute of Technology?
15       Q. Okay. So let me ask it as a fuller            15      A. Correct.
16    question.                                           16      Q. And that was a bachelor's of science in
17       A. Mh-hmm.                                       17   engineering in 1980?
18       Q. Other than reviewing your expert report       18      A. Correct.
19    and its attachments and the rebuttal report and     19      Q. What was your major?
20    its attachments, did you read anything else in      20      A. I would say electrical engineering.
21    order to prepare to testify today?                  21      Q. Did you have a minor during your
22       A. No.                                           22   undergraduate studies?
23       Q. To prepare to testify today, did you          23      A. No.
24    speak with anyone else except the lawyers at        24      Q. Did you have what's called a
25    Fenwick & West?                                     25   concentration during your undergraduate studies?

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                                                      17                                                        19
 1       A. I simultaneously got a master's in              1   electrical engineer?
 2    applied physics while completing my bachelor's, so    2      A. Yes.
 3    I would say applied physics might fall in that        3      Q. And that was the project where the
 4    category.                                             4   rocket blew up?
 5       Q. So you also received a master's degree          5      A. Correct.
 6    from California Institute of Technology?              6      Q. Mr. Fruchterman, just to outline the
 7       A. Correct.                                        7   extent of your formal school training, you do not
 8       Q. And that was in 1980?                           8   have any formal school training in psychology?
 9       A. Correct.                                        9      A. Correct.
10       Q. And that was a master of science in            10      Q. And you do not have any formal school
11    applied physics?                                     11   training in psychometrics?
12       A. Correct.                                       12      A. Correct.
13       Q. Now, for your master's, did you have a         13      Q. You don't have any formal school
14    major?                                               14   training in educational or achievement tests or
15       A. Caltech didn't have a major under the          15   measures?
16    applied physics degree.                              16      A. Correct.
17       Q. Do you have a minor for your master's?         17      Q. And you do not have any formal education
18       A. They didn't have minors.                       18   in psychological tests or measures?
19       Q. And did you have a concentration for           19      A. Correct.
20    your master's?                                       20      Q. Now, your resume notes that you have
21       A. Informally, I focused on optics and            21   several -- you had several engineering positions
22    lasers over other areas of applied physics.          22   with the following companies: Phoenix
23       Q. Now, you did start studies towards a           23   Engineering, Inc.?
24    Ph.D.?                                               24      A. Yes.
25       A. Correct.                                       25      Q. What years was that?
                                                      18                                                        20
 1       Q. And that was at Stanford?                       1      A. '81-'83.
 2       A. Yes.                                            2      Q. 1981 to 1983?
 3       Q. And that was from 1980 to 1981?                 3      A. Correct.
 4       A. Correct.                                        4      Q. What type of company was it?
 5       Q. That was in electrical engineering?             5      A. It was a private enterprise rocket
 6       A. Yes.                                            6   company.
 7       Q. Do you recall what courses you took             7      Q. Where was it located?
 8    towards your Ph.D.?                                   8      A. Santa Clara -- certainly -- Santa Clara
 9       A. No. It would have been in the applied           9   County. Certainly this area.
10    physics and electrical engineering directions, for   10      Q. What was your job title at Phoenix?
11    the most part.                                       11      A. I had a -- I was vice president.
12       Q. And you did not obtain your Ph.D.?             12      Q. What were your job responsibilities?
13       A. Correct.                                       13      A. I don't recall.
14       Q. Why not?                                       14      Q. What did you do there?
15       A. I took a leave of absence to join a            15      A. Tried to raise money to start a rocket
16    private rocket company.                              16   company.
17       Q. And that was G.H.C., Inc.?                     17      Q. Do you remember anything else you did?
18       A. G.C.H., Inc.                                   18      A. I probably was involved with the
19       Q. G.C.H., Inc. Sorry for my dyslexia.            19   finances. We tested some prototype rocket
20           And that was the -- I don't know if I'm       20   engines. And I spent most of my time trying to
21    spelling -- pronouncing this right -- Percheron?     21   raise money, which we were unsuccessful in doing.
22       A. Correct pronunciation, yes.                    22          MR. HUDIS: Off the record.
23       Q. Thank you.                                     23          THE VIDEOGRAPHER: Going off the record
24           All right. And that was the Percheron         24   at 9:34.
25    private enterprise rocket project, as an             25          (Whereupon, a recess was taken.)

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                                                         21                                                         23
 1          THE VIDEOGRAPHER: Back on the record at            1   responsibilities.
 2    9:37.                                                    2      Q. And you were employed at the IBM T.J.
 3    BY MR. HUDIS:                                            3   Watson Research Center?
 4        Q. So while we were off the record,                  4      A. Correct.
 5    Mr. Fruchterman, my colleague noted that I was a         5      Q. What type of company was that?
 6    little dilatory in marking your resume. So we're         6      A. IBM is a large computer company.
 7    discussing your background. You might as well            7      Q. All right. What did -- was that a
 8    have your resume in front of you.                        8   division, the Watson Research Company?
 9        A. Okay. Thank you.                                  9      A. The Watson Research Center --
10            MR. HUDIS: I'd like the court reporter          10      Q. Center.
11    to mark as Deposition Exhibit Fruchterman 49.           11      A. -- is -- was one of IBM's major research
12            (Whereupon, Deposition Exhibit 49 was           12   centers.
13        marked for identification.)                         13      Q. And at that research center, what did
14            THE WITNESS: Okay. Thank you.                   14   they do at the time you were employed there?
15    BY MR. HUDIS:                                           15      A. Well, this is a large research center
16        Q. Mr. Fruchterman, do you recognize this           16   with a couple thousand of employees, so they did a
17    document?                                               17   whole bunch of different things.
18        A. I do.                                            18      Q. What did you do?
19        Q. What is it?                                      19      A. I worked on photoacoustic microscopy.
20        A. My resume.                                       20      Q. And if you could define what that is,
21        Q. All right. So we were discussing your            21   please.
22    background, and we finished discussing your             22      A. Making dust scream. So our task was to
23    engineering position with Phoenix Engineering.          23   detect dust on top of silicon wafers that would be
24            Let's go on to G.C.H., Inc.                     24   hard to see, sort of visual inspection, by hitting
25        A. All right.                                       25   them with a pulsed laser that would cause the dust
                                                         22                                                         24
 1      Q. All right. And what type of company was             1   to heat up and emit sound, which we could then
 2    that?                                                    2   detect. So it was an inspection technique to
 3       A. It was a private company, probably a C             3   improve silicon wafer -- reduce defects,
 4    corp, I'm guessing.                                      4   basically.
 5      Q. What business was it in?                            5          MR. KAPLAN: Kathleen, I was wrong. We
 6       A. In the business of building a private              6   are going to talk about semiconductors.
 7    enterprise rocket.                                       7   BY MR. HUDIS:
 8      Q. How long were you with the company?                 8      Q. What year was this? Or years.
 9       A. Under one year.                                    9      A. This would have been '80, '81. This was
10      Q. What year -- what year was that?                   10   the summer -- it was a summer internship between
11       A. 1981 -- probably -- I was probably only           11   my master's and my -- starting up my Ph.D. program
12    employed during 1981.                                   12   at Stanford.
13      Q. What was your job title?                           13      Q. So that was the summer of '80 or summer
14       A. Electrical engineer.                              14   or '81?
15      Q. And what were your responsibilities at             15      A. The summer of '80.
16    G.H.C.?                                                 16      Q. Did you have a job title there?
17       A. At G.C.H., my responsibilities --                 17      A. Some variation on summer intern. I
18      Q. G.C.H.                                             18   don't recall the exact title.
19       A. No problem.                                       19      Q. Have you told me all about your job
20           -- were to design remote fuel loading            20   responsibilities at the Watson Research Center at
21    systems to fuel up the rocket, telemetry systems        21   the time you were employed there?
22    to collect data about the rocket's performance, a       22          MR. KAPLAN: Objection. Vague.
23    remote igniting system and a command destruct           23          THE WITNESS: Certainly that was the
24    system to blow up the rocket if it went off             24   main project I worked on, and I wasn't engaged to
25    course. Yeah. That was my main -- top                   25   work on any other major projects.

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                                                      25                                                         27
 1    BY MR. HUDIS:                                         1      A. Correct.
 2       Q. And you were employed at the General            2      Q. When was that?
 3    Motors Company?                                       3      A. The summer of 1977.
 4       A. Two summers, while -- while doing my            4      Q. What did they do there at the Fermi
 5    engineering degree.                                   5   National Accelerator Laboratory while you were
 6       Q. Which summers?                                  6   there?
 7       A. That would have been the summers of '78         7      A. They -- they ran a large accelerator,
 8    and '79.                                              8   and they designed physics experiments to detect
 9       Q. You were an intern?                             9   elementary particles.
10       A. Yes.                                           10      Q. What was your job title there?
11       Q. What projects did you work on?                 11      A. Something like student intern or summer
12       A. I only remember one project, which was         12   intern.
13    to build a fast start system for a diesel engine,    13      Q. What did you do there?
14    so that the engine would start faster when you       14      A. Primarily worked on instruments,
15    turn on the ignition. Often called a glow plug.      15   maintenance of instruments, upgrading of
16       Q. Do you remember any other projects you         16   instruments.
17    worked on?                                           17      Q. What kind of instruments?
18       A. No.                                            18      A. Well, the largest and longest-term
19       Q. And you worked at the NASA Jet                 19   project was on a multiwire proportional chamber.
20    Propulsion Laboratory?                               20      Q. What did it do?
21       A. Correct.                                       21      A. Detected signals from elementary
22       Q. When was that?                                 22   particles.
23       A. I'm going to say '77 through '79, but I        23      Q. Sounds?
24    am not exactly sure. It was also during my           24      A. More electrical signals. The -- it was
25    undergraduate work at -- at Caltech. I was a         25   a large frame, maybe four by six, that had many
                                                      26                                                         28
 1    student research associate for Dr. Bruce Murphy --    1   different wires. You put it in, I believe, a
 2    Murray, who was then the director of JPL.             2   noble gas environment with a bunch of other
 3       Q. Do you remember what you did for                3   things, and you detected the path of the particle
 4    Dr. Murray?                                           4   by hitting some of these gas atoms, and then that
 5       A. I worked on the Spacel photographic data        5   would create a ionization that would create a
 6    retrieval system which held imagery from the          6   signal on the wires, so you would actually be able
 7    Viking missions, primarily.                           7   to measure the track through the -- through the
 8       Q. I think for the court reporter, you're          8   space.
 9    going to have to spell out the name of that           9      Q. So other than what is on your resume on
10    device.                                              10   the first page, are there any other companies you
11       A. Spacel, like the word "space" plus an L        11   worked for that are -- that are not listed here
12    at the end. Are we otherwise good, or do you need    12   since graduating from Caltech?
13    more?                                                13      A. Yes. There were additional positions,
14           THE REPORTER: I'm sorry?                      14   all -- all either ones that I did while trying to
15           THE WITNESS: Do you need any more or is       15   start companies or companies that didn't get
16    that enough?                                         16   started.
17           (Discussion held off record.)                 17      Q. What field of endeavor were these
18    BY MR. HUDIS:                                        18   companies that you tried to get started?
19       Q. Do you remember any other                      19      A. Technology.
20    responsibilities you had working for Dr. Murray at   20      Q. Any particular technology?
21    the NASA Jet Propulsion Laboratory?                  21      A. Well, they would have related to either
22       A. That was my primary project there, and I       22   electrical engineering or to computer science and
23    don't recall any others.                             23   at least one semiconductor company.
24       Q. And you worked at the Fermi National           24      Q. Any particular projects that you
25    Accelerator Laboratory?                              25   remember working on in starting up these companies

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 1    as you sit here today?                                 1   common.
 2       A. Oh, many ideas. Microfluidics, math and          2   BY MR. HUDIS:
 3    science simulation software, more pattern              3      Q. What is the most common?
 4    recognition companies, but none of these reached       4      A. Having digitally created content that
 5    the point of where I was actually employed,            5   stays digital and then is searched.
 6    because they never got started.                        6      Q. So, for example --
 7       Q. Could you define for us microfluidics?           7         MR. KAPLAN: Can I just interject. For
 8       A. It's a semiconductor-based technology            8   the court reporter, you had my objection as
 9    for moving gases or fluids rather than electrical      9   "compound." It was "competence." I just wanted
10    current, but under the control of electrical          10   to make sure we had that on the record.
11    signals.                                              11   BY MR. HUDIS:
12       Q. Any other notable projects in your              12      Q. So, for example, Mr. Fruchterman, a
13    working background that you haven't told us about?    13   document created in Microsoft Word would be a
14           MR. KAPLAN: Objection. Vague.                  14   method of creating searchable digital text?
15           THE WITNESS: I taught night school, in         15         MR. KAPLAN: Objection. Incomplete
16    computer programming. I crawled under houses as       16   hypothetical. Vague.
17    part of helping homeowners understand more of         17         THE WITNESS: It would be a great source
18    their earthquake risks. But those were back in        18   document to put into a system that analyzed
19    the early '80s, when I was trying to get my first     19   documents for full text. I'm not sure -- could
20    company really going.                                 20   you repeat the question.
21    BY MR. HUDIS:                                         21   BY MR. HUDIS:
22       Q. Since it's a fair part of your expert's         22      Q. Yes.
23    report, Mr. Fruchterman, in simple terms could you    23         So, for example, a document created in
24    please define what is "optical character              24   Microsoft Word would be a method of creating
25    recognition" and what does it do?                     25   searchable digital text?
                                                       30                                                       32
 1      A. So optical character recognition is the           1          MR. KAPLAN: Objection. Incomplete
 2   process of having a machine recognizing letters         2   hypothetical. Vague.
 3   and words, generally from documents, though it can      3          THE WITNESS: Yes. I would say that's
 4   be from other objects, and translating those into       4   pretty true.
 5   the letter or word equivalent so that those things      5   BY MR. HUDIS:
 6   can be processed.                                       6      Q. Thank you for your candor.
 7          So the most common application of                7          Mr. Fruchterman, was the OCR process
 8   optical character recognition is scanning, let's        8   first developed by Ray Kurzweil?
 9   say, a page of a document and turning it into a         9          MR. KAPLAN: Objection. Vague.
10   word processor file that is the equivalent of what     10   Competence.
11   you would have done if you had typed it in, but        11          THE WITNESS: No, that's not my
12   the machine, instead, had it scanned and then took     12   understanding. But he was a noteworthy inventor
13   the picture of the page and turned it into the         13   along a spectrum of inventors that progressively
14   text of the page.                                      14   improved the practice of optical character
15      Q. So for the remainder of this deposition,         15   recognition.
16   if I use the initials "OCR," we'll understand that     16   BY MR. HUDIS:
17   to mean "optical character recognition"?               17      Q. Was the OCR process that was developed
18      A. Yes.                                             18   by Ray Kurzweil used to create a reading machine
19      Q. Is OCR a common method of creating               19   for the blind?
20   searchable digital copies of texts?                    20          MR. KAPLAN: Objection. Vague.
21          MR. KAPLAN: Objection. Competence.              21   Competence.
22   Vague.                                                 22          THE WITNESS: Yes.
23          THE WITNESS: It is the most common form         23   BY MR. HUDIS:
24   when the source document is in physical or solely      24      Q. I'd like to turn back, Mr. Fruchterman,
25   image-based form, but it's probably not the most       25   to your resume and talk about the noted companies

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 1    with which you have been associated, starting with     1      A. No.
 2    Calera Recognition Systems and working up towards      2      Q. Are there other responsibilities you had
 3    Benetech.                                              3   in that role as vice president of finance?
 4           So is Benetech -- excuse me, is Calera          4      A. Yes. I was also a technical founder.
 5    Recognition Systems, Inc., still in business           5   So during that time period, I wrote software code.
 6    today?                                                 6   I worked a great deal with customers.
 7       A. It merged into a company that is still           7      Q. In what capacity?
 8    extant today.                                          8      A. In technology companies, there's usually
 9       Q. All right. Is the company, Calera                9   a salesperson and a tech person when you're doing
10    Recognition Systems, Inc., as that company was        10   a major sale to a company like Hewlett-Packard. I
11    known between 1982 and 1989, still in existence       11   would have been that tech person. So an executive
12    today?                                                12   with a technology background combined with a sales
13           MR. KAPLAN: Objection. Calls for a             13   executive, and together we would work on the care
14    legal conclusion. Competence.                         14   and feeding of that account and hopefully getting
15           THE WITNESS: Not by that name.                 15   their business.
16    BY MR. HUDIS:                                         16      Q. Have you told me all of your duties and
17       Q. All right. What type of company was             17   responsibilities as founder and vice president of
18    Calera Recognition Systems when it was in business    18   finance --
19    under that name?                                      19          MR. KAPLAN: Objection. Vague.
20       A. It was a optical character recognition          20   BY MR. HUDIS:
21    company.                                              21      Q. -- at Calera at the time you were
22       Q. What products did it make at the time           22   employed there?
23    you were affiliated with Calera?                      23      A. That was a great majority of my
24           MR. KAPLAN: Objection. Argumentative.          24   responsibilities. Nothing else occurs to me.
25    Vague.                                                25      Q. And you were the vice president of
                                                       34                                                        36
 1           THE WITNESS: A series of OCR products.          1   marketing for Calera from 1987 through 1989?
 2    BY MR. HUDIS:                                          2      A. Correct.
 3       Q. What services, if any, did Calera                3      Q. What were your responsibilities in that
 4    recognition systems render to customers?               4   role at that time?
 5       A. Calera was primarily a product sales             5      A. Primarily product marketing. So what
 6    company, but it did provide maintenance services       6   features the product should have, how it should be
 7    and product customization services to its              7   communicated to the customers, relationships with
 8    customers.                                             8   the press. Those would be the primary
 9       Q. And according to your resume, which              9   responsibilities.
10    we've marked as Exhibit 49, you were the founder,     10      Q. Are there any other responsibilities
11    vice -- vice president of finance from 1982 to        11   that you had as vice president of marketing that
12    1988?                                                 12   you haven't told me that you can recall now?
13       A. Correct.                                        13      A. No.
14       Q. What were your responsibilities as vice         14      Q. Mr. Fruchterman, what is or was
15    president, finance?                                   15   Omnifront Character Recognition Technology?
16       A. I had, I'd say, the typical                     16           MR. KAPLAN: Objection. Compound.
17    responsibilities of a chief financial officer,        17           THE WITNESS: Different vendors use that
18    which was to participate in the raising of            18   term different ways. It was Calera's primary
19    capital, the accounting systems, financial            19   initial claim to primacy in the OCR market, which
20    controls, reporting. So those were my primary         20   was that our character recognition recognized all
21    financial responsibilities while I was in that        21   fonts without needing to be trained on those fonts
22    role.                                                 22   or having those fonts be in some way memorized in
23       Q. Have you told me all the                        23   memory. And so that was our primary edge, which
24    responsibilities you can recall when you were in      24   made a pretty powerful product.
25    that role?                                            25

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 1    BY MR. HUDIS:                                         1         THE WITNESS: Sorry.
 2        Q. Just so we have a working definition,          2   BY MR. HUDIS:
 3    please define, as you understand it, what a "font"    3     Q. What was Calera's purpose of selling
 4    is.                                                   4   WordScan and TrueScan to customers?
 5        A. So in the field of typography, when you        5         MR. KAPLAN: Objection. Vague.
 6    were preparing a printed document, you have font.     6   Competence.
 7    Designers design different looks for fonts, and       7         THE WITNESS: So this is -- Calera,
 8    fonts have many different properties.                 8   during this time period, released a series of
 9            And so a font is a group of a complete        9   products, and the general characteristic of that
10    character set that might be all the different        10   progression was that they got better and cheaper
11    letters or symbols that you might want to have be    11   and required less resources.
12    represented in that font, and then a font is         12         So the original product was 40- or
13    essentially a -- has a similar design feeling        13   $50,000 and was the size of three or four
14    across all of those characters. For example, is      14   breadboxes. TrueScan was a coprocessor card that
15    it tall and narrow or squat and wide or have         15   cost maybe $5,000, and WordScan was an OCR
16    serifs, attached letters or not.                     16   software product that required no hardware, that
17        Q. By way of example, Times Roman is a type      17   was perhaps $1,000 when it was launched.
18    of font?                                             18         So there was just the same capabilities
19        A. Correct.                                      19   getting better in a different format for
20        Q. And Courier New is a type of font?            20   delivering OCR to a customer.
21        A. Yes.                                          21   BY MR. HUDIS:
22        Q. And Helvetica is a type of font?              22     Q. Okay. Now, you left Calera in 1989?
23        A. Yes.                                          23     A. Correct.
24        Q. As a product of Calera Recognition            24     Q. Okay. Why?
25    Systems, what is or was WordScan?                    25     A. I was unhappy and wanted to do something
                                                      38                                                       40
 1            MR. KAPLAN: Objection. Compound.              1   new.
 2            MR. HUDIS: Well, I don't know if it's         2      Q. Now, Calera Recognition Systems was
 3    still in existence, Counsel.                          3   acquired by Caere, C-A-E-R-E, Recognition Systems
 4            THE WITNESS: So WordScan was -- was           4   in 1994?
 5    Calera's software OCR product as opposed to one       5      A. That's my rough understanding. And it's
 6    that had hardware attached to it.                     6   pronounced "Caere."
 7    BY MR. HUDIS:                                         7      Q. Caere?
 8       Q. As a product of Calera Recognition              8      A. As if it didn't have the extra "E," yes.
 9    Systems, what is or was TrueScan?                     9          But, yes, I remember that they were
10            MR. KAPLAN: Objection. Compound.             10   acquired in the early '90s.
11            THE WITNESS: TrueScan --                     11      Q. And that was for a sale price of
12            MR. KAPLAN: Just preserving.                 12   $35 million?
13            MR. HUDIS: Go on, Counsel.                   13          MR. KAPLAN: Objection. Lack of
14            THE WITNESS: Whatever you guys are           14   foundation. Competence.
15    doing.                                               15          THE WITNESS: That order of magnitude.
16            TrueScan was the hardware version of OCR     16   It varied on when you priced the deal, 'cause
17    that preceded WordScan in the product line           17   Caere's stock as a public company varied from the
18    evolution of Calera.                                 18   time the deal was announced to when it was
19    BY MR. HUDIS:                                        19   consummated.
20       Q. And was it the intent of Calera at that        20   BY MR. HUDIS:
21    time that TrueScan and WordScan would work           21      Q. Is 35 million approximately the sale
22    together as a software-hardware package?             22   price of the company?
23       A. No.                                            23          MR. KAPLAN: Objection. Vague.
24            MR. KAPLAN: Objection. Vague.                24          THE WITNESS: Yes. But I also heard
25            Go ahead.                                    25   50 million when the stock price was higher.

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 1    BY MR. HUDIS:                                          1      Q. And if we can turn to the first page of
 2       Q. So it could have been anywhere from 35           2   Exhibit 50, do you recognize the title of that
 3    to $50 million?                                        3   patent as being owned by Calera Recognition
 4       A. In that range, yeah.                             4   Systems at one time?
 5       Q. Were -- to the best of your knowledge,           5      A. It's consistent with technology that was
 6    were Calera's patents and trademarks part of the       6   in use at Calera while I was there, and
 7    assets that were sold to Caere?                        7   Mindy Bokser was an engineer who was there while I
 8       A. I -- I'm assuming so. I don't have               8   was there. I don't know this precise content of
 9    knowledge to the contrary.                             9   this particular patent.
10       Q. Do you know whether Caere itself was            10          MR. HUDIS: Let's go off the record.
11    later acquired by a speech recognition company        11          THE VIDEOGRAPHER: Going off the record
12    called Nuance Communications?                         12   at 10:06.
13       A. Yes. It's my understanding that Nuance          13          (Whereupon, a recess was taken.)
14    is the surviving company of that merger.              14          THE VIDEOGRAPHER: Back on the record at
15           (Whereupon, Deposition Exhibit 50 was          15   12:10 -- I'm sorry, 10:12.
16       marked for identification.)                        16          THE WITNESS: Time flies when you're
17    BY MR. HUDIS:                                         17   having fun.
18       Q. Mr. Fruchterman, I've now put in front          18          THE VIDEOGRAPHER: Another dyslexic.
19    of you what has been marked as Exhibit 50. And        19          MR. KAPLAN: We'll take it.
20    we're going to go off the record for a few seconds    20          MR. HUDIS: Two for two.
21    so that you can at least familiarize yourself with    21          THE WITNESS: Okay.
22    the document.                                         22          THE VIDEOGRAPHER: 10:12.
23           MR. KAPLAN: No, we're not.                     23   BY MR. HUDIS:
24           MR. HUDIS: We're not?                          24      Q. Okay. So, Mr. Fruchterman, after you
25           MR. KAPLAN: No.                                25   left Calera Recognition Systems, you went to work

                                                       42                                                        44
 1           MR. HUDIS: I don't want to burn up time         1   for RAF Technology, Inc.?
 2    for him just reading a document.                       2      A. Yes.
 3           MR. KAPLAN: Well, if there's parts that         3      Q. What type of company was RAF?
 4    you want him to review --                              4      A. An optical character recognition company
 5           MR. HUDIS: Yes, I do.                           5   and pattern recognition company.
 6           MR. KAPLAN: -- I mean, you can point            6      Q. Patent recognition?
 7    him to those parts if you want him to have a           7      A. Pattern. Pattern recognition.
 8    general understanding of the document.                 8      Q. In this context, Mr. Fruchterman, what
 9           THE WITNESS: I'm ready to go if there's         9   is pattern recognition?
10    questions.                                            10      A. It's a more general form than optical
11    BY MR. HUDIS:                                         11   character recognition, where you're looking for
12       Q. Okay. Sure. Okay. All right.                    12   patterns rather than -- rather than just letters.
13           So, Mr. Fruchterman, do you -- let's           13   So, for example, RAF worked on recognizing rare
14    take the trademarks first.                            14   coins and whale tails.
15           Do you recognize the trademarks listed         15      Q. All right. And a whale tail is a?
16    on Exhibit 50 as trademarks of Calera Recognition     16          MR. KAPLAN: Whale tail.
17    Systems?                                              17          THE WITNESS: A tail of a whale. To
18       A. Yes, I -- I recall those trademarks,            18   identify --
19    yes.                                                  19   BY MR. HUDIS:
20       Q. And on pages 4 and 5, do you recognize          20      Q. Oh, a whale tail.
21    those as copyrights of Calera? This is in             21      A. Yes.
22    Exhibit 50.                                           22      Q. As in the big large mammal that swims in
23       A. Yes. They are consistent with my                23   the ocean?
24    recollection of copyrightable material that Calera    24      A. That's right. To recognize individuals
25    would have produced.                                  25   by the scars on their tails as being able to

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 1    identify them. So many different things that           1   recognizing things as counterfeit, helping the
 2    pattern recognition can be used to do.                 2   U.S. Treasury track fraud. And that's -- I've
 3       Q. What kinds of products, if any, did RAF          3   described the majority of the customers and kinds
 4    make?                                                  4   of services, but if someone came to RAF with
 5       A. So RAF did a lot of custom products,             5   something that needed pattern recognition help,
 6    which I've already described. The primary              6   they would probably have a great conversation and
 7    products would be in the area of recognizing           7   take their money, so ...
 8    letters and forms for large-scale document             8      Q. So you were the president, CEO and
 9    processing, such as routing the mail or scanning       9   founder from 1989 through 1995 at RAF?
10    forms that might be used in business or               10      A. Correct.
11    government.                                           11      Q. And you were the vice president,
12       Q. And in your last answer, when you said          12   finance, and CFO from 1989 to 2004?
13    "recognizing letters," do you mean letters of the     13      A. Yes.
14    alphabet or as in I wrote a letter to so-and-so?      14      Q. All right. Let's divide out your
15       A. Well, both. We recognize letters as in          15   responsibilities in the two roles.
16    doing optical character recognition, and we           16         What were your responsibilities at RAF
17    recognize addresses on letters that people want       17   as president, CEO and founder?
18    routed to a certain destination by doing optical      18      A. Business strategy. Customer relations.
19    character recognition plus doing a bunch of           19   Some technology, but I was primarily more of a
20    processing related to knowing that it's an            20   relationship person than a developer at that
21    address.                                              21   stage. So I made deals with customers, business
22       Q. And who were the major customers of             22   development.
23    RAF's products at the time you were there?            23      Q. And what were your duties and
24       A. Postal services and service bureaus that        24   responsibilities as vice president of finance and
25    process a lot of documents.                           25   CFO at RAF?
                                                       46                                                        48
 1       Q. When you say process documents, for what         1      A. Similar to the standard ones of a chief
 2    purpose?                                               2   financial officer. So overseeing legal and
 3       A. Diverse purposes. But probably the most          3   administrative and financial responsibilities for
 4    common one was doing presorting of mass mailings       4   the company. Maintaining the books. Preparing
 5    to get a postal discount.                              5   reports. Negotiating contracts.
 6       Q. What services, if any, do you recall RAF         6         Retaining counsel -- which I left out of
 7    rendering to its customers at the time you were        7   my Calera list of things I was responsible for. I
 8    there?                                                 8   was also overseeing all the legal affairs for
 9       A. RAF is primarily a product company, and          9   Calera as well as for RAF.
10    so they would sell products. And then they would      10      Q. To the best of your recollection, have
11    sell associated services, such as maintenance,        11   you told me all of the main duties and
12    database maintenance. If you were going to route      12   responsibilities as your -- in your position as
13    the mail, you have to repeatedly meet certain         13   vice president of finance and CFO of RAF?
14    postal standards about accuracy of routing the        14      A. Yes.
15    mail, and so you would get a database update that     15         MR. KAPLAN: Objection. Vague.
16    had passed the latest test.                           16         THE WITNESS: Sorry.
17           Custom character sets. And I don't             17   BY MR. HUDIS:
18    remember if we did Icelandic, but if we did           18      Q. And have you told me, to the best of
19    Icelandic, you'd have to add a few characters that    19   your recollection, the main duties and
20    the Icelanders use. Some custom products.             20   responsibilities you had at RAF as president, CEO
21           Handwriting recognition was a feature          21   and founder?
22    that we developed for certain customers and           22         MR. KAPLAN: Objection. Vague.
23    productized. And there were non-OCR or pattern        23         THE WITNESS: Yes.
24    recognition -- well, there were non -- there were     24   BY MR. HUDIS:
25    also products and services around, I don't know,      25      Q. And you are currently a director of RAF

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 1    Technology?                                            1         MR. KAPLAN: And that would be the same
 2       A. Correct.                                         2   as Exhibit 50?
 3       Q. And you've been so since 1989?                   3         MR. HUDIS: That is true.
 4       A. Correct.                                         4         THE WITNESS: I'm ready to answer
 5       Q. As a product of RAF Technology, what is          5   questions about the document.
 6    or was Argosy Post?                                    6   BY MR. HUDIS:
 7           MR. KAPLAN: Objection. Compound.                7      Q. Mr. Fruchterman, on pages 1 through 4,
 8           THE WITNESS: Argosy Post was the                8   do you recognize these as patents that were issued
 9    address recognition product targeted at companies      9   to RAF Technology?
10    that processed or were in the postal business. So     10         MR. KAPLAN: Objection. Vague.
11    that included organizations called service bureaus    11   Compound.
12    that do this presorting for postal, OEM customers,    12         THE WITNESS: Without reading each one
13    like Pitney Bowes, that produce postal equipment,     13   line by line, they all seem -- the ones that I'm
14    that would want it.                                   14   spot-checking all seem consistent with the areas
15    BY MR. HUDIS:                                         15   that RAF works in and the names of engineers and
16       Q. And "OEM" is original equipment                 16   inventors at RAF that I am familiar with.
17    manufacturer?                                         17   BY MR. HUDIS:
18       A. Correct. So our technology would go             18      Q. And from pages 4 through 8 of
19    into their postal solution that they would sell to    19   Exhibit 51, do you recognize these as pending
20    postal services or to service bureaus as well.        20   patent applications of RAF Technology?
21       Q. And in context of your last answer, a           21         MR. KAPLAN: Objection. Vague.
22    "solution" is a product?                              22   Compound.
23       A. Yes.                                            23         THE WITNESS: Similar to my prior
24       Q. As a product of RAF Technology, what is         24   answer, the topics and the inventors are all
25    or was its complementary processing technology?       25   familiar based on spot-checking these, without
                                                       50                                                         52
 1           MR. KAPLAN: Objection. Compound.                1   reading them comprehensively.
 2           THE WITNESS: I actually don't recall            2   BY MR. HUDIS:
 3    that particular term at RAF.                           3      Q. On pages 8 and 9 of Exhibit 51, do you
 4    BY MR. HUDIS:                                          4   recognize these as trademarks registered to RAF
 5       Q. Would it refresh your recollection if I          5   Technology?
 6    told you that complementary processing technology      6      A. Yeah.
 7    was used by RAF Technology in mail recognition and     7           MR. KAPLAN: Objection. Vague.
 8    sorting operations?                                    8   Compound.
 9       A. I don't know the marketing terms they            9           THE WITNESS: Yes. All of these
10    use. We talk more about the customers and the         10   trademarks are familiar to me.
11    technical problems that we solve rather than sort     11   BY MR. HUDIS:
12    of the marketing content. But it would seem           12      Q. And pages 9 through 10, do you recognize
13    consistent with what RAF does.                        13   that list as pending trademark applications of RAF
14           (Whereupon, Deposition Exhibit 51 was          14   Technology?
15       marked for identification.)                        15           MR. KAPLAN: Objection. Vague.
16    BY MR. HUDIS:                                         16   Compound.
17       Q. Mr. Fruchterman, I now place in front of        17           THE WITNESS: Yes. They all look
18    you what's been marked as Exhibit 51. And I'd         18   familiar to me from my service on the board at
19    like you to just familiarize yourself with the        19   RAF.
20    document.                                             20   BY MR. HUDIS:
21           MR. KAPLAN: Mr. Hudis, am I correct to         21      Q. Okay. Done with that one.
22    understand that this is something your office         22           Mr. Fruchterman, if you could pull out
23    created?                                              23   your resume again. That was Exhibit 49.
24           MR. HUDIS: Yes. From publicly                  24      A. Okay.
25    available information.                                25      Q. Thank you.

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 1      A. All right.                                        1   Arkenstone.
 2      Q. According to your resume, Exhibit 49,             2      A. Not under that name.
 3    Mr. Fruchterman, you worked at a company called        3      Q. What happened to the company?
 4    Arkenstone, Inc., from 1989 through 2000?              4      A. It has been merged into the charity that
 5      A. Yes.                                              5   is now known commonly as Benetech.
 6      Q. What type of company was Arkenstone?              6      Q. In 2000, did Arkenstone sell its --
 7      A. It was a California public benefit                7   repeat -- I'm going to rephrase the question.
 8    corporation that had 501(c)(3) charity status.         8          In 2000, did Arkenstone sell some -- at
 9      Q. What types of products did it make?               9   least some of its assets to Freedom Scientific?
10      A. Primarily reading machines or systems            10          MR. KAPLAN: Objection. Vague.
11    for people with disabilities.                         11          THE WITNESS: Yes.
12      Q. What types of disabilities?                      12   BY MR. HUDIS:
13      A. Vision impairments, learning                     13      Q. Do you remember the sale price?
14    disabilities, such as dyslexia, and physical          14      A. Approximately $5 million.
15    disabilities that might interfere with reading,       15      Q. And was the money from that sale of the
16    such as quadriplegia, fine motor control issues,      16   Arkenstone assets to Freedom Scientific used to
17    cerebral palsy, traumatic brain injury and others.    17   found Benetech?
18      Q. And these products that you just                 18          MR. KAPLAN: Objection. Vague.
19    described, they were sold to customers?               19          THE WITNESS: It was commonly described
20      A. Yes.                                             20   as such.
21      Q. What services, if any, did Arkenstone            21   BY MR. HUDIS:
22    render to customers at the time you were there?       22      Q. Do you agree with that assessment?
23      A. It was primarily a product sales                 23      A. Yes. But technically you might parse it
24    company, and it rendered services associated with     24   more finely.
25    the sale of the products, which included              25      Q. As a product of Arkenstone, what is or
                                                       54                                                        56
 1    maintenance at one point in time, and customer         1   was the Arkenstone Reader?
 2    service and support.                                   2      A. The Arkenstone Reader was a device
 3       Q. What was the range of the sale price of          3   designed to turn a standard personal computer into
 4    these reading machines at Arkenstone?                  4   a reading machine by adding a Calera TrueScan
 5           MR. KAPLAN: Objection. Foundation.              5   card, a Hewlett-Packard Scanjet scanner and some
 6           THE WITNESS: The first price point was          6   specialized software to an existing PC that
 7    under $5,000 to turn a talking PC into a reading       7   already had a voice synthesizer and a screen
 8    machine. And prices fell over the time period.         8   reader, so that the ensemble would be able to scan
 9    BY MR. HUDIS:                                          9   a document and read it aloud.
10       Q. So it started around under 5,000. As            10      Q. As a product of Arkenstone,
11    Arkenstone continued and the technology got           11   Mr. Fruchterman, what is or was the Arkenstone
12    better, faster, cheaper, the products got less        12   portable hand scanner?
13    expensive?                                            13      A. I barely recall this product, but I
14       A. 5,000, 4,000, 3,000, 2500, 1800, 1500.          14   assume it was substituting the Hewlett-Packard
15       Q. And were the reading machines at                15   desktop Scanjet scanner with a bar scanner that
16    Arkenstone produced based upon Calera's OCR           16   could feed a sheet of paper through a scanner.
17    technology?                                           17      Q. Do you recall whether the Arkenstone
18           MR. KAPLAN: Objection. Foundation.             18   mark was registered with the U.S. Patent and
19           THE WITNESS: Yes.                              19   Trademark Office?
20    BY MR. HUDIS:                                         20      A. I believe it was.
21       Q. And you were the president, CEO,                21      Q. Were any parts of the Arkenstone Reader
22    chairman and founder from Arkenstone from 1989        22   sought for patent protection?
23    through 2000?                                         23      A. Yes.
24       A. Correct.                                        24      Q. Which part?
25       Q. Is this company still in business today?        25      A. Actually, no. Not that particular

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 1    product. Not the Arkenstone Reader product.           1   the software-only version that was designed to
 2       Q. Were any parts of the Arkenstone                2   turn a PC into a reading system. And all of these
 3    portable hand scanner sought for patent               3   were based on Microsoft Windows technology.
 4    protection?                                           4      Q. So if I understand your testimony, the
 5       A. No.                                             5   Open -- Open Book was marketed as two different
 6       Q. Was the software code for the Arkenstone        6   products, at least at one time, one as an
 7    Reader registered with the U.S. Copyright Office?     7   appliance and the other one called Open Book
 8       A. I don't recall.                                 8   Unbound, as software?
 9       Q. Is there anything that would refresh            9      A. Correct.
10    your recollection?                                   10          MR. KAPLAN: Objection. Misstates
11       A. Beyond a formal record, no.                    11   testimony.
12       Q. Was the software code for the Arkenstone       12          THE WITNESS: Sorry.
13    portable hand scanner registered with the U.S.       13   BY MR. HUDIS:
14    Copyright Office?                                    14      Q. Was the Open Book mark registered with
15       A. No.                                            15   the U.S. Patent and Trademark Office?
16       Q. As a product of Arkenstone, what is or         16          MR. KAPLAN: Objection. Foundation.
17    was VERA, V-E-R-A?                                   17   Vague.
18           MR. KAPLAN: Objection. Compound.              18          THE WITNESS: I don't remember.
19           THE WITNESS: The Very Easy Reading            19   BY MR. HUDIS:
20    Appliance was designed for senior citizens who       20      Q. Is there anything that would refresh
21    were uncomfortable using a computer. So we           21   your recollection?
22    wrapped the computer in a fake wooden case and       22      A. A formal registration indication.
23    said, "This isn't a computer. It's a reading         23      Q. Was the software code for Open Book
24    appliance, like a piece of hi-fi equipment."         24   registered with the U.S. Copyright Office?
25                                                         25          MR. KAPLAN: Objection. Foundation.
                                                      58                                                         60
 1    BY MR. HUDIS:                                         1          THE WITNESS: I don't recall.
 2       Q. Was the VERA mark, to the best of your          2   BY MR. HUDIS:
 3    recollection, registered with the U.S. Patent and     3      Q. Is there anything that would refresh
 4    Trademark Office?                                     4   your recollection?
 5          MR. KAPLAN: Objection. Vague.                   5      A. Not beyond a registration statement.
 6          THE WITNESS: No.                                6      Q. As a product of Arkenstone, what is or
 7    BY MR. HUDIS:                                         7   was WYNN, What You Need Now?
 8       Q. Was the software code for the VERA              8          MR. KAPLAN: Objection. Compound.
 9    product registered with the U.S. Copyright Office?    9          MR. HUDIS: That's all one product.
10       A. No.                                            10          MR. KAPLAN: Yeah. But you're asking
11       Q. As a product of Arkenstone, what is or         11   him what it was.
12    was Open Book?                                       12          MR. HUDIS: Or is.
13          MR. KAPLAN: Objection. Compound.               13          MR. KAPLAN: What it is.
14          THE WITNESS: Similar to the transition         14          MR. HUDIS: All right.
15    from the Calera TrueScan hardware card to the        15          THE WITNESS: WYNN was similar to Open
16    WordScan software product, Open Book was a product   16   Book Unbound as -- in that it was a OCR-based
17    based on the WordScan technology to replace the      17   software product. It was specifically designed
18    hardware coprocessor card with software running on   18   for the needs of people with learning disabilities
19    the computer's main CPU.                             19   rather than blind people.
20    BY MR. HUDIS:                                        20   BY MR. HUDIS:
21       Q. And Open Book ran over Windows software?       21      Q. Would it be correct to characterize
22       A. Open Book was two different products           22   WYNN, What You Need Now, as a customizable user
23    with a common name. Open Book itself was a           23   interface for the Open Book software?
24    reading machine sold as a hardware unit plus         24          MR. KAPLAN: Objection. Vague.
25    scanner plus keypad. And Open Book Unbound was       25          THE WITNESS: No.

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 1    BY MR. HUDIS:                                         1   destination.
 2       Q. How would you describe it?                      2   BY MR. HUDIS:
 3          MR. KAPLAN: Objection. Asked and                3      Q. Was the Strider mark registered with the
 4    answered.                                             4   U.S. Patent and Trademark Office?
 5          THE WITNESS: I thought of it as a               5          MR. KAPLAN: Objection. Lacks
 6    completely different user interface designed for      6   foundation. Vague.
 7    the needs of people with learning disabilities        7          THE WITNESS: I do not believe so.
 8    and, to some extent, people with low vision, that     8   BY MR. HUDIS:
 9    was built on top of the same OCR technology as the    9      Q. Was the software code for the Strider
10    Open Book product but was not simply grafted onto    10   product registered with the U.S. Copyright Office?
11    the Open Book product.                               11          MR. KAPLAN: Objection. Lacks
12    BY MR. HUDIS:                                        12   foundation. Vague.
13       Q. Did the Open Book -- did either of the         13          THE WITNESS: Not that I recall.
14    two Open Book products, whether it was the           14   BY MR. HUDIS:
15    appliance or the software, come with OCR             15      Q. Was any part of the Strider product
16    technology?                                          16   subject to U.S. patent protection?
17       A. Yeah --                                        17          MR. KAPLAN: Objection. Calls for a
18          MR. KAPLAN: Objection. Foundation,             18   legal conclusion. Lacks foundation. Vague.
19    vague.                                               19          THE WITNESS: Yes.
20          THE WITNESS: Yes. It was built in.             20   BY MR. HUDIS:
21    BY MR. HUDIS:                                        21      Q. As a product of Arkenstone, what is or
22       Q. Did the WYNN product come with OCR             22   was Atlas Speaks?
23    technology?                                          23          MR. KAPLAN: Objection. Compound.
24          MR. KAPLAN: Objection. Vague.                  24          THE WITNESS: It was an accessible map
25    Foundation.                                          25   product for the blind, to look at maps and plot
                                                      62                                                        64
 1           THE WITNESS: The primary WYNN product          1   routes. It would be easy to characterize it as
 2    did come with OCR technology.                         2   Strider without the GPS.
 3    BY MR. HUDIS:                                         3          MR. HUDIS: Off the record.
 4       Q. Was the software code for the OCR               4          THE VIDEOGRAPHER: Coming off the record
 5    technology that was built into Open Book              5   at 10:40.
 6    registered with the U.S. Copyright Office?            6          MR. KAPLAN: You need my consent to go
 7           MR. KAPLAN: Objection. Foundation.             7   off the record.
 8    Vague.                                                8          Can you let me know why?
 9           THE WITNESS: I believe that in the             9          MR. HUDIS: I just want to take this
10    documents that you've showed me, the companies       10   call.
11    that make those OCR technologies did have            11          MR. KAPLAN: Okay. Off the record is
12    registrations and trademarks and patents.            12   fine.
13    Certainly my nonprofit didn't do anything separate   13          (Discussion held off record.)
14    for the OCR technology.                              14          THE VIDEOGRAPHER: Back on the record at
15    BY MR. HUDIS:                                        15   10:43.
16       Q. And that would be true of WYNN as well?        16   BY MR. HUDIS:
17           MR. KAPLAN: Objection. Vague.                 17      Q. Mr. Fruchterman, was the Atlas Speaks
18    Foundation.                                          18   mark registered with the U.S. Patent and Trademark
19           THE WITNESS: Yes.                             19   Office?
20    BY MR. HUDIS:                                        20          MR. KAPLAN: Objection. Lacks
21       Q. As a product of Arkenstone, what is or         21   foundation. Vague.
22    was Strider, S-T-R-I-D-E-R?                          22          THE WITNESS: I don't believe so.
23           MR. KAPLAN: Objection. Compound.              23   BY MR. HUDIS:
24           THE WITNESS: It was a talking GPS             24      Q. Do you know if the software code for the
25    product designed to guide blind users to their       25   Atlas Speaks product was registered with the U.S.

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 1    Copyright Office?                                    1   BY MR. HUDIS:
 2           MR. KAPLAN: Objection. Lacks                  2      Q. Were the copyright rights for those
 3    foundation. Vague.                                   3   products transferred as parts of the asset sale?
 4           THE WITNESS: I don't know.                    4          MR. KAPLAN: Objection. Calls for a
 5    BY MR. HUDIS:                                        5   legal conclusion. Lacks foundation. Vague.
 6      Q. And we discussed that Arkenstone had an         6          THE WITNESS: As a layman, I believe so.
 7    asset sale to Freedom Scientific in 2000.            7   BY MR. HUDIS:
 8           Do you remember that?                         8      Q. By yes or no, I'd like to know whether
 9      A. Correct.                                        9   the following technologies were sold to Freedom
10      Q. All right. I'd like to know whether            10   Scientific by Arkenstone as part of the asset
11    each one of the following products was part of      11   sale.
12    that asset sale. And you can just say "yes" or      12          Arkenstone Reader?
13    "no."                                               13          MR. KAPLAN: Objection. Vague. Lacks
14           Open Book?                                   14   foundation.
15           MR. KAPLAN: Objection. Lacks                 15          THE WITNESS: I'm not sure because I
16    foundation. Vague.                                  16   don't think it was an active product. So they
17           THE WITNESS: Yes.                            17   probably could claim it, but I'm not sure we
18    BY MR. HUDIS:                                       18   actually did it because I don't think it was alive
19      Q. WYNN?                                          19   at that time.
20           MR. KAPLAN: Objection. Lacks                 20   BY MR. HUDIS:
21    foundation. Vague.                                  21      Q. Would your answer be the same for
22           THE WITNESS: Yes.                            22   Arkenstone portable scanner?
23    BY MR. HUDIS:                                       23          MR. KAPLAN: Objection. Vague. Lacks
24      Q. Strider?                                       24   foundation.
25           MR. KAPLAN: Objection. Lacks                 25          THE WITNESS: Yes.
                                                     66                                                        68
 1    foundation. Vague.                                   1   BY MR. HUDIS:
 2           THE WITNESS: I don't believe so.              2       Q. Would your answer be the same for the
 3    BY MR. HUDIS:                                        3   VERA product?
 4       Q. Atlas Speaks?                                  4           MR. KAPLAN: Objection. Vague. Lacks
 5           MR. KAPLAN: Objection. Lacks                  5   foundation.
 6    foundation. Vague.                                   6           THE WITNESS: No. The VERA product was
 7           THE WITNESS: I don't believe so.              7   active and sold as part of the asset sale.
 8    BY MR. HUDIS:                                        8           (Whereupon, Deposition Exhibit 52 was
 9       Q. VERA?                                          9       marked for identification.)
10           MR. KAPLAN: Objection. Lacks                 10   BY MR. HUDIS:
11    foundation. Vague.                                  11       Q. Mr. Fruchterman, I show you now what has
12           THE WITNESS: Yes.                            12   been marked as Exhibit 52.
13    BY MR. HUDIS:                                       13           MR. KAPLAN: Counsel, you'll represent
14       Q. The Arkenstone mark?                          14   that this is another document created by your
15           MR. KAPLAN: Objection. Lacks                 15   office?
16    foundation. Vague.                                  16           MR. HUDIS: Yes. From publicly
17           THE WITNESS: Yes.                            17   available records.
18    BY MR. HUDIS:                                       18   BY MR. HUDIS:
19       Q. Okay. Now, of the products that you           19       Q. Mr. Fruchterman, do you recognize in the
20    listed, that was part of the asset sale, was the    20   top chart on the single page of Exhibit 52 the
21    code for those products part of the asset sale?     21   titles of patents that were owned by Arkenstone,
22           MR. KAPLAN: Objection. Lacks                 22   Inc., at one time?
23    foundation. Vague.                                  23       A. Yes.
24           THE WITNESS: Yes.                            24       Q. And in the bottom chart, a copyright
25                                                        25   registration that was owned by Arkenstone at one

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 1    time?                                                 1   BY MR. HUDIS:
 2       A. I don't recognize that work. And I'm            2      Q. Mr. Fruchterman, if we could turn for a
 3    just -- the date predates the existence of            3   moment to Exhibit 53B.
 4    Arkenstone by seven years, so something's wrong       4          And if you could turn to the last page.
 5    about this document.                                  5   Actually, it's bordering on the fifth and sixth
 6       Q. Okay.                                           6   pages.
 7           MR. KAPLAN: Is that true for the second        7          You notice that there was an assignment
 8    patent as well?                                       8   of the inventor's interest to Arkenstone, Inc.?
 9           THE WITNESS: I recognize the second            9      A. Yes.
10    patent, but I think the date is wrong as well.       10      Q. And ultimately, the patent was assigned
11    Whereas, the date on the first patent looks          11   from Arkenstone to Freedom Scientific?
12    vaguely right.                                       12          MR. KAPLAN: Objection. Lacks
13           (Whereupon, Deposition Exhibit 53A and        13   foundation. Calls for a legal conclusion. Vague.
14       53B were marked for identification.)              14          THE WITNESS: No.
15           THE WITNESS: Thank you.                       15   BY MR. HUDIS:
16    BY MR. HUDIS:                                        16      Q. It was not?
17       Q. Mr. Fruchterman, I show you what has           17      A. It was not.
18    been marked as Exhibits 53A and 53B. Let's take a    18      Q. What happened -- today, as you sit here,
19    look at Exhibit 53A.                                 19   who is the current owner of the '233 patent of
20           Do you recognize this document?               20   Exhibit 53A?
21       A. Yes. It's a patent where I am listed as        21          MR. KAPLAN: Objection. Calls for a
22    an inventor.                                         22   legal conclusion. Lacks foundation.
23       Q. And was issued on November 28, 1995?           23          THE WITNESS: The world. It's expired.
24       A. November 28th, 1995, yes.                      24   BY MR. HUDIS:
25       Q. And the patent number is listed as             25      Q. Before its expiration, who was the owner
                                                      70                                                       72
 1    5,470,233. I will refer to this as "the               1   of the '233 patent of Exhibit 53A?
 2    '233 patent."                                         2          MR. KAPLAN: Objection. Lacks
 3           Do you understand that?                        3   foundation. Calls for a legal conclusion.
 4       A. Yes.                                            4          THE WITNESS: Beneficent Technology,
 5       Q. All right. What was the nature of the           5   Inc. which is the legal corporate name of
 6    invention claimed in the '233 patent of               6   Benetech.
 7    Exhibit 53A?                                          7   BY MR. HUDIS:
 8           MR. KAPLAN: Objection. Calls for a             8      Q. So to the best of your recollection, the
 9    legal conclusion. Lacks foundation.                   9   '233 patent was not a part of the asset sale from
10           THE WITNESS: In layman's term, it's a         10   Arkenstone to Freedom Scientific?
11    patent on technology to help a blind person use      11      A. That was --
12    GPS to move around.                                  12          MR. KAPLAN: Objection. Vague. Lacks
13    BY MR. HUDIS:                                        13   foundation.
14       Q. Was that the product that was sold by          14          THE WITNESS: That was my understanding,
15    Arkenstone under the Strider mark?                   15   yes.
16           MR. KAPLAN: Objection. Vague.                 16   BY MR. HUDIS:
17           THE WITNESS: Yes. We -- the Strider           17      Q. While it was still active, was the
18    product incorporated the patented technology         18   '233 patent ever licensed to third parties?
19    subject to this patent.                              19          MR. KAPLAN: Objection. Lacks
20    BY MR. HUDIS:                                        20   foundation. Vague. Calls for a legal conclusion.
21       Q. Who was the assigning owner of the             21          THE WITNESS: Yes.
22    '233 patent when it issued in 1995?                  22   BY MR. HUDIS:
23           MR. KAPLAN: Objection. Lacks                  23      Q. Was it licensed for royalties?
24    foundation. Vague. Calls for a legal conclusion.     24          MR. KAPLAN: Objection. Vague. Lacks
25           THE WITNESS: Arkenstone.                      25   foundation.

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 1           THE WITNESS: Yes.                              1     A. Correct.
 2    BY MR. HUDIS:                                         2     Q. All right. And it's a nonprofit
 3       Q. To whom was the '233 patent of                  3   California company?
 4    Exhibit 53A licensed at the time it was active?       4     A. I believe it's structured as a
 5           MR. KAPLAN: Objection. Vague. Lacks            5   California public benefit corporation.
 6    foundation.                                           6     Q. And tell me the nature of -- withdraw
 7           THE WITNESS: I don't know their full           7   the question.
 8    legal name, but it's like the Sendero Group.          8          When I refer to "Benetech," we will
 9    BY MR. HUDIS:                                         9   understand that that is the trade name for
10       Q. Spell Sendero.                                 10   Beneficent Technology?
11       A. S-E-N-D-E-R-O.                                 11     A. Okay.
12       Q. Do you remember the financial terms of         12     Q. Would you understand it that way?
13    the license?                                         13     A. During the current time period, yes.
14       A. It was a minimum -- a minimal royalty,         14   We've had more complicated legal structures in the
15    and the payments were not large.                     15   past, where "Benetech" might refer to any one of
16       Q. Define "not large."                            16   three different corporate entities. But I'm happy
17       A. I'd be stunned if we collected $10,000         17   just to call them all Benetech for the purposes of
18    over the entire life of the patent in royalties.     18   this conversation.
19       Q. Was Sendero the only company to whom the       19     Q. Thank you.
20    '233 patent of Exhibit 53A was licensed?             20          What type of company is Benetech?
21           MR. KAPLAN: Objection. Calls for a            21          MR. KAPLAN: Objection. Vague.
22    legal conclusion. Vague. Lacks foundation.           22          THE WITNESS: It's a charity. And it
23           THE WITNESS: There was another company        23   does technology for social good.
24    that was -- and I do not know the legal term, but    24   BY MR. HUDIS:
25    sort of a co-owner, and they had rights to           25     Q. I've read, Mr. Fruchterman, that
                                                      74                                                         76
 1    practice the patent without paying us a royalty.      1   Benetech was started up from the result of the
 2    BY MR. HUDIS:                                         2   asset sale from Arkenstone to Freedom Scientific.
 3       Q. And who was that?                               3          Is that your understanding?
 4       A. They've gone by different names. Their          4          MR. KAPLAN: Objection. Asked and
 5    current name is HumanWare.                            5   answered. Vague.
 6       Q. Do you know what the name of the company        6          THE WITNESS: There were a series of
 7    was at the time they were co-owner of the             7   legal transactions that, over time, have created
 8    '233 patent while it was active?                      8   the Benetech we know today.
 9           MR. KAPLAN: Objection. Misstates               9   BY MR. HUDIS:
10    testimony. Argumentative.                            10      Q. What were those to the best of your
11           THE WITNESS: VisuAide, V-I-S-U-A-I-D-E.       11   recollection?
12    BY MR. HUDIS:                                        12      A. The nonprofit that was formerly known as
13       Q. Turning back to your resume of                 13   Arkenstone changed its name, because the
14    Exhibit 49, Mr. Fruchterman, according to your       14   Arkenstone name was sold to Freedom Scientific.
15    resume, Benetech was founded in 2000?                15   It had a charter limited to helping the disabled.
16           MR. KAPLAN: Objection. Misstates the          16          Beneficent Technology, Inc., was created
17    document.                                            17   with as -- sorry, can't disclose -- let's just say
18           THE WITNESS: My nonprofit activities          18   a vanilla charitable charter, so that it could do
19    started operating under the Benetech name in 2000.   19   a wider range of charitable activities.
20    BY MR. HUDIS:                                        20          A wholly owned for profit subsidiary
21       Q. Now, the official name of the company is       21   named Bengineering, Inc., was also created to
22    Beneficent Technology, Inc., correct?                22   conduct services connected with the asset sale.
23       A. Correct.                                       23      Q. And what were those services?
24       Q. And it's located in Palo Alto,                 24      A. Primarily engineering services, to
25    California?                                          25   continue the product development of the products

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 1    that were sold for a period following the asset        1   we're still in 2015 -- you were the CEO and
 2    sale.                                                  2   founder?
 3           MR. KAPLAN: Let me just interrupt here          3      A. Correct.
 4    for a second. I'm not sure exactly where you're        4      Q. Thank you.
 5    going with this, but if we get into areas that are     5          What has been --
 6    potentially confidential information of Benetech       6          MR. KAPLAN: Let me make sure the
 7    or other entities, my understanding of the             7   witness's answer is finished.
 8    protective order is that neither party will            8          THE WITNESS: Would you like me to
 9    disclose the deposition transcript until 30 days       9   explain in more detail how finely graded that
10    have elapsed, giving the -- giving us the             10   answer is, or are we good?
11    opportunity to designate portions or the entire       11   BY MR. HUDIS:
12    transcript as confidential. Is that correct?          12      Q. Well, my next question was going to be
13           MR. HUDIS: Counsel, that's correct.            13   the nature of your duties and responsibilities.
14           MR. KAPLAN: Okay. Good. Just glad we           14   So if that would help you, please.
15    had that on the record.                               15      A. Okay. So I transferred the chairman's
16           THE WITNESS: And nothing I've talked           16   responsibilities first in early 2014, and I ceased
17    about so far is, I believe, confidential.             17   being the president in the idea that we had a new
18    BY MR. HUDIS:                                         18   president in January of this year, though I
19       Q. Mr. Fruchterman, your counsel raises a          19   believe I stopped using the term "president"
20    good point. If anything I ask you in your mind        20   somewhere during the last year at the suggestion
21    requires you to disclose confidential information,    21   of one of my board members.
22    would you let us all know, please?                    22      Q. So from 2000 to 2014, what were your
23       A. Yes.                                            23   general duties and responsibilities at Benetech?
24           MR. KAPLAN: Thank you.                         24          MR. KAPLAN: Objection. Vague.
25           THE WITNESS: I'll let you decide if            25          THE WITNESS: I was the main guy. So in
                                                       78                                                         80
 1    there's a follow-up question.                          1   my role as chairman, I was responsible for the
 2    BY MR. HUDIS:                                          2   standard duties of a chairman of a board of
 3       Q. So one of the products that has been             3   directors, which I can elaborate if needed.
 4    made by Benetech is a series of software tools for     4   BY MR. HUDIS:
 5    people who are blind or have visual disabilities       5      Q. You ran board meetings?
 6    to access printed information?                         6      A. I did.
 7       A. That is some of what we do. Sorry. I             7      Q. You set the agenda?
 8    thought you had -- I thought I had given the           8      A. I did.
 9    pause.                                                 9      Q. You set policy for the company?
10           MR. KAPLAN: I was wondering what the           10      A. In --
11    question was going to be.                             11         MR. KAPLAN: Objection. Vague.
12           THE WITNESS: Okay. Okay.                       12         THE WITNESS: I set policy for the
13    BY MR. HUDIS:                                         13   company in conjunction with either the board for
14       Q. And you have been the president, CEO,           14   board-level issues or my management team for
15    chairman and founder since 2000?                      15   issues that were the scope of the management
16       A. No.                                             16   team's.
17       Q. What part of my last question was               17   BY MR. HUDIS:
18    incorrect?                                            18      Q. Does that generally describe your duties
19       A. In 2000, I had all of those titles. At          19   and responsibilities as chairman?
20    present, I am the founder and CEO.                    20      A. Yes.
21       Q. I see. So from 2000 to 2014, you were           21      Q. Okay. And up until 2015, starting in
22    the president, CEO, chairman and founder, at least    22   2000, you were the president?
23    according to your resume, Exhibit 49.                 23      A. Correct.
24       A. I believe so. Yes.                              24      Q. What were your duties and
25       Q. And from 2015 -- well, to the present --        25   responsibilities as president of --

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 1            MR. KAPLAN: Objection.                         1   corporate entity.
 2    BY MR. HUDIS:                                          2   BY MR. HUDIS:
 3        Q. -- Benetech?                                    3      Q. You would describe Bookshare as a
 4            MR. KAPLAN: Objection. Vague.                  4   project of Benetech?
 5            THE WITNESS: During that time period,          5      A. Yes.
 6    the title "president" and "chief executive             6      Q. All right. And that Bookshare project
 7    officer" were essentially interchangeable, and our     7   is still ongoing today?
 8    bylaws specified that the president was the            8      A. Yes.
 9    executive chief officer.                               9      Q. And it has been operating as a project
10            So my responsibilities with those dual        10   of Benetech since 2002?
11    titles was to be the chief executive officer of a     11      A. Publicly, yes.
12    nonprofit corporation, a public benefit               12      Q. Why did you, in your last answer,
13    corporation, and so I oversaw everything.             13   qualify it with "publicly"?
14    BY MR. HUDIS:                                         14      A. When a technology product is created,
15        Q. Product development?                           15   it's often operating -- being tested before its
16        A. I was responsible for all aspects of the       16   actual public release date. So its public release
17    operations of the organization, from legal and        17   date was, I believe, in 2002, but we were working
18    administrative, to technical and product, to          18   on Bookshare or doing initial testing or beta
19    fundraising, to public relations, to advocacy. I      19   testing probably in 2001.
20    was responsible for everything we did, ultimately,    20      Q. Now, you described the Bookshare project
21    in the role of chief executive officer.               21   as a technology product. Why?
22            Our chief financial officer had certain       22      A. If you look at what Bookshare is, you
23    statutory responsibilities and had a dotted line      23   can think of it as a web platform that operates a
24    to our board of directors, but I was her              24   large body of software that delivers an online
25    supervisor.                                           25   library. So I think of Amazon.com as a technology
                                                       82                                                         84
 1       Q. Mr. Fruchterman, what is Bookshare?              1   product as well, even though it's a whole bunch of
 2           MR. KAPLAN: Objection. Vague.                   2   technology that looks like a web site.
 3           THE WITNESS: It's a digital library for         3      Q. As a product of Benetech, what is or was
 4    people with print disabilities.                        4   Read2Go?
 5    BY MR. HUDIS:                                          5          MR. KAPLAN: Objection. Compound.
 6       Q. Is Bookshare part of Benetech?                   6          THE WITNESS: Read2Go is what people
 7           MR. KAPLAN: Objection. Vague.                   7   would commonly call an iPad or iPhone app that
 8           THE WITNESS: It's a project of                  8   is designed primarily as an eBook reading
 9    Benetech.                                              9   product for people with disabilities.
10    BY MR. HUDIS:                                         10   BY MR. HUDIS:
11       Q. What do you mean by "project"?                  11      Q. Was the Read2Go mark registered with the
12       A. Benetech runs multiple projects that            12   U.S. Patent and Trademark Office?
13    target different social needs, and we have            13          MR. KAPLAN: Objection. Lacks
14    programs that are a level-above project that          14   foundation. Calls for a legal conclusion. Vague.
15    target an area of social need. So it's a project.     15          THE WITNESS: It may have been.
16       Q. Is Bookshare a stand-alone corporation?         16   BY MR. HUDIS:
17       A. No.                                             17      Q. What would refresh your recollection, if
18       Q. Is Bookshare an unincorporated division         18   anything?
19    of Benetech?                                          19      A. A public record of the registration.
20           MR. KAPLAN: Objection. Vague. Calls            20      Q. Was the software code for Read2Go
21    for a legal conclusion.                               21   registered with the U.S. Copyright Office?
22           THE WITNESS: We wouldn't call it a             22          MR. KAPLAN: Objection. Vague. Lacks
23    division, and the only active corporate entity at     23   foundation. Calls for a legal conclusion.
24    Benetech today is Beneficent Technology, Inc., and    24          THE WITNESS: I don't know.
25    all the things I'm describing operate under that      25

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 1    BY MR. HUDIS:                                          1          MR. KAPLAN: Objection. Vague.
 2       Q. What would refresh your recollection?            2          THE WITNESS: Yes.
 3       A. A public registration statement.                 3   BY MR. HUDIS:
 4       Q. As a product of Benetech, what is or was         4      Q. Dyslexia?
 5    Go Read?                                               5          MR. KAPLAN: Objection. Vague.
 6           MR. KAPLAN: Objection. Compound.                6          THE WITNESS: Yes.
 7    Lacks foundation.                                      7   BY MR. HUDIS:
 8           THE WITNESS: It's an Android app that           8      Q. Was the Go Read mark registered with the
 9    is designed as an eBook reader for people with         9   U.S. Patent and Trademark Office?
10    disabilities.                                         10          MR. KAPLAN: Objection. Lacks
11    BY MR. HUDIS:                                         11   foundation. Vague. Calls for a legal conclusion.
12       Q. When you say "people with disabilities,"        12          THE WITNESS: I don't believe so.
13    do you mean people with reading disabilities?         13   BY MR. HUDIS:
14       A. I -- it's designed primarily for people         14      Q. Was the software code for the Go Read
15    with print disabilities.                              15   product registered with the U.S. Copyright Office?
16       Q. Could you define in this context people         16          MR. KAPLAN: Objection. Lacks
17    with print disabilities?                              17   foundation. Vague. Calls for a legal conclusion.
18       A. People who have a disability that               18          THE WITNESS: No.
19    functionally interferes with their ability to read    19   BY MR. HUDIS:
20    standard print.                                       20      Q. As a product of Benetech, what is or was
21       Q. In this context, what do you mean by            21   the Bookshare Web Reader?
22    "standard print"?                                     22          MR. KAPLAN: Objection. Compound.
23       A. For example, one of the printed                 23   Argumentative. Lacks foundation.
24    documents that we are looking at here, if a person    24          THE WITNESS: It's a set of technology
25    with a disability can't pick that page up, can't      25   that is added into the Bookshare web site that
                                                       86                                                        88
 1    look at it, can't read it, can't track along the       1   allows for an eBook to be read while in a web
 2    lines, can't recall what they've read when they've     2   browser, either with associated assistive
 3    completed reading -- so basically as a normal          3   technology or by itself.
 4    person without a disability, I can pick up a print     4   BY MR. HUDIS:
 5    document and acquire the knowledge that's there.       5      Q. In this context, what did you mean by
 6           And a person with a print disability has        6   "associated assistive technology"?
 7    some limitation that interferes with that process.     7      A. Some users of the web reader would be
 8    Typically blindness or severe dyslexia or cerebral     8   using a screen reader to make what's on the screen
 9    palsy that keeps them from being able to hold the      9   of their personal computer or device accessible.
10    page still or -- and I can could go on with a wide    10      Q. An example of a screen reader would be,
11    range of disabilities that get in the way.            11   for example, JAWS?
12       Q. So we would -- so people who have print         12          MR. KAPLAN: Objection. Vague.
13    disabilities either have a finer gross motor          13          THE WITNESS: Yes.
14    disability that keeps the person from picking up      14   BY MR. HUDIS:
15    the printed page and turning the pages; is that       15      Q. Was the Bookshare Web Reader mark
16    one type of print disability?                         16   registered with the U.S. Patent and Trademark
17           MR. KAPLAN: Objection. Misstates               17   Office?
18    testimony. Vague.                                     18          MR. KAPLAN: Objection. Vague. Lacks
19           THE WITNESS: That would be one type of         19   foundation. Calls for a legal conclusion.
20    print disability.                                     20          THE WITNESS: I don't believe so.
21    BY MR. HUDIS:                                         21   BY MR. HUDIS:
22       Q. And another type of disability could be         22      Q. Was the software code for the Bookshare
23    total blindness?                                      23   Web Reader registered with the U.S. Copyright
24       A. Yes.                                            24   Office?
25       Q. Low vision?                                     25          MR. KAPLAN: Objection. Vague. Calls

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 1    for a legal conclusion. And lacks foundation.        1          MR. HUDIS: Yes.
 2           THE WITNESS: No.                              2          MR. KAPLAN: -- to stretch our legs?
 3    BY MR. HUDIS:                                        3          MR. HUDIS: Yes.
 4      Q. As a product of Benetech, what is or was        4          THE VIDEOGRAPHER: Going off the record
 5    Bookshelf?                                           5   at 11:17. This is the end of Tape No. 1.
 6           MR. KAPLAN: Objection. Compound.              6          (Whereupon, a recess was taken.)
 7    Argumentative. Lacks foundation.                     7          THE VIDEOGRAPHER: Here begins Tape
 8           THE WITNESS: It was a feature of              8   No. 2 in the deposition of James Fruchterman. We
 9    individual accounts for a period of time on the      9   are back on the record at 11:31.
10    Bookshare web site.                                 10          MR. KAPLAN: So, Counsel, pursuant to
11    BY MR. HUDIS:                                       11   paragraph 1E of the protective order in this
12      Q. The product's no longer in use?                12   action, we agree to provisionally designate the
13           MR. KAPLAN: Objection. Vague.                13   transcript as confidential for 30 days and shall
14           THE WITNESS: Not by that name.               14   make such specific designations of the transcript
15    BY MR. HUDIS:                                       15   before the end of that time. I may have gotten
16      Q. What is it -- what does the product go         16   that paragraph number wrong, but under the
17    under today?                                        17   protective order.
18           MR. KAPLAN: Objection. Lacks                 18          MR. HUDIS: Agreed.
19    foundation. Vague. Argumentative.                   19          MR. KAPLAN: Thank you.
20           THE WITNESS: I believe Reading Lists.        20   BY MR. HUDIS:
21    BY MR. HUDIS:                                       21      Q. So, Mr. Fruchterman, my last question to
22      Q. Was the Bookshelf mark registered with         22   you was whether the Bookshelf mark had been
23    the U.S. Patent and Trademark Office?               23   registered with the U.S. Patent and Trademark
24           MR. KAPLAN: Objection. Vague. Lacks          24   Office by someone else.
25    foundation. Calls for a legal conclusion.           25      A. Yes.
                                                     90                                                        92
 1           THE WITNESS: Not by Benetech.                 1      Q. All right. And to the best of your
 2    BY MR. HUDIS:                                        2   knowledge, who registered the mark with the
 3       Q. Was the Bookshare -- excuse me.                3   trademark office?
 4           Was the Bookshelf mark registered by          4      A. I don't remember which company. It was
 5    somebody else with the U.S. Patent and Trademark     5   a big company.
 6    Office?                                              6      Q. But you don't remember whom?
 7           MR. KAPLAN: Objection. Vague. Lacks           7      A. No. I -- I wouldn't care to guess.
 8    foundation. Calls for a legal conclusion.            8      Q. Anything that would refresh your
 9           THE WITNESS: That is my understanding.        9   recollection?
10    BY MR. HUDIS:                                       10      A. A public registration of the term
11       Q. And who registered Bookshelf with the         11   "Bookshelf" as it applies in the digital world, or
12    U.S. Patent and Trademark Office, to the best of    12   something along those lines.
13    your knowledge?                                     13      Q. Was the software code for the Bookshelf
14           MR. KAPLAN: Objection. Vague and calls       14   product registered with the U.S. Copyright Office?
15    for a legal conclusion.                             15         MR. KAPLAN: Objection. Vague. Lacks
16           THE WITNESS: This may be a place where       16   foundation. Calls for a legal conclusion.
17    we're getting into confidential material. I'm       17         THE WITNESS: No. And Bookshelf was a
18    just going to put that on the record.               18   feature, not really a product.
19           MR. HUDIS: We're almost out of tape,         19   BY MR. HUDIS:
20    but let's put the next question and answer on the   20      Q. And why do you describe it as a feature?
21    confidential portion of the record.                 21      A. Well, it's part of the Bookshare site
22           Let's go off the record so we can change     22   code, and there are many, many things that the
23    the tape.                                           23   Bookshare site code does, and this was just one
24           MR. KAPLAN: Okay. Counsel, would this        24   thing. It -- it -- it makes no sense apart from
25    be a good time to take a break --                   25   Bookshare.

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 1       Q. And it's purpose is to organize                  1   BY MR. KAPLAN:
 2    selections by the reader?                              2      Q. So if a third party does not pay the
 3           MR. KAPLAN: Objection. Vague.                   3   user subscription fee, would a Bookshare member
 4           THE WITNESS: I believe the primary              4   have to pay for the Bookshare Web Reader?
 5    purpose of this feature was to make it easier for      5          MR. KAPLAN: Objection. Incomplete
 6    teachers to assign a list of materials for a           6   hypothetical. Vague. Lacks foundation.
 7    student to read.                                       7   Argumentative.
 8    BY MR. HUDIS:                                          8          THE WITNESS: If they wish to read
 9       Q. And Bookshelf, to the best of your               9   copyrighted material.
10    recollection, is now offered as a feature under       10   BY MR. KAPLAN:
11    the name Reading Lists?                               11      Q. If the user wishes to read copyrighted
12       A. Correct.                                        12   material, then there would be a fee associated
13       Q. Are any of -- is the Read2Go product            13   with the user using the Bookshare Web Reader?
14    offered for a fee?                                    14          MR. KAPLAN: Objection. Incomplete
15           MR. KAPLAN: Objection. Vague.                  15   hypothetical. Misstates the testimony. Vague.
16           THE WITNESS: No.                               16   Lacks foundation.
17    BY MR. HUDIS:                                         17          THE WITNESS: Bookshare is a
18       Q. Is the Go Read product offered for a            18   subscription web site. If you are a subscriber,
19    fee?                                                  19   the Bookshare Web Reader is a feature of that web
20       A. Okay. I want --                                 20   site that is included in your subscription, much
21           MR. KAPLAN: Objection. Vague.                  21   as your Reading Lists are included as a feature of
22           THE WITNESS: I want to correct my              22   the web site's operation.
23    testimony.                                            23   BY MR. KAPLAN:
24    BY MR. KAPLAN:                                        24      Q. Separate and apart from the subscription
25       Q. Please.                                         25   fee for Bookshare, does, in any circumstance, the
                                                       94                                                        96
 1       A. Okay. We're talking about two different          1   user pay a separate fee for the Bookshare web
 2    eBook readers.                                         2   reader?
 3       Q. Right.                                           3          MR. KAPLAN: Objection. Vague.
 4       A. And the first question you asked was is          4   Argumentative. Lacks foundation.
 5    the Read2Go product offered for a fee.                 5          THE WITNESS: Not by Benetech.
 6       Q. For a fee?                                       6   BY MR. HUDIS:
 7       A. And the correct answer is, yes. It's             7      Q. Would somebody else charge that fee?
 8    listed in the Apple App Store for a fee.               8          MR. KAPLAN: Objection. Vague.
 9           And your -- the question that was               9          THE WITNESS: It's an open source
10    pending was whether Go Read was offered for a fee.    10   product, to my knowledge, and under open source
11    And the answer is, no, it is not offered for a        11   licensing, it is possible for someone to grab a
12    fee. It's available for free.                         12   piece of open source code and, within the
13       Q. Is the Bookshare Web Reader offered for         13   constraints of that license, charge some fees.
14    a fee?                                                14   I'm not aware of anyone doing that at this moment.
15           MR. KAPLAN: Objection. Vague.                  15   BY MR. HUDIS:
16           THE WITNESS: Not for a separate fee.           16      Q. And what used to be Bookshelf, now
17    BY MR. KAPLAN:                                        17   Reading Lists, is a feature of the Bookshare
18       Q. Is it part of the fee that one would pay        18   service?
19    to become a member of Bookshare?                      19          MR. KAPLAN: Objection. Argumentative.
20           MR. KAPLAN: Objection. Vague.                  20   Vague.
21           THE WITNESS: The web reader is part of         21          THE WITNESS: Yes.
22    the Bookshare web site. Whether or not you need       22   BY MR. HUDIS:
23    to pay a fee depends on the material you read and     23      Q. Is a separate fee charged for Reading
24    whether or not a third party is effectively paying    24   Lists?
25    for your fee, your subscription fee.                  25          MR. KAPLAN: Objection. Vague. Lacks

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 1    foundation. Argumentative.                            1     Q. Mr. Fruchterman, what is Bookshare's
 2           THE WITNESS: No.                               2   University Partnership Program?
 3    BY MR. HUDIS:                                         3         MR. KAPLAN: Objection. Argumentative.
 4       Q. Was a separate fee charged for                  4   Lacks foundation. Vague.
 5    Bookshelf?                                            5         THE WITNESS: It's a program where
 6           MR. KAPLAN: Objection. Vague. Lacks            6   universities that have scanned books for students
 7    foundation. Argumentative.                            7   can add them to the Bookshare collection so that
 8           THE WITNESS: No.                               8   other people don't have to scan the same work, to
 9    BY MR. HUDIS:                                         9   make it accessible to people with disabilities.
10       Q. Do I understand correctly that Read2Go         10   BY MR. HUDIS:
11    is an eReader for an Apple product?                  11     Q. Print disabilities?
12           MR. KAPLAN: Objection. Vague.                 12     A. Correct.
13           THE WITNESS: Yes.                             13     Q. When was the Bookshare University
14    BY MR. HUDIS:                                        14   Partnership Program started?
15       Q. All right. Can anyone acquire Read2Go          15         MR. KAPLAN: Objection. Lacks
16    for use with an Apple product or must the person     16   foundation.
17    show proof of a print disability?                    17         THE WITNESS: I don't know a precise
18           MR. KAPLAN: Objection. Compound.              18   date. In the last six years.
19    Lacks foundation. Vague.                             19   BY MR. HUDIS:
20           THE WITNESS: Anyone can purchase the          20     Q. Around 2009 maybe?
21    product online without showing proof of              21         MR. KAPLAN: Objection. Asked and
22    disability.                                          22   answered. Lacks foundation.
23    BY MR. HUDIS:                                        23         THE WITNESS: I don't have an exact date
24       Q. Is that also true for Go Read?                 24   for you.
25           MR. KAPLAN: Objection. Lacks                  25
                                                      98                                                      100
 1    foundation. Vague.                                    1   BY MR. HUDIS:
 2           THE WITNESS: Anyone is able to download        2      Q. To the best of your knowledge, which
 3    Go Read and use it to read any material.              3   major publishers have agreed to donate digital
 4    BY MR. HUDIS:                                         4   files of their books to Bookshare?
 5       Q. Without -- without showing proof of             5          MR. KAPLAN: Objection. Argumentative.
 6    print disability?                                     6   Lacks foundation. Vague.
 7       A. That is correct.                                7          THE WITNESS: More than 500 publishers
 8           (Whereupon, Deposition Exhibit 54 was          8   have done so. HarperCollins, Simon & Schuster,
 9       marked for identification.)                        9   Random House, Penguin. But I don't want to
10           MR. HUDIS: Mr. Fruchterman, I now show        10   characterize a publisher as not major by omission
11    you what's been marked as Exhibit Fruchterman 54.    11   from my list.
12           Counsel, just to speed up, I will             12   BY MR. HUDIS:
13    represent this was prepared by my office from        13      Q. Before becoming part of Bookshare's
14    publicly available information.                      14   University Partnership Program, did any of the
15           MR. KAPLAN: Thank you.                        15   publishers express to you concern about the
16    BY MR. HUDIS:                                        16   sighted community taking unfair advantage by
17       Q. Mr. Fruchterman, could you please look         17   downloading from Bookshare's -- from Bookshare the
18    at pages 1 through 3 of Exhibit 54. And I ask        18   digital files of their books without permission or
19    you, do you recognize these as registered            19   payment?
20    trademarks of Beneficent Technology, Inc.?           20          MR. KAPLAN: Objection. Vague.
21       A. Yes.                                           21          THE WITNESS: Yes.
22       Q. And on page 4 of Exhibit 54, do you            22   BY MR. HUDIS:
23    recognize Martus client software as a registered     23      Q. Which of the publishers -- which of the
24    copyright owned by Beneficent Technology, Inc.?      24   publishers expressed such a concern?
25       A. Yes.                                           25          MR. KAPLAN: Objection. Lacks

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 1    foundation.                                           1     Q. All right. And after you gave them an
 2           THE WITNESS: To the best of my                 2   explanation about the sign-up process for
 3    recollection, it would have been a higher ed          3   Bookshare, did the publishers allow their
 4    publisher.                                            4   publications to be offered as part of the
 5    BY MR. HUDIS:                                         5   University Partnership Program?
 6       Q. Do you remember the name of the higher          6         MR. KAPLAN: Objection. Argumentative.
 7    ed publisher?                                         7   Vague. Lacks foundation.
 8       A. I do not.                                       8         THE WITNESS: Still, that question
 9       Q. What, if anything, did they say to you?         9   doesn't make sense.
10           MR. KAPLAN: Objection. Lacks                  10   BY MR. HUDIS:
11    foundation.                                          11     Q. Okay. What doesn't make -- what would
12           THE WITNESS: We've had many                   12   make your understanding of my question clearer?
13    conversations with publishers. And your question     13         MR. KAPLAN: Objection. Calls for
14    touches effectively on whether someone without a     14   speculation. Vague.
15    qualifying disability can sign up for Bookshare.     15         THE WITNESS: Okay. You keep linking
16           And so publishers would ask us questions      16   the University Partners Program to publishers.
17    about our sign-up process and about our mechanisms   17   BY MR. HUDIS:
18    to prevent nondisabled people from signing up for    18     Q. Right.
19    Bookshare. So I'd say we certainly have had          19      A. They're not linked. So any time you ask
20    conversations about those processes.                 20   me a question about publishers and then the
21    BY MR. HUDIS:                                        21   University Partners Program, I just have to say,
22       Q. And when such concerns were expressed to       22   sorry, that -- those don't go together. Those are
23    you, what did you tell those publishers about        23   apples and oranges.
24    Bookshare's sign-up process?                         24         Do you want to just talk about
25           MR. KAPLAN: Objection. Vague.                 25   publishers?
                                                     102                                                       104
 1           THE WITNESS: We discussed at length the        1      Q. Sure.
 2    mechanisms by which people provide proof of           2      A. Let's talk about that.
 3    disability.                                           3      Q. Well -- fine.
 4    BY MR. HUDIS:                                         4         So you had whole libraries as part of
 5       Q. And after providing that explanation to         5   the University Partnership Program who digitized
 6    the publishers, were they satisfied with the          6   the works in their collections and made them
 7    explanations and, as a result, went forward by        7   available as part of Bookshare, correct?
 8    joining Bookshare's University Partnership            8         MR. KAPLAN: Objection. Misstates
 9    Program?                                              9   testimony. Vague.
10           MR. KAPLAN: Objection. Vague. Calls           10         THE WITNESS: No, that's not what I've
11    for speculation. Lacks foundation. Compound.         11   said.
12           THE WITNESS: That question actually           12   BY MR. HUDIS:
13    doesn't make sense as structured.                    13      Q. All right. How does the University
14    BY MR. HUDIS:                                        14   Partnership Program work?
15       Q. Okay.                                          15      A. So let's break this into two halves.
16       A. Because the University Partners Program        16      Q. Sure.
17    is not a publisher program. It's a university        17      A. The interaction with the disabled
18    program separate from publishers and separate from   18   student and the interaction with Bookshare.
19    university presses. So the question doesn't hold     19         So universities -- many universities
20    together.                                            20   have a disabled student services center that is
21       Q. So -- so the entities that expressed           21   responsible for responding to accommodation
22    concerns with -- if any, with Bookshare's            22   requests from students with disabilities.
23    University Partnership Program were not the          23         A common request is that a
24    universities, but it was the publishers?             24   print-disabled student will come to the disabled
25       A. Correct.                                       25   student services office and say, "I need this book

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 1    for my class."                                        1   people with developmental disabilities learn how
 2           There are many different ways that a           2   to read.
 3    disabled student services office can fulfill that     3   BY MR. HUDIS:
 4    request. One of the possible ways, and generally      4      Q. And is the program web-based?
 5    one that they don't prefer to go for if they can      5          MR. KAPLAN: Objection. Vague.
 6    avoid it, is to scan the entire book. They scan       6          THE WITNESS: Yes.
 7    that entire book and provide it to the student,       7   BY MR. HUDIS:
 8    satisfying their obligation to the student.           8      Q. Is the uploading of copyrighted text
 9           Now, a university disabled student             9   part of the Route 66 Literacy Project?
10    services office can voluntarily sign up for the      10          MR. KAPLAN: Objection. Vague. Calls
11    University Partners Program on behalf of their       11   for a legal conclusion. Lacks foundation.
12    university, going through whatever process, and      12          THE WITNESS: Route 66 focuses on openly
13    send Bookshare copies of accessible versions of      13   licensed content, both pictures and text. We --
14    textbooks or books needed for education and add      14   sorry. I'll wait for your next question.
15    them to the -- and we will add them to the           15   BY MR. HUDIS:
16    Bookshare collection as a way to save potentially    16      Q. Oh, I was going to let you finish your
17    other universities from having to scan the same      17   answer. I'm sorry.
18    book at expense and delay. So that's how that        18      A. Maybe you should restate the question to
19    program works.                                       19   make sure I've answered it completely.
20      Q. Thank you for that explanation.                 20      Q. Well, you said that Route 66 -- that the
21      A. Mh-hmm.                                         21   Route 66 Literacy Project is deployed using openly
22      Q. Now, if I am a publisher of one of those        22   licensed content, pictures and text.
23    books --                                             23      A. Correct.
24      A. Yes.                                            24      Q. In what way?
25      Q. -- I might have a problem with -- if            25          MR. KAPLAN: Objection. Misstates
                                                     106                                                       108
 1    there weren't proper safeguards in place -- having    1   testimony. Vague.
 2    my text made part of Bookshare so that the sighted    2          THE WITNESS: It's a community of people
 3    community takes unfair advantage.                     3   that want to help people with developmental
 4          Now, my question goes back to --                4   disabilities learn to read.
 5       A. Mh-hmm.                                         5   BY MR. HUDIS:
 6      Q. -- did any of the publishers express a           6      Q. Using openly licensed content?
 7    concern with the University Partnership Program by    7      A. And if they provide the content to Route
 8    having their books made available on Bookshare?       8   66, it's on the understanding that it be openly
 9          MR. KAPLAN: Objection. Vague.                   9   licensed.
10    Argumentative. Lacks foundation.                     10      Q. What is Martus?
11          THE WITNESS: No.                               11          MR. KAPLAN: Objection. Lacks
12    BY MR. HUDIS:                                        12   foundation.
13      Q. Why not?                                        13          THE WITNESS: Martus is our software for
14          MR. KAPLAN: Objection. Calls for               14   human rights activists.
15    speculation. Lacks foundation. Vague.                15   BY MR. HUDIS:
16          THE WITNESS: In my earlier testimony           16      Q. And it's used to capture and effectively
17    where we had conversations with publishers about     17   use human rights violations data?
18    our qualification processes, the University          18      A. Primarily, yes.
19    Partnership Program never came up.                   19      Q. Now, let's turn to the specifics of
20    BY MR. HUDIS:                                        20   Bookshare.
21      Q. Okay. What is Benetech's Route 66               21      A. Mh-hmm.
22    Literacy Project?                                    22      Q. Since its founding in 2002, who has been
23          MR. KAPLAN: Objection. Argumentative.          23   eligible to join Bookshare?
24    Lacks foundation.                                    24          MR. KAPLAN: Objection. Lacks
25          THE WITNESS: It's a project to help            25   foundation. Vague.

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 1           THE WITNESS: The primary beneficiary of        1      Q. Who?
 2    Bookshare is a person with a qualifying print         2      A. Those that have their membership paid
 3    disability.                                           3   for by a third party.
 4    BY MR. HUDIS:                                         4      Q. If they're not paying on their own and
 5        Q. And how is one who has a qualifying            5   their fees are not paid by a third party, are
 6    print disability determined?                          6   there members of Bookshare who can receive
 7        A. By a professional who meets the                7   Bookshare services for free?
 8    competent authority requirements under U.S. law       8          MR. KAPLAN: Objection. Vague.
 9    and regulation as having the professional             9          THE WITNESS: Yes. We occasionally give
10    credentials to make that assessment.                 10   someone who would otherwise have to pay a
11        Q. So it's a medical professional?               11   complimentary membership.
12        A. No.                                           12   BY MR. HUDIS:
13        Q. Please, in this context, define               13      Q. Is that the exception or the rule?
14    "competent authority."                               14          MR. KAPLAN: Objection. Vague.
15        A. I can't quote the precise language, but       15          THE WITNESS: We sometimes run programs
16    it includes doctors, optometrists. Let's see.        16   where we say for the next 90 days, you can get a
17    People with specialized expertise in disabilities.   17   free membership to Bookshare if you qualify. And
18    Educational psychologists.                           18   then we hope that you continue to subscribe,
19           But I'm not giving you the complete list      19   so ...
20    that comes from the statutory regulations. This      20   BY MR. HUDIS:
21    is publicly available regulatory information. And    21      Q. Besides fees, from where else does
22    the term of art is "competent authority."            22   Bookshare get its funding, if anyplace?
23        Q. And that's defined by statute?                23          MR. KAPLAN: Objection. Vague.
24        A. That's my understanding. Or the               24          THE WITNESS: Government contracts.
25    supporting regulations.                              25   Foundation grants. Individual donations. Similar
                                                     110                                                       112
 1      Q. Is there an initial setup fee charged to         1   philanthropy.
 2    members when they join Bookshare?                     2   BY MR. HUDIS:
 3           MR. KAPLAN: Objection. Vague. Lacks            3      Q. And part of the Bookshare's funding has
 4    foundation.                                           4   come from the Department of Education special
 5           THE WITNESS: A small proportion of our         5   education programs?
 6    users do pay an initial setup fee.                    6          MR. KAPLAN: Objection. Vague. Lacks
 7    BY MR. HUDIS:                                         7   foundation.
 8      Q. And that's $25?                                  8          THE WITNESS: Correct. A major funder
 9      A. In the United States and other wealthy           9   is the Office of Special Education Programs at the
10    countries, yes.                                      10   U.S. Department of Education.
11      Q. Is there an ongoing membership fee              11   BY MR. HUDIS:
12    charged to Bookshare members?                        12      Q. From where does Bookshare obtain the
13           MR. KAPLAN: Objection. Vague. Lacks           13   textual reading content to provide to its members?
14    foundation.                                          14          MR. KAPLAN: Objection. Vague.
15           THE WITNESS: For those that are paying        15   Argumentative.
16    for their own membership, yes.                       16          THE WITNESS: At this time, the majority
17    BY MR. HUDIS:                                        17   of the Bookshare collection has been supplied by
18      Q. And that's $50 a year?                          18   publishers under voluntary agreements.
19           MR. KAPLAN: Objection. Vague.                 19   BY MR. HUDIS:
20           THE WITNESS: In the United States and         20      Q. Was that always the case?
21    other wealthy countries.                             21      A. No.
22    BY MR. HUDIS:                                        22      Q. Prior to the publisher supplying their
23      Q. Are some members eligible to receive            23   content under voluntary agreements, how did
24    Bookshare services for free?                         24   Bookshare obtain textual reading material to
25      A. Yes.                                            25   provide to its members?

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 1           MR. KAPLAN: Objection. Misstates               1   detect missing pages, low-quality character
 2    testimony. Argumentative. Vague. Lacks                2   recognition. So, yes, we're trying to spot common
 3    foundation.                                           3   errors.
 4           THE WITNESS: Volunteer scanning.               4   BY MR. HUDIS:
 5    BY MR. HUDIS:                                         5      Q. Would upside-down pages be one of those
 6       Q. If you know, how -- what portion of the         6   common errors?
 7    content available on Bookshare today is               7      A. No.
 8    copyrighted content?                                  8          MR. KAPLAN: Objection. Incomplete
 9           MR. KAPLAN: Objection. Calls for a             9   hypothetical.
10    legal conclusion. Lacks foundation. Vague.           10          THE WITNESS: Sorry.
11           THE WITNESS: I would estimate over            11          MR. KAPLAN: It's okay.
12    95 percent is copyrighted content.                   12   BY MR. HUDIS:
13    BY MR. HUDIS:                                        13      Q. How about off-centered scanned pages,
14       Q. Once Bookshare obtains the textual             14   where they're not properly centered?
15    reading content, if it's in printed form, what       15          MR. KAPLAN: Objection. Incomplete
16    does Bookshare or its volunteers do with it?         16   hypothetical. Vague.
17           MR. KAPLAN: Objection. Vague. Lacks           17          THE WITNESS: No. The most common error
18    foundation.                                          18   is a double feed, where two pages fed at once.
19           THE WITNESS: If we receive a book in          19   BY MR. HUDIS:
20    printed form, we take off its binding, chop the      20      Q. What type of file does the Bookshare
21    binding off, put it through a high-speed scanner,    21   scanning process produce?
22    perform optical character recognition on it, and     22          MR. KAPLAN: Objection. Argumentative.
23    then someone proofreads it.                          23   Lacks foundation. Vague.
24           It goes through generally an automated        24          THE WITNESS: Generally --
25    quality control assessment and then gets added to    25
                                                    114                                                        116
 1    our collection of books available to our users.       1   BY MR. HUDIS:
 2    BY MR. HUDIS:                                         2      Q. Go ahead.
 3       Q. What's part of that quality control             3      A. Generally, a Microsoft Word or RTF
 4    assessment?                                           4   format file.
 5           MR. KAPLAN: Objection. Argumentative.          5      Q. Not Adobe PDF?
 6    Vague. Lacks foundation.                              6      A. No.
 7           THE WITNESS: I'm not familiar with all         7      Q. And "RTF" stands for rich text format?
 8    the tests, but if the book is supposed to have 600    8      A. Correct.
 9    pages and it has one page, or 10,000, someone's       9      Q. As part of the process you just
10    going to look at it.                                 10   described, the digital scan from paper to
11           If it's a religious title, and it is          11   electronic, what is the initial file -- what type
12    full of swear words, it's likely to get additional   12   of initial file is created?
13    quality control. So we're looking for is this        13          MR. KAPLAN: Objection. Vague. Lacks
14    book as represented. And, you know, that tends to    14   foundation.
15    be greater on completely voluntary copies as         15          THE WITNESS: I believe we acquire image
16    opposed to one where we were actually operating      16   scans as TIFF images.
17    the process.                                         17   BY MR. HUDIS:
18    BY MR. HUDIS:                                        18      Q. Again, not PDF?
19       Q. Would that quality control include a           19      A. No.
20    check to make sure none of the pages were scanned    20      Q. I should know this.
21    upside down?                                         21          And "TIFF" stands for?
22           MR. KAPLAN: Objection. Incomplete             22      A. I believe it's tagged image file format.
23    hypothetical. Lacks foundation. Vague.               23      Q. Once the TIFF process is created, apart
24           THE WITNESS: I would say that part of         24   from the quality control that you just described,
25    our quality control processes are designed to        25   what other processes, if any, does the file

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 1    undergo?                                               1   seem like the right term. There's -- there's a
 2           MR. KAPLAN: Objection. Vague.                   2   series of processes around obtaining an
 3    Unintelligible. Argumentative. Lacks foundation.       3   information object. Depending on -- it could be
 4    BY MR. HUDIS:                                          4   handed to you physically. It could be assigned to
 5        Q. I can ask the question another way if           5   you by your teacher with a link. It could be that
 6    you'd like, Mr. Fruchterman.                           6   you have to search a web search engine to find it.
 7        A. I don't think I have anything to add to         7   You might go to Amazon and try to buy it.
 8    the description I gave earlier.                        8          So -- so let's say --
 9        Q. All right. Which was you take the               9   BY MR. HUDIS:
10    printed material, chop it off from its bindings,      10      Q. That's all obtaining the content?
11    digitally scan it, employ the OCR process, have it    11      A. Yes. Let's say obtaining. Okay.
12    proofread and a quality control?                      12      Q. So that's the first functional task.
13           MR. KAPLAN: Objection. Misstates               13          After you obtain the content, what's
14    testimony.                                            14   next?
15           THE WITNESS: Yes. And, of course,              15      A. Can I read the content. If it's textual
16    proofreading is a quality control step that has a     16   material, especially. In other words, can I
17    lot of elements to it as well as the final quality    17   actually acquire words in that content. For
18    control step I described.                             18   example, if it's a novel, can I read it all the
19    BY MR. HUDIS:                                         19   way from the beginning to the end.
20        Q. For the next series of questions,              20      Q. Are those all the functional tasks? Are
21    Mr. Fruchterman, I need your definition of            21   there more?
22    "access." And that has been a term that we have       22      A. There are more.
23    litigated over the course of this legal               23      Q. Which -- what are they?
24    proceeding.                                           24      A. Accessing -- sorry. Using the structure
25           So I am talking now about a print --           25   of the document to do tasks that other people
                                                      118                                                        120
 1    print-disabled person having the ability to access     1   might do on that document. For example, you said
 2    content. In that respect, how would you define         2   look at page 5 of a given document. Can the
 3    "access"?                                              3   person go to page 5. Is page 5 actually in their
 4          MR. KAPLAN: Objection. Vague.                    4   copy.
 5          THE WITNESS: So accessibility -- which           5      Q. That would be a search function?
 6    is how I think of this term, as opposed to access,     6      A. It can be done either through structured
 7    per se -- I usually focus on functional tasks that     7   markup or it can be done by search. So, for
 8    a person would use on a given piece of information     8   example, a table of contents, an index. It's not
 9    or material.                                           9   a search function --
10    BY MR. HUDIS:                                         10      Q. That's a structured markup?
11       Q. And those functional tasks are?                 11      A. That's a structure markup.
12       A. Can they get the material? Can they             12          And so if someone says, Go to
13    actually have some form of access to it without       13   Section 7.1, you know, you can flip through and
14    regard to is it accessible or not? Can they find      14   get to Section 7.1, or you can search for 7.1, and
15    it? Can they access it? So that might be can          15   perhaps the first mention of 7.1 is maybe table of
16    they download it?                                     16   contents. Maybe the second one is Section 7.1, if
17       Q. So --                                           17   the phrase "7.1" doesn't appear frequently in the
18       A. Can they --                                     18   document otherwise.
19       Q. -- that part of it would you define as          19      Q. What is the next functional task?
20    acquisition, to obtain the content? I want -- I       20          MR. KAPLAN: Objection. Argumentative.
21    want your definition without using the term           21   Vague.
22    "access."                                             22   BY MR. HUDIS:
23          MR. KAPLAN: Objection. Vague.                   23      Q. If any.
24    Argumentative.                                        24      A. I -- in modern use, you might be looking
25          THE WITNESS: "Acquisition" does not             25   for certain phrases or content. So, for example,

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 1    I might want to know pages that mention               1   BY MR. HUDIS:
 2    Constitution and bananas on the same page.            2     Q. Now, what if they are a low-vision
 3       Q. All right. So that would be a Boolean           3   reader?
 4    search?                                               4         MR. KAPLAN: Objection. Incomplete
 5       A. Yes. So there are searches you could            5   hypothetical. Vague. Lacks foundation.
 6    do. Those are easier to do on digital content,        6         THE WITNESS: Then they could view the
 7    obviously. But, you know, human beings often do       7   TIFF image magnified or otherwise visually
 8    word spotting as well. Skimming. There's              8   processed and read the document.
 9    skimming that people do.                              9   BY MR. HUDIS:
10           And -- I mean, there are other tasks          10     Q. What do you mean by "visually
11    that people do. I choose to focus on those as the    11   processed"?
12    primary ones that encompass what 95 percent or       12     A. An example -- one obvious example is
13    more people would want to do with a given            13   making it bigger. Another one is reversing the
14    document.                                            14   contrast so that instead of being black text on a
15       Q. And those functional tasks, just to            15   white background, being white text on black
16    summarize -- I've been listening very carefully --   16   background. There are many other visual things
17    to obtain the content, to read the content, to use   17   that people with low vision benefit from other
18    the structure of the document such as by markup or   18   than those two. Those are the two most common.
19    by search, to skim the document and more             19     Q. With the current state of technology as
20    complicated phrase searches?                         20   you know it, how accurate is the OCR process in
21       A. Yeah.                                          21   recognizing words on a printed page?
22           MR. KAPLAN: Objection. Misstates              22         MR. KAPLAN: Objection. Vague.
23    testimony.                                           23         THE WITNESS: It's quite good.
24           Go ahead.                                     24   BY MR. HUDIS:
25           THE WITNESS: More or less, yeah.              25     Q. Is there a known error recognition rate?
                                                     122                                                       124
 1    BY MR. HUDIS:                                         1          MR. KAPLAN: Objection. Vague.
 2       Q. Okay. All right. Could Bookshare's              2          THE WITNESS: It varies by content type.
 3    members with print disabilities access the content    3   So a text document, like my resume --
 4    in the TIFF file created by the process you           4   BY MR. HUDIS:
 5    described earlier without having the file undergo     5      Q. Sure. Let's look at Exhibit 49.
 6    an OCR process?                                       6      A. -- I would -- yeah, I would expect
 7           MR. KAPLAN: Objection. Incomplete              7   modern OCR to do that perfectly.
 8    hypothetical. Vague. Lacks foundation.                8      Q. With no error recognition --
 9           THE WITNESS: They could have a human           9      A. With no errors. Or maybe one or two
10    being read it to them.                               10   just -- I should double-check, but I don't see
11    BY MR. HUDIS:                                        11   any. That's -- that's a very -- of course, I'm
12       Q. Without intervention by another human          12   not going to find it. There we go. Yeah. I
13    being, could Bookshare's members with print          13   mean, this is --
14    disabilities access the TIFF file created as we      14      Q. That's straight text?
15    discussed -- I'm going to rephrase the question.     15      A. Yeah. Well, the first page I would say
16           Without human intervention, could             16   it would recognize perfectly. The second page, it
17    Bookshare's members with print disabilities access   17   might have problems with some of the underlines.
18    the content in the TIFF file without having          18      Q. Right.
19    undergone the OCR process?                           19      A. And --
20           MR. KAPLAN: Objection. Incomplete             20      Q. What about if it's in italics?
21    hypothetical. Vague. Lacks foundation.               21      A. I think it's the combination of italics
22           THE WITNESS: I think the answer is no.        22   and underlines that might give it the problem. I
23    They need either OCR or a human to access TIFF       23   think it should still do quite well, but I would
24    images if they're completely blind.                  24   expect there's a possibility of an error -- of
25                                                         25   error showing up with italics.

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 1            So a novel, very few errors. A -- well,        1   still within copyright, Bookshare couldn't help
 2    a child's picture book that had no words in it         2   them?
 3    would be hard for a blind person to use, as            3          MR. KAPLAN: Objection. Incomplete
 4    another example. So it just -- it varies by the        4   hypothetical. Calls for a legal conclusion.
 5    content. But modern OCR on straight text should        5   Vague.
 6    do quite well.                                         6          THE WITNESS: Bookshare couldn't help
 7        Q. And the events in question in this              7   them by scanning a printed version of that play,
 8    litigation occurred between 2012 and 2014.             8   no.
 9            Would your answer still be the same            9   BY MR. HUDIS:
10    about the error recognition rate of OCR in that       10      Q. Why is Bookshare permitted to digitally
11    time period?                                          11   copy and distribute copyrighted materials to the
12            MR. KAPLAN: Objection. Incomplete             12   print-disabled?
13    hypothetical. Vague. Lacks foundation.                13          MR. KAPLAN: Objection. Calls for a
14            THE WITNESS: Yes.                             14   legal conclusion. Incomplete hypothetical.
15    BY MR. HUDIS:                                         15   Argumentative. Vague.
16        Q. After the scanning and OCR processes and       16          THE WITNESS: Because we avail ourselves
17    the quality control, how does Bookshare decide        17   of copyright exceptions and license agreements and
18    whether a book should be made available on its web    18   the public domain. And I think that's it. Those
19    site?                                                 19   are the three ways that we are permitted.
20            MR. KAPLAN: Objection. Vague.                 20   BY MR. HUDIS:
21    Unintelligible. Lacks foundation. Incomplete          21      Q. And when you say "copyright exceptions,"
22    hypothetical.                                         22   are you familiar with the 1996 Chafee Amendment to
23            THE WITNESS: We wouldn't engage in that       23   the U.S. Copyright Act?
24    process if we weren't planning on making it           24          MR. KAPLAN: Objection. Vague.
25    available. It would be a waste of resources.          25          THE WITNESS: Yes.
                                                      126                                                       128
 1    BY MR. HUDIS:                                          1   BY MR. HUDIS:
 2       Q. Is there a validation process that the           2      Q. What's your understanding of the Chafee
 3    scanned book goes through before --                    3   Amendment?
 4          MR. KAPLAN: Object.                              4          MR. KAPLAN: Objection. Vague.
 5    BY MR. HUDIS:                                          5          THE WITNESS: Chafee is C-H-A-F-E-E. I
 6       Q. -- before it is uploaded to Bookshare's          6   don't have all of the provisions of Chafee
 7    web site?                                              7   memorized, but it allows an authorized entity,
 8          MR. KAPLAN: Objection. Vague. Lacks              8   defined in the statute, to make copies of
 9    foundation. Incomplete hypothetical.                   9   copyrighted works available to people with
10          THE WITNESS: I don't know what you mean         10   qualifying disabilities, print disabilities.
11    by "validation" beyond the quality control stuff      11   There's more details, but those are, I'd say, the
12    that we've already discussed.                         12   primary points.
13          Is there some other thing that --               13   BY MR. HUDIS:
14    BY MR. HUDIS:                                         14      Q. And --
15       Q. I saw that in some of the materials             15          MR. KAPLAN: Just to be clear, you're
16    discussing Bookshare, that there was a validation     16   not seeking his legal opinion on this or legal
17    process.                                              17   advice regarding this, correct?
18       A. If a work is a play, we won't scan it.          18          MR. HUDIS: I am not. I am seeking the
19       Q. Why?                                            19   witness's understanding vis-a-vis his operation of
20       A. Because the copyright exception says it         20   Bookshare.
21    only applies to nondramatic literary works. So        21      Q. So the three methods you just described
22    there is a process to not scan books that aren't      22   permitting Bookshare to digitally copy and
23    covered by the copyright exception.                   23   distribute materials on its web site is either,
24       Q. So, for example, if a student with print        24   one, a copyright exception; two, a license
25    disabilities needs to access a modern play that's     25   agreement; and, three, a public domain; is that

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 1    correct?                                             1      A. Okay. But -- I know. But I know that
 2       A. Yes, that's my understanding as someone        2   we then go back and re-mark it as confidential.
 3    who operates Bookshare.                              3   So I figured I'd just get it right out there right
 4       Q. And the copyright exception, we are now        4   now.
 5    talking about the Chafee Amendment?                  5           MR. KAPLAN: That's helpful for me. I
 6           MR. KAPLAN: Objection. Argumentative.         6   appreciate that, Jim.
 7    BY MR. HUDIS:                                        7           THE WITNESS: So I would say that
 8       Q. What did you mean by "copyright                8   different segments of the publishing industry
 9    exception"?                                          9   reacted differently. The trade publishers were
10       A. I'm not a lawyer, but it's my                 10   pretty open to it. They had a tradition of
11    understanding that there are multiple copyright     11   helping people with disabilities. The educational
12    exceptions that our work may be covered by.         12   publishers, especially those in higher ed, were
13       Q. Well, let's concentrate on the Chafee         13   much more concerned about Bookshare.
14    Amendment. All right.                               14   BY MR. HUDIS:
15       A. Okay.                                         15      Q. Any other groups that reacted to your
16       Q. So -- and that's what -- that's one of        16   initial concept of Bookshare?
17    the three rubrics under which Bookshare operates?   17           MR. KAPLAN: Objection. Still really
18           MR. KAPLAN: Objection. Vague.                18   vague. Lack of foundation. Calls for
19    Misstates testimony. Argumentative.                 19   speculation.
20           THE WITNESS: I agree that we actively        20           THE WITNESS: I'm -- I'm describing my
21    try to utilize the Chafee Amendment in our          21   interaction with the main publishing industry --
22    operations.                                         22   publisher association which, in my mind,
23    BY MR. HUDIS:                                       23   represents the interests of those stakeholders.
24       Q. All right. And Bookshare, under the           24   BY MR. HUDIS:
25    Chafee Amendment, is an authorized entity?          25      Q. All right. So you have --
                                                    130                                                       132
 1           MR. KAPLAN: Objection. Calls for a            1      A. So that was -- my interaction before the
 2    legal conclusion. Vague.                             2   launch of Bookshare with the publishing industry
 3           THE WITNESS: We believe that we qualify       3   was primarily through that group.
 4    as an authorized entity.                             4   BY MR. HUDIS:
 5    BY MR. HUDIS:                                        5      Q. And it was the trade and higher
 6       Q. And that you provide the content on            6   educational publishers?
 7    Bookshare's web site to people with qualifying       7      A. It was the Association of American
 8    disabilities?                                        8   Publishers, which has divisions of different
 9           MR. KAPLAN: Objection. Calls for a            9   segments of the publishing industry of which
10    legal conclusion. Vague.                            10   trade, higher education, K-12, scientific, I
11           THE WITNESS: Yes.                            11   think -- there's a lot of different segments, but
12    BY MR. HUDIS:                                       12   the ones that were most noteworthy in their
13       Q. When you founded Bookshare, did you           13   reaction were the postsecondary publishers as
14    inform the book publishers of your organization's   14   being less excited and the trade publishers being
15    intentions?                                         15   more "eh" -- sorry, I guess that's not a technical
16           MR. KAPLAN: Objection. Really vague.         16   term -- more "sounds reasonable."
17           THE WITNESS: Yes.                            17      Q. What concerns did the secondary
18    BY MR. HUDIS:                                       18   educational publishers relay to you?
19       Q. Okay. All right. At that time, how did        19          MR. KAPLAN: Objection. Vague.
20    the publishers react?                               20          THE WITNESS: The primary concern
21           MR. KAPLAN: Objection. Really vague.         21   expressed by the postsecondary publishers were
22           THE WITNESS: This is another                 22   that disabled students who obtained a copy of a
23    confidential segment.                               23   textbook from Bookshare might share that copy with
24    BY MR. HUDIS:                                       24   other nonqualifying students in an unauthorized
25       Q. Well, the whole thing is confidential.        25   manner.

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 1    BY MR. HUDIS:                                         1   BY MR. HUDIS:
 2       Q. What did you do to allay their concerns?        2      Q. All right. We'll do it one at a time.
 3           MR. KAPLAN: Objection.                         3      A. Okay. When users get a copyrighted work
 4    BY MR. HUDIS:                                         4   from Bookshare, it includes copyright and limited
 5       Q. If anything.                                    5   access notices, yes.
 6           MR. KAPLAN: Vague.                             6      Q. Are members of Bookshare obligated to
 7           THE WITNESS: We presented our                  7   sign an agreement to abide by copy -- copyright
 8    seven-point digital rights management plan to them    8   laws when accessing materials made available on
 9    as the overarching structure of our plans to meet     9   Bookshare's web site?
10    our obligations under the Chafee Amendment.          10          MR. KAPLAN: Objection. Vague. Lacks
11    BY MR. HUDIS:                                        11   foundation. Calls for a legal conclusion.
12       Q. Where are the digital files of the books       12   Incomplete hypothetical.
13    scanned for Bookshare stored?                        13          THE WITNESS: If a copyrighted work is
14           MR. KAPLAN: Objection. Vague. Lacks           14   downloaded from Bookshare, there needs to have
15    foundation.                                          15   been a responsible party signing an agreement with
16           THE WITNESS: At present, in Amazon            16   respect to that work. For example, a parent or
17    cloud services.                                      17   guardian has to sign an agreement on behalf of a
18    BY MR. HUDIS:                                        18   minor. A teacher or educator or school district
19       Q. How about back then, at the founding?          19   can sign on behalf of the students that they serve
20           MR. KAPLAN: Objection. Vague. Lacks           20   books to. But there always needs to be someone
21    foundation.                                          21   who has -- with the ability to make an agreement
22           THE WITNESS: We operated our own              22   who has taken on that obligation.
23    servers.                                             23   BY MR. HUDIS:
24    BY MR. HUDIS:                                        24      Q. Whether it is the person who is
25       Q. And were they secure?                          25   print-disabled him or herself or the responsible
                                                    134                                                         136
 1      A. Yes.                                             1   party on their behalf?
 2      Q. So they needed user name and password            2           MR. KAPLAN: Objection. Vague.
 3    protection?                                           3   Incomplete hypothetical.
 4          MR. KAPLAN: Objection. Argumentative.           4           THE WITNESS: Yes.
 5    Vague.                                                5   BY MR. HUDIS:
 6          THE WITNESS: In addition to other. So,          6      Q. What is Bookshare's fingerprint system?
 7    yes, user name and password, yes.                     7           MR. KAPLAN: Objection. Argumentative.
 8    BY MR. HUDIS:                                         8   Lacks foundation. Vague.
 9      Q. All right. And the content now that is           9           THE WITNESS: We incorporate
10    available on Amazon cloud, that is also secured      10   fingerprints into copyrighted works, including the
11    with user name and password protection?              11   name of the user or could be the name of the
12          MR. KAPLAN: Objection. Argumentative.          12   school district or teacher that downloads the
13    Vague.                                               13   work, and we also hide that identity in the work
14          THE WITNESS: At least that.                    14   itself in a way that's not easily seen by
15    BY MR. HUDIS:                                        15   inspection.
16      Q. And more?                                       16   BY MR. HUDIS:
17      A. And more.                                       17      Q. What is the purpose for the fingerprint
18      Q. All right. Do the digital files of the          18   system?
19    books made available on the Bookshare site have      19           MR. KAPLAN: Objection. Vague.
20    copyright and limited access notices on them?        20           THE WITNESS: If unauthorized copies
21          MR. KAPLAN: Objection. Vague. Lacks            21   appear, say, online, that we can trace back the
22    foundation. Calls for a legal conclusion. And        22   source user that downloaded that work originally
23    compound.                                            23   from Bookshare.
24          THE WITNESS: Yeah.                             24   BY MR. HUDIS:
25                                                         25      Q. And if you can trace them, you tell

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 1    them, You can't do that again or you're no longer     1      Q. So the actors in this context, to make
 2    going to be a member of Bookshare; is that            2   Counsel's question very clear, these are Benetech
 3    correct?                                              3   employees acting under the auspices of the
 4           MR. KAPLAN: Objection. Incomplete              4   Bookshare project?
 5    hypothetical. Vague. Lacks foundation.                5      A. Correct.
 6           THE WITNESS: We have a disciplinary            6      Q. All right. Once Bookshare makes textual
 7    process associated with that discovery, yes.          7   reading material available to its members in
 8    BY MR. HUDIS:                                         8   digital format, how do its members access the
 9       Q. And what is that disciplinary process?          9   material?
10       A. Typically, we reach out and say, We            10          MR. KAPLAN: Objection. Calls for
11    found a copyrighted work online that came from       11   speculation. Lacks foundation. Vague.
12    you, and do you know how it happened to get out      12   Incomplete hypothetical.
13    there? And most frequently, it's inadvertent.        13          THE WITNESS: Generally, they would use
14           The majority of the works have the plain      14   some form of assistive technology to access that
15    text name of the person who downloaded the book in   15   material.
16    the file still when we find it. So that tends to     16   BY MR. HUDIS:
17    be someone who doesn't understand how the Internet   17      Q. So let's take that assistive technology
18    works and uploaded a textbook to the school web      18   one at a time.
19    site so that their kid could get it easily, their    19          Could the person access the material
20    student, but didn't realize that Google could also   20   directly on Bookshare's web site?
21    index that site.                                     21          MR. KAPLAN: Objection. Incomplete
22           If a person seems to have tried to cover      22   hypothetical. Lacks foundation. Vague.
23    their tracks or delete the fingerprint or delete     23          THE WITNESS: Yes. Using the web
24    things or doesn't have a very good answer on how     24   reader, a person could access the content either
25    the work appeared, we discontinue services to that   25   using separate assistive technology running on top
                                                     138                                                       140
 1    individual. And we check in with the industry         1   of their web browser or intrinsic technology built
 2    association occasionally about that. And some         2   into the combination of our web site and the web
 3    large scale -- I think one large scale thing,         3   browser.
 4    where we had 50 works by a single publisher, we       4   BY MR. HUDIS:
 5    contacted the publisher.                              5      Q. Could the user download the file?
 6       Q. When you say "we," you're talking about         6          MR. KAPLAN: Objection. Vague.
 7    Bookshare?                                            7   Incomplete hypothetical. Lacks foundation.
 8       A. Bookshare, yes.                                 8          THE WITNESS: Yes, the user can download
 9       Q. Once Bookshare makes --                         9   the file.
10          MR. KAPLAN: So are you saying that             10   BY MR. HUDIS:
11    interchangeably with "Benetech"?                     11      Q. Could the user access the content using
12          MR. HUDIS: It's the Bookshare project          12   a Braille reader?
13    of Benetech as the witness testified.                13          MR. KAPLAN: Objection. Incomplete
14          THE WITNESS: Okay. So you want me to           14   hypothetical. Vague. Lacks foundation.
15    be clear between Benetech, the organization, and     15          THE WITNESS: A blind person could
16    Bookshare the project?                               16   transfer the file into a Braille note taker or, in
17          MR. KAPLAN: Yeah. The actor is --              17   some cases, download the file directly from their
18    BY MR. HUDIS:                                        18   Braille note taker into its memory and read it in
19       Q. Who is the actor in this context when          19   Braille.
20    you say "we"?                                        20   BY MR. HUDIS:
21       A. Well, Benetech employees. Benetech             21      Q. Could the user access the content
22    operates the project. I've not -- I've not --        22   through an MP3 player?
23    I've not been distinguishing between Bookshare and   23          MR. KAPLAN: Objection. Incomplete
24    Benetech. I've just been treating them sort of       24   hypothetical. Vague. Lacks foundation.
25    the same, even though --                             25          THE WITNESS: Yes. If they downloaded

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 1    the work in an MP3 format from the Bookshare web      1          MR. KAPLAN: I -- I consent.
 2    site, they could then transfer that into an MP3       2          THE WITNESS: All right.
 3    player and listen to it.                              3          THE VIDEOGRAPHER: Going off the record
 4    BY MR. HUDIS:                                         4   at 12:34.
 5       Q. Could the user access the content               5          (Whereupon, a lunch recess was taken.)
 6    through a smartphone?                                 6          (Whereupon, Deposition Exhibit 55 was
 7            MR. KAPLAN: Objection. Incomplete             7      marked for identification.)
 8    hypothetical. Vague. Lacks foundation.                8             AFTERNOON SESSION
 9            THE WITNESS: Yes. There's quite a             9          THE VIDEOGRAPHER: Back on the record at
10    number of ways that a user can use a smartphone to   10   1:08.
11    access the content.                                  11   BY MR. HUDIS:
12    BY MR. HUDIS:                                        12      Q. Mr. Fruchterman, I have marked a
13       Q. Using assisted -- assistive technology?        13   document as Exhibit 55. Please take a moment to
14       A. Yes.                                           14   just review the pages.
15            MR. KAPLAN: Objection. Vague.                15      A. Looks like a lot of screen shots from
16    BY MR. HUDIS:                                        16   our web site.
17       Q. All right. Could -- could the user             17      Q. Okay. And when you say "our web site,"
18    access the content through a digital tablet?         18   that's Bookshare's web site?
19            MR. KAPLAN: Objection. Incomplete            19      A. The Bookshare project web site.
20    hypothetical. Vague. Lacks foundation.               20      Q. And do you have any reason to doubt the
21            THE WITNESS: In similar ways to              21   authenticity of those pages on Exhibit 55?
22    smartphone, yes.                                     22          MR. KAPLAN: Objection. Calls for a
23    BY MR. HUDIS:                                        23   legal conclusion.
24       Q. And could the user access that content         24          THE WITNESS: Not on a quick inspection.
25    through a talking book?                              25          MR. HUDIS: Okay. Counsel can we
                                                     142                                                      144
 1           MR. KAPLAN: Objection. Incomplete              1   stipulate that Exhibit 55 comprises a business
 2    hypothetical. Vague. Lacks foundation.                2   record of Beneficent Technology, Inc.?
 3           THE WITNESS: Much of what we've been           3           MR. KAPLAN: Let me get back to you on
 4    described would be commonly described as a talking    4   that.
 5    book, so I'm not sure what a separate talking book    5           MR. HUDIS: Okay.
 6    might be.                                             6           THE VIDEOGRAPHER: Mr. Kaplan, your mike
 7    BY MR. HUDIS:                                         7   is not --
 8       Q. It's usually a combination of hardware          8           MR. KAPLAN: Oh, apologies.
 9    and software that is not a digital tablet, not a      9           Let me get back to you about that.
10    smartphone, not an MP3 player.                       10           MR. HUDIS: Okay. I'll tell you what,
11           You used -- one example was a Braille         11   I'll ask Mr. Fruchterman questions about the
12    reader or a Braille note taker. So I'm talking       12   exhibit, and then when I'm done with the exhibit,
13    about a talking book being a technology other than   13   then I can address it then. If you can't, I'll
14    the other -- others that I've listed in this         14   ask him the foundation questions.
15    series of questions.                                 15       Q. Okay. So, Mr. Fruchterman --
16       A. Okay.                                          16       A. Yes.
17           MR. KAPLAN: Objection. Vague.                 17       Q. -- so I've numbered the pages so that we
18    Incomplete hypothetical. Lacks foundation.           18   can get a clear transcript. You'll see them in
19           THE WITNESS: There are dedicated              19   the lower right-hand corner.
20    eBook readers that have their own text-to-speech     20       A. Okay.
21    that would be able to make a -- one of our works     21       Q. All right. So the page 1 of Exhibit 55,
22    talk, in addition to the other ways we've            22   that's the help page of the Bookshare web site?
23    discussed.                                           23       A. Looks like it.
24           MR. HUDIS: Counsel, I think we should         24       Q. Okay. Let's turn to page 2 of
25    take a break here.                                   25   Exhibit 55. I want to read for you -- read to you

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 1    a few passages.                                     1          MR. KAPLAN: Objection. Lacks
 2              "Bookshare is the world's                 2   foundation.
 3          largest accessible online library             3          THE WITNESS: Okay. I will pause and
 4          for people with print                         4   try to divine what that might be, so ...
 5          disabilities."                                5          There are at least 40 assistive
 6            You would agree with that?                  6   technology products that support access to
 7       A. Yes.                                          7   Bookshare as well as other production means that
 8       Q. And then in the next paragraph it says:       8   you could imagine. So I'm sure that there are
 9              "Bookshare is a global                    9   other accessible media that are created that don't
10          literacy initiative of Benetech, a           10   precisely align with the list here. For example,
11          leading Silicon Valley based                 11   tactile graphics is not mentioned here, and yet we
12          nonprofit technology company                 12   work on tactile graphics.
13          founded by Jim Fruchterman."                 13   BY MR. HUDIS:
14            You would agree with that?                 14      Q. Like Braille?
15       A. Yes.                                         15      A. Tactile graphics are not Braille. But
16       Q. And then dropping down two paragraphs,       16   let's say the Pythagorean theorem, you would be
17    it says:                                           17   able to feel a triangle. It wouldn't be Braille,
18              "Bookshare operates in the               18   but would be tactile.
19          U.S. under a copyright exemption,            19          You might produce a book that has print
20          the Chafee Amendment, which grants           20   and Braille on it. But I would say that, you
21          nonprofit organizations the                  21   know, these descriptions describe the majority of
22          ability to make books available to           22   ways that people interact with Bookshare books.
23          people with print disabilities               23      Q. Who are print-disabled?
24          without publisher permission."               24      A. Correct.
25            You'd agree with that?                     25      Q. Let's turn to page 4 of Exhibit 55.
                                                   146                                                         148
 1       A. I agree that that's a layman's                1           Under the title "Sign-up and Read," it
 2    description of what we do, yes.                     2   says:
 3       Q. Let's turn to page 3 of Exhibit 55.           3            "Get started with Bookshare.
 4           In the third paragraph it says:              4        In this section you will sign up
 5             "Our books are accessible" --              5        and learn how to read your first
 6           There's that word "accessible" again.        6        book."
 7       A. Mh-hmm.                                       7      A. Mh-hmm.
 8       Q.     -- "which means you can read              8     Q. So my question is from this passage,
 9         our books many different ways."                9   does a Bookshare user have to sign up as a member
10           Now, next to the picture of the children    10   before accessing the materials made available on
11    in the classroom, it says:                         11   the Bookshare site?
12             "How can you read Bookshare               12      A. No.
13         books?"                                       13     Q. In what instance would a user not sign
14           Do you see that?                            14   up as a member before accessing the materials on
15       A. Mh-hmm.                                      15   Bookshare's site?
16       Q. Is that the ways that the books on           16      A. If they wanted to access public domain
17    Bookshare's web site are accessible?               17   or creative commons licensed works, there is no
18           MR. KAPLAN: Objection. Vague.               18   requirement that they sign up.
19           THE WITNESS: That are -- that are some      19     Q. So the only sign-up is if it's
20    of the ways, yes.                                  20   copyrighted material?
21    BY MR. HUDIS:                                      21      A. That would be the primary reason you
22       Q. Now, at the bottom of that list it says,     22   would sign up, would be to access copyrighted
23    "And more."                                        23   material.
24           What does "and more" mean in this           24     Q. Let's turn to page 5 of Exhibit 55. It
25    context?                                           25   says:

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 1             "Learn who can join. In                      1          MR. KAPLAN: Counsel, is there a reason
 2         order for you to become a                        2   you're omitting the full text of that sentence?
 3         Bookshare member, an expert must                 3          MR. HUDIS: Yeah. Because I don't want
 4         confirm that you have a print                    4   to clutter -- I can read the whole text.
 5         disability that prevents you from                5          THE WITNESS: Yeah. Subject to the
 6         reading traditional print                        6   qualification in that sentence, yes.
 7         materials."                                      7   BY MR. HUDIS:
 8          I'm skipping the rest of that paragraph         8      Q. Okay. All right. So I'll read the
 9    and going to the second paragraph.                    9   whole thing.
10             "People with hearing loss,                  10            "A person with a physical
11         autism, attention deficit                       11        disability who is unable to read
12         hyperactivity disorder (ADHD) or                12        standard print qualifies for
13         emotion or intellectual                         13        Bookshare as long as a competent
14         disabilities or whose first                     14        authority confirms that the
15         language is not English generally               15        physical disability significantly
16         do not qualify based upon those                 16        interferes with reading."
17         criteria unless they have a                     17          Do you agree with that?
18         qualifying vision, physical or                  18      A. Yes.
19         learning disability."                           19      Q. All right. Next on that page:
20          MR. KAPLAN: You missed an "also."              20            "A person with a learning
21          MR. HUDIS: Thank you.                          21        disability qualifies for Bookshare
22             "Unless they also have a                    22        as long as a competent authority
23         qualifying, vision or learning                  23        confirms that the learning
24         disability."                                    24        disability significantly
25      Q. Are these qualifications for one to             25        interferes with reading."
                                                     150                                                       152
 1    become a Bookshare member?                            1          Do you agree with that?
 2           MR. KAPLAN: Objection. Vague.                  2      A. Yes.
 3    BY MR. HUDIS:                                         3      Q. All right. Does each one of these print
 4       Q. All right. I'll ask it a different way.         4   disabilities have to be confirmed by a competent
 5           To be a Bookshare member, do you have to       5   authority?
 6    have a qualifying vision, physical or learning        6          MR. KAPLAN: Objection. Vague.
 7    disability?                                           7   Incomplete hypothetical.
 8       A. Yes.                                            8          THE WITNESS: Not in general. But for
 9       Q. Let's turn to page 6 of Exhibit 55. And         9   Bookshare membership, yes.
10    there are some definitions and examples of people    10   BY MR. HUDIS:
11    who are low-vision blindness, physical               11      Q. Does this page, page 6 of Exhibit 55,
12    disabilities and learning disabilities. So it        12   identify the types of competent authorities who
13    says here at the top:                                13   may confirm the vision and disabilities of
14             "A person who is blind or who               14   potential Bookshare members?
15         has low vision and who is unable                15          MR. KAPLAN: Objection. Vague.
16         to read standard print qualifies                16   Misstates the document.
17         for Bookshare."                                 17          THE WITNESS: This is not a
18           You agree with that?                          18   comprehensive list. It's a representative list of
19       A. Yes.                                           19   examples of people who are competent authorities.
20       Q. Next:                                          20   I can imagine that there are other professional
21             "A person with a physical                   21   credentials that would also be recognized by us as
22         disability who is unable to read                22   a competent authority.
23         standard print qualifies for                    23   BY MR. HUDIS:
24         Bookshare."                                     24      Q. So this is a representative list of
25           Do you agree with that?                       25   competent authorities?

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 1       A. Yeah. That's why it says "examples of."        1   stating this. The number could be 97 percent.
 2       Q. Let's turn to page 7 of Exhibit 55.            2   And -- but, yeah, it's designed to get -- to have
 3             "If you are legally blind,                  3   most people realize that you actually have to have
 4         you qualify. In addition, if you                4   a real disability that affects reading before you
 5         don't meet the legal blindness                  5   can qualify for Bookshare to access copyrighted
 6         standard, a functional vision                   6   material.
 7         assessment that indicates a                     7      Q. Let's turn to page 10 of Exhibit 55.
 8         significant problem accessing text              8   I'm focusing on the second sentence of that
 9         is also acceptable."                            9   paragraph.
10           Does this statement accurately summarize     10            "If you are certifying
11    who may become a Bookshare member?                  11        someone who has a physically based
12       A. Not --                                        12        disability (including dyslexia)
13           MR. KAPLAN: Objection. Vague.                13        that makes it difficult to read
14           THE WITNESS: Not generally. But in the       14        standard print effectively, he or
15    area of a person who has a vision impairment who    15        she should meet the technical
16    wants to become a Bookshare member, they would      16        requirements and you should be
17    either have to be completely blind, legally blind   17        able to confirm this in writing if
18    or have a functional vision problem. But other      18        your professional expertise is
19    people could qualify that don't have any of those   19        applicable to such a
20    issues.                                             20        determination."
21    BY MR. HUDIS:                                       21         What's the intent of that sentence,
22       Q. And let's explore who those people are.       22   Mr. Fruchterman?
23           Turn to page 8 of Exhibit 55.                23         MR. KAPLAN: Objection. Lacks
24             "If you cannot pick up a                   24   foundation. Vague.
25         book, turn pages, maintain visual              25         THE WITNESS: So we're in a section
                                                    154                                                        156
 1          focus on a book or do not have the             1   that's essentially frequently asked questions, and
 2          physical stamina to work with                  2   we're trying to provide answers. And we're trying
 3          printed material, you most likely              3   to describe that if you're a professional with
 4          qualify for Bookshare membership."             4   some professional competence that allows you to
 5            Does this statement also accurately          5   make this assessment, if someone has a disability
 6    summarize who may become a Bookshare member?         6   that gets in the way of them reading, you should
 7            MR. KAPLAN: Objection. Vague.                7   be able to sign the form saying that they have a
 8            THE WITNESS: Yes, as phrased here.           8   qualifying disability.
 9    BY MR. HUDIS:                                        9   BY MR. HUDIS:
10       Q. Let's turn to page 9 of Exhibit 55.           10      Q. Let's turn to page 11 of Exhibit 55. At
11       A. Mh-hmm. Under "So who doesn't qualify,"       11   the top of the page, it says:
12    it says:                                            12            "Bookshare is a nonprofit
13             "The 98 percent of the                     13         entity established with a
14          population who can pick up a book             14         principal purpose of helping
15          and read it or could if they                  15         people with disabilities. It
16          learned to read."                             16         would very much like to see more
17       Q. I'm focusing on just this statement.          17         people with disabilities,
18    Does this page accurately summarize who can be --   18         including more students, benefit
19    who cannot become a Bookshare member?               19         from our services. However, we
20            MR. KAPLAN: Objection. Vague.               20         are bound first by copyright law
21            You're asking about the entire page?        21         and, when it comes to serving
22            THE WITNESS: Or just that one sentence?     22         students, special education law."
23    BY MR. HUDIS:                                       23          What does this mean?
24       Q. Just that one sentence.                       24          MR. KAPLAN: Objection. Vague. Lacks
25       A. That one sentence is an informal way of       25   foundation.

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                                                     157                                                       159
 1    BY MR. HUDIS:                                         1          Do you agree with this?
 2        Q. I'll ask it a different way.                   2      A. Well, it looks like that extra clause,
 3           What was the intent of this text that I        3   "the copyright law exemption," is a typo that
 4    just read?                                            4   needs to be deleted since it doesn't seem to be
 5           MR. KAPLAN: Objection. Vague. Lacks            5   part of the sentence.
 6    foundation.                                           6          But excluding that clause --
 7           THE WITNESS: This is in a frequently           7      Q. Right.
 8    asked questions area, and the question being asked    8      A. -- I would say that I agree with this.
 9    is:                                                   9      Q. So I'd like to skip down two paragraphs,
10             "Why doesn't Bookshare follow               10   to the next passage I'd like to read to you.
11          special education law in                       11            "This copyright law exemption
12          determining eligibility for                    12        is a social bargain which tries to
13          services?"                                     13        balance the needs of people who
14           The reason we get that question is some       14        are unable to read normal print
15    people say, My student's in special ed. Why don't    15        with the economic rights of
16    they get Bookshare?                                  16        publishers and authors. It is not
17           And the answer is some students who are       17        simply based on who might benefit
18    in special ed don't meet the requirement of the      18        from access to accessible
19    copyright exception.                                 19        materials. It restricts the
20    BY MR. HUDIS:                                        20        exemption to a group of people who
21        Q. That's the Chafee Amendment.                  21        are assumed to not be able to
22        A. That's the Chafee Amendment.                  22        access regular print materials
23           And some of those students might              23        because of a severe disability.
24    actually benefit from our services, but we -- when   24        Publishers and authors do not
25    we're dealing with special ed students, we're --     25        receive a royalty under this
                                                     158                                                       160
 1    we're bound by actually multiple legal regimes,       1        copyright exemption, so they have
 2    and we have to operate at the intersection of         2        an economic interest in ensuring
 3    those.                                                3        it stays narrowly focused on the
 4       Q. Which brings me to the next passage on          4        2 percent of the population who
 5    this page that I'd like to read to you, in the        5        cannot read standard print."
 6    second paragraph.                                     6          Do you agree with this passage?
 7              "The standards set in the                   7          MR. KAPLAN: Objection. Vague.
 8          U.S. copyright laws which permit                8          THE WITNESS: As an informal expression
 9          copying and distribution of these               9   of how we operate, yes.
10          copyrighted materials apply only               10          MR. KAPLAN: They didn't make this
11          to certain specified groups of                 11   exhibit very print accessible.
12          people. Bookshare qualifies under              12          THE WITNESS: I'm -- I'm trying to
13          the Chafee Amendment, 17 United                13   magnify it now.
14          States Code Section 121, to                    14   BY MR. HUDIS:
15          provide such services which                    15      Q. Let's turn to page 12 of Exhibit 55.
16          would" -- "which would otherwise               16      A. Okay.
17          be copyright infringement. Thus,               17      Q. Before, Mr. Fruchterman, we were talking
18          Bookshare does not set the rules               18   about membership costs -- do you remember that? --
19          for qualification. It is very                  19      A. Yes.
20          important that Bookshare respect               20      Q. -- to join Bookshare.
21          these rules to ensure we can                   21          So it says here:
22          continue to serve people with the              22            "U.S. students free and other
23          most significant disabilities when             23        individuals $50 annual and a $25
24          it comes to reading print. The                 24        setup."
25          copyright law exemption."                      25          Is that still the normal individual cost

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                                                     161                                                      163
 1    to become a member of Bookshare?                      1        must log in to use this page or
 2       A. If you're in wealthy countries and don't        2        sign up for a Bookshare account."
 3    have a third party paying for your service, or        3          My question, Mr. Fruchterman, is there a
 4    we've comp'ed you for some reason on a very           4   log-in requirement to access Bookshare as a
 5    limited basis, I think that's accurate.               5   member?
 6       Q. Okay.                                           6          MR. KAPLAN: Objection. Vague.
 7          MR. KAPLAN: Counsel, actually, I have a         7          THE WITNESS: If a person wishes to
 8    question that goes to the stipulation.                8   download copyrighted materials, they need to have
 9          When was this document created? When            9   a Bookshare account and have supplied proof of
10    did your office create this based on -- when did     10   disability and have paid the fee if applicable.
11    you visit the Benetech web site to create this       11   BY MR. HUDIS:
12    document?                                            12      Q. And once you've done all of that, do you
13          MR. HUDIS: We're in August? September?         13   get a user name and password?
14          MR. KAPLAN: September.                         14      A. Yes. You tend to use your e-mail plus a
15          MR. HUDIS: August.                             15   password, yes.
16          MR. KAPLAN: Okay. And is this a screen         16      Q. Could we turn to page 15, of Exhibit 55.
17    shot or a PDF? How was it created?                   17      A. Okay.
18          MR. HUDIS: What's the program we use?          18      Q. So the first paragraph:
19          MS. CAPPAERT: We use?                          19            "Bookshare is a Benetech
20          MR. HUDIS: Yeah.                               20        initiative. Benetech operates
21          MS. CAPPAERT: Snagit.                          21        Bookshare under an exception to
22          MR. HUDIS: Snagit. These are Snagit            22        copyright law called the Chafee
23    shots. Thank you.                                    23        Amendment, 17 United States Code
24          MR. KAPLAN: Okay.                              24        Section 121, which makes Bookshare
25          MR. HUDIS: So that was the software we         25        legally possible in the U.S. The
                                                     162                                                      164
 1    used to do these captures.                            1        Chafee Amendment allows us to
 2      Q. Now, if an organization were to join             2        provide copyrighted digital books
 3    Bookshare, your schools could be joining for free,    3        as long as they are available only
 4    and then other organizations -- how is this charge    4        to people with bona fide print
 5    rendered on 6 to $10 per book?                        5        disabilities. The Bookshare site
 6           MR. KAPLAN: Objection. Vague.                  6        does not provide access to
 7           THE WITNESS: So organizations can buy,         7        copyrighted works for the general
 8    essentially, a package of downloads. And I think      8        public."
 9    that if you pay $300, you can download 30 titles,     9         Do you agree with this statement?
10    30 books. So that would be a fee associated with     10         MR. KAPLAN: Objection. Vague.
11    getting a group of books. So instead of buying a     11         THE WITNESS: Yes.
12    subscription for each student, you can just get a    12   BY MR. HUDIS:
13    package of books.                                    13     Q. All right. The next paragraph says --
14    BY MR. HUDIS:                                        14   and I'm not reading the whole thing.
15      Q. And this -- and on page 12, it's                15            "Although the requirements of
16    describing that package?                             16        the copyright law exception are
17      A. It has a link --                                17        clear, Benetech has gone beyond
18           MR. KAPLAN: Objection. Vague.                 18        these requirements to ensure broad
19           THE WITNESS: Yeah. It has a link to           19        support for the project. We have
20    where those things are described, but it doesn't     20        been working for more than a
21    actually describe those packages on this page.       21        decade with the Association of
22    BY MR. HUDIS:                                        22        American Publishers, the main
23      Q. Let's turn to page 13 of Exhibit 55. It         23        American industry group, to
24    says:                                                24        address publishers' concerns about
25             "Welcome to Bookshare. You                  25        the design of the service."

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 1           In what ways, Mr. Fruchterman, did you         1   back to their members and talk to them. So it's
 2    work with the Association of American Publishers      2   an efficiency mechanism.
 3    to address their concerns about the design of         3          But there is a difference between things
 4    Bookshare?                                            4   we just do and things we've explicitly conversed
 5           MR. KAPLAN: Objection. Vague.                  5   with them and maybe made changes as a result of
 6    Argumentative. Lacks foundation.                      6   that conversation.
 7           THE WITNESS: This is another                   7      Q. So what I'm concerned about is how you
 8    confidential segment.                                 8   worked with the American -- with the Association
 9           We had the meeting that we discussed in        9   of American Publishers to make them comfortable
10    prior testimony with the AAP roughly a year before   10   that the Bookshare site would not be subject to
11    the launch of Bookshare. As part of that meeting,    11   abuse.
12    we made various agreements around engaging the       12          MR. KAPLAN: Objection. Was there a
13    publishing industry. Agreements that still hold      13   question?
14    today include not surprising their general           14          MR. HUDIS: Yes. I'll phrase it a
15    counsel.                                             15   different way.
16           So any significant policy changes or          16      Q. In what ways did you work with the
17    changes to our legal agreements, we give the         17   Association of American Publishers to ensure
18    counsel for the association an early copy of those   18   that -- to make them comfortable that the
19    and allow them to comment.                           19   Bookshare site would not be the subject of abuse?
20           I think -- I think, in general, checking      20   That people in the sighted community would not be
21    in with them before we make major changes to the     21   able to download their content without permission,
22    service is the number one way. But over the          22   without compensation?
23    years, we've made quite a number of changes or       23          MR. KAPLAN: Objection. Argumentative.
24    accommodations based on those conversations.         24   Vague.
25                                                         25          THE WITNESS: Okay. So we're now in a
                                                     166                                                       168
 1    BY MR. HUDIS:                                         1   much narrower area, and I'd say the
 2       Q. And that would include what we talked           2   representations in our seven-point digital rights
 3    about earlier; that's the storage of the content      3   management plan were the primary mechanism that we
 4    on your service -- on your servers or, more           4   dealt with that particular concern of the
 5    recently, the Amazon cloud --                         5   publishing industry.
 6           MR. KAPLAN: Objection.                         6   BY MR. HUDIS:
 7    BY MR. HUDIS:                                         7     Q. Okay. The last sentence on that page,
 8       Q. -- in a secure manner?                          8   page 15 of Exhibit 55, it says:
 9           MR. KAPLAN: Objection. Misstates               9           "With the extensive input
10    testimony. Vague.                                    10        from consumers, authors,
11           THE WITNESS: I would differentiate            11        publishers and leading
12    between things that are just the way we operate      12        organizations, we have created a
13    the service and representations or changes we've     13        model for Bookshare that can be
14    made in conversations with the publishers.           14        supported by a broad array of
15           There are many, many things where we          15        interests."
16    simply say, We're doing it this way, and -- they     16         What model is this passage talking
17    don't -- the association doesn't have any ability    17   about?
18    to approve of our activities. It's not their         18         MR. KAPLAN: Objection. Lacks
19    place, as it were.                                   19   foundation.
20    BY MR. HUDIS:                                        20         THE WITNESS: The Bookshare operational
21       Q. Right.                                         21   model.
22       A. They're simply a way to effectively            22   BY MR. HUDIS:
23    converse with the industry association and with      23     Q. How would you describe the Bookshare
24    the industry. And if they see an issue that they     24   operational model?
25    think their members want to hear about, they'll go   25     A. A package of technologies and policies

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 1    and legal agreements and product features and -- I    1   BY MR. HUDIS:
 2    mean, you know, it's a -- these things combined       2      Q. If we could go to page 17 of Exhibit 55.
 3    create a service that delivers a value to people      3          What is the purpose of this page on
 4    with disabilities in a way that gets support from     4   Bookshare's web site?
 5    these different stakeholders.                         5          MR. KAPLAN: Objection. Vague. Lacks
 6      Q. Including the publishing industry?               6   foundation.
 7      A. Yes.                                             7          THE WITNESS: This is part of our,
 8      Q. Could we turn to page 16 of Exhibit 55.          8   essentially, frequently asked questions, and it's
 9           Under copyright information, it says:          9   entitled "Digital Millennium Copyright Act."
10             "Bookshare is an online                     10          And so as a -- and I'm not a lawyer, but
11         library that provides accessible                11   my understanding is is someone who provides access
12         eBooks to people with print                     12   to copyrighted material online, we are required to
13         disabilities. Bookshare meets the               13   have a DMCA agent to accept notices that there is
14         requirements of the Chafee                      14   content on our web site that infringes the
15         Amendment which permits an                      15   copyright of others.
16         authorized entity like Benetech to              16          We frequently get DMCA notices from
17         make books available to people                  17   authors or their agents or publishers saying, We
18         with print disabilities provided                18   searched the web. This copyright work is on your
19         that copies may not be reproduced               19   web site. Take it down.
20         or distributed in a format other                20          And this is both explaining the DMCA
21         than a specialized format                       21   notice process at some level, as well as the, more
22         exclusively for use by blind or                 22   or less, if you don't know what the Chafee
23         other persons with disabilities.                23   Amendment is, you should look it up because we're
24         Must bear a notice that any                     24   allowed to have it.
25         further reproduction or                         25          But I'm summarizing this in very direct
                                                     170                                                       172
 1         distribution in a format other                   1   terms, because it's very rare for someone to issue
 2         than a specialized format is an                  2   us a DMCA notice that results in us actually
 3         infringement. Must include a                     3   taking down the work because it's usually legally
 4         copyright notice identifying the                 4   permitted under the copyright amendment.
 5         copyright owner and the date of                  5   BY MR. HUDIS:
 6         the original publication.                        6      Q. The Chafee Amendment to the copyright?
 7         'Specialized formats' means                      7      A. The Chafee Amendment. Or often a
 8         Braille, audio or digital text                   8   license from the author's publisher who gave us
 9         which is exclusively intended for                9   the content, but the author and their agent
10         use by blind or other persons with              10   weren't aware this was one of the nice things that
11         disabilities."                                  11   their publisher did for their entire catalog of
12           All right. So I've read this passage,         12   books, not just that author.
13    Mr. Fruchterman.                                     13      Q. Mr. Fruchterman, could we turn to page
14       A. Right.                                         14   18 of Exhibit 55.
15       Q. Does this accurately describe the              15         Is this text on page 18 Bookshare's
16    overall way that Benetech makes reading materials    16   digital rights plan -- digital rights management
17    available to its members?                            17   plan?
18           MR. KAPLAN: Objection. Vague.                 18      A. This is the current or, let's just say,
19    Misleading.                                          19   last month's current -- but I don't believe it's
20           THE WITNESS: I think that these bullet        20   changed since last month -- version of our
21    points that you just read recapitulate the           21   seven-point digital rights management plan that we
22    provisions of the Chafee Amendment, which is the     22   have discussed earlier.
23    primary copyright exception that we use for making   23      Q. And what was the purpose of Bookshare
24    copyright material to people with qualifying         24   implementing this DRM plan?
25    disabilities inside the United States.               25         MR. KAPLAN: Objection. Vague. Lacks

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 1    foundation.                                           1   conditions of our -- of our -- of our agreement,
 2            THE WITNESS: I would say that the             2   of our Bookshare individual membership agreement.
 3    purpose of this was to represent to the               3   BY MR. HUDIS:
 4    intellectual property industry, especially            4      Q. And if you could turn to page 20 of
 5    publishers, that we were intending to follow the      5   Exhibit 55. Are those the terms and conditions of
 6    law when it came to use of these materials. So it     6   the -- of the Bookshare web site?
 7    was created for that original conversation we had     7      A. It appears to be our standard Bookshare
 8    with the publishing industry quite a number of        8   membership agreement of a recent date.
 9    years ago.                                            9          MR. HUDIS: Counsel, same request. Can
10    BY MR. HUDIS:                                        10   we stipulate this is a business record of
11       Q. And when you say "these materials,"            11   Benetech?
12    that's the copyrighted materials on the Bookshare    12          MR. KAPLAN: Subject to your
13    web site?                                            13   representation that this is -- each page
14            MR. KAPLAN: Objection. Misstates             14   represents a complete Snagit screen shot of a
15    testimony.                                           15   particular web site or web page of the Benetech
16            THE WITNESS: Yes.                            16   web site, I believe so.
17    BY MR. HUDIS:                                        17          But can we go off the record for just a
18       Q. Could we turn to page 19.                      18   second?
19       A. Mh-hmm.                                        19          MR. HUDIS: Yes. I consent. We can go
20       Q. What's the purpose of this sign-up page?       20   off the record.
21    That's page 19 of Exhibit 55.                        21          THE VIDEOGRAPHER: Okay. Going off the
22            MR. KAPLAN: Objection. Vague. Lacks          22   record at 1:43.
23    foundation.                                          23          (Discussion held off record.)
24            THE WITNESS: This is a screen shot that      24          THE VIDEOGRAPHER: Back on the record at
25    appears to be of the individual sign-up for          25   1:43.
                                                     174                                                       176
 1    Bookshare that is collecting data about a             1          MR. KAPLAN: So subject to Counsel's
 2    potential user in order to start the process of       2   representation regarding the contents of this
 3    becoming a Bookshare member.                          3   exhibit, we stipulate to its authenticity as
 4    BY MR. HUDIS:                                         4   select web pages from the Benetech web site.
 5       Q. And at the bottom it says -- it has a           5          MR. HUDIS: All right. Now, that's the
 6    check box, and then you would sign your name or       6   authenticity. What about business record? That
 7    its equivalent.                                       7   was what I was concerned about. You stipulated to
 8           Do you see at the bottom?                      8   the authenticity. We do have -- I do --
 9       A. Yes.                                            9          MR. KAPLAN: You want a stipulation that
10       Q. And by doing so you're agreeing to the         10   the statements in here are not hearsay for the
11    terms and conditions of the Bookshare web site.      11   purpose of --
12           Do you see that?                              12          MR. HUDIS: For what they contain.
13           MR. KAPLAN: Objection. Is the -- the          13          MR. KAPLAN: I don't believe we can
14    question is whether or not he sees that check box?   14   stipulate that -- to that because, as far as I
15           MR. HUDIS: Counsel, good.                     15   know, we don't represent Benetech.
16       Q. Is the purpose of this check box to have       16   BY MR. HUDIS:
17    the user acknowledge that he or she is agreeing to   17      Q. All right. So if you could -- if,
18    the terms and conditions of the Bookshare web        18   Mr. Fruchterman, you could put Exhibit 55 back in
19    site?                                                19   front of you.
20           MR. KAPLAN: Objection. Vague. Lacks           20      A. Yes.
21    foundation.                                          21      Q. All right. So the pages on Exhibit 55,
22           MR. HUDIS: Thank you, Counsel.                22   I'm going to represent to you that they are Snagit
23           THE WITNESS: Yes. I believe that that         23   screen shots of the Bookshare web site.
24    check box and the filling in of your name            24          So my question is are these pages items
25    indicates that you're agreeing to the terms and      25   of data compilations made by Benetech?

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                                                    177                                                   179
 1      A.     You used a term of --                       1          THE WITNESS: We maintain the web site
 2      Q.    Term of art.                                 2   that serves these pages up, yes.
 3      A.     -- that I don't know.                       3   BY MR. HUDIS:
 4      Q.    Okay. This is -- all right.                  4      Q. And is it a regular practice of Benetech
 5           Is this content on Exhibit 55 content         5   to create web pages of the type shown in
 6    that was created by Benetech and its employees?      6   Exhibit 55?
 7           MR. KAPLAN: Objection. Vague.                 7          MR. KAPLAN: Objection. Vague. Lacks
 8           THE WITNESS: We also had the assistance       8   foundation. Calls for a legal conclusion.
 9    of counsel in creating some of this material,        9          THE WITNESS: As far as I know, yes.
10    and --                                              10          Should I have my general counsel here
11    BY MR. HUDIS:                                       11   for this part? Okay. All right.
12       Q. That person would count as an employee        12          MR. HUDIS: In my opinion, no. How's
13    of Benetech.                                        13   that?
14           (Reporter interruption.)                     14          MR. KAPLAN: If you want to discuss it,
15           THE WITNESS: No.                             15   we should discuss it.
16    BY MR. HUDIS:                                       16          THE WITNESS: Let's see where else we go
17       Q. No? All right.                                17   with this.
18       A. I mean, we use --                             18          MR. HUDIS: We're done with this
19           MR. KAPLAN: Maybe.                           19   exhibit, so ...
20           THE WITNESS: -- pro bono counsel --          20          THE WITNESS: Great.
21           (Reporter interruption.)                     21          MR. HUDIS: All right.
22    BY MR. HUDIS:                                       22          (Whereupon, Deposition Exhibit 56 was
23       Q. One person. Okay.                             23      marked for identification.)
24       A. Please frame a --                             24          THE WITNESS: Okay.
25       Q. Better question?                              25
                                                    178                                                   180
 1       A. Yes, please.                                   1   BY MR. HUDIS:
 2       Q. Okay. So with the assistance of                2     Q. Mr. Fruchterman, I show you what's been
 3    counsel, was the content of Exhibit 55 created by    3   marked as Exhibit 56.
 4    employees of Benetech?                               4         Do you recognize the document?
 5           MR. KAPLAN: Objection. Lacks                  5     A. Yes. It's an article I coauthored a
 6    foundation. Vague.                                   6   dozen years ago.
 7           THE WITNESS: The content that we              7     Q. You coauthored that with Alison Lingane?
 8    reviewed in Exhibit 55 was created by employees,     8     A. Correct.
 9    contractors, pro bono counsel, paid counsel, of      9     Q. At the bottom of the first page of
10    Benetech. I believe that's a comprehensive list     10   Exhibit 56, it says:
11    of the people who helped created this content.      11           "The essence of the social
12    BY MR. HUDIS:                                       12        bargain between publishers and the
13       Q. Was the content created for the web           13        disability community was to
14    pages of Exhibit 55 made in the regular course of   14        provide easier access to people
15    Benetech's business?                                15        with disabilities while protecting
16           MR. KAPLAN: Objection. Vague. Calls          16        the economic interests of
17    for a legal conclusion. Lacks foundation.           17        publishers. Chafee" --
18           THE WITNESS: In the common                   18         I gather that means Chafee Amendment?
19    understanding of what that would mean, yes.         19     A. Correct.
20    BY MR. HUDIS:                                       20     Q.      "Chafee was drawn narrowly to
21       Q. All right. Was the content on                 21        seal this bargain."
22    Exhibit 55 kept by Benetech in the regular course   22         Do you still agree with this passage?
23    of its business?                                    23     A. I do, though I was not present when the
24           MR. KAPLAN: Objection. Vague. Calls          24   Chafee Amendment was passed.
25    for a legal conclusion. Lacks foundation.           25     Q. If we could turn to page 2 of

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                                                    181                                                       183
 1    Exhibit 56. At the top it says:                      1     A. Yes.
 2              "It is of course extremely                 2     Q. I draw your attention to the second full
 3           important that organizations                  3   paragraph. It says, "Even with Chafee."
 4           operating under Chafee do so with             4         Are you following me?
 5           the utmost integrity and with" --             5     A. No.
 6           "and within the strict letter of              6     Q. Okay.
 7           the law to protect this important             7     A. So what page are we on again?
 8           amendment that has provided such a            8     Q. Three.
 9           big leap forward for access."                 9     A. Okay. All right. All right.
10            Do you still agree with this passage?       10         MR. HUDIS: Thank you. Thank you,
11            MR. KAPLAN: Objection. Vague.               11   Counsel. Appreciate it.
12            THE WITNESS: Yes.                           12     Q. It says, in the second sentence of that
13    BY MR. HUDIS:                                       13   paragraph:
14        Q. I'd like you to drop down under the          14           "Working with publishers
15    title "How Has Chafee Affected Education," to the   15       directly (individually or legally
16    second paragraph. And then it -- and in the         16       mandated as with the IMAA) to
17    second sentence of that paragraph it says:          17       create a secure distribution
18              "The Chafee definition of                 18       system to qualifying individuals
19           entities authorized to make                  19       from original digital files would
20           accessible books is a nonprofit              20       save work for everybody, while at
21           organization or a governmental               21       the same time make access by
22           agency that has a primary mission            22       people with disabilities faster,
23           to provide specialized services              23       higher quality, and more
24           relating to training, education or           24       comprehensive."
25           adaptive reading or information,             25         First of all, do you still agree with
                                                    182                                                       184
 1          access needs of blind or other                 1   this?
 2          persons with disabilities."                    2         MR. KAPLAN: Objection. Vague.
 3           Do you still agree with that?                 3         THE WITNESS: This is a very dated
 4           MR. KAPLAN: Objection. Vague.                 4   document.
 5           THE WITNESS: Yes. That's an informal          5   BY MR. HUDIS:
 6    summary of the requirements of the Chafee            6     Q. Okay.
 7    Amendment.                                           7     A. And I would say that this was making the
 8    BY MR. HUDIS:                                        8   case for Bookshare roughly in its first year of
 9       Q. And Bookshare complies with this               9   existence, and I would say that we have
10    definition of "authorized entity"?                  10   accomplished many of the things we set out to
11           MR. KAPLAN: Objection. Calls for a           11   accomplish as expressed in this paragraph with the
12    legal conclusion. Lacks foundation. Vague.          12   Bookshare solution that exists today.
13           THE WITNESS: Yes.                            13     Q. Did you investigate whether
14    BY MR. HUDIS:                                       14   Public.Resource has done this?
15       Q. Do you know whether the defendant in          15         MR. KAPLAN: Objection. Vague.
16    this case, Public.Resource, qualifies under this    16         THE WITNESS: My scope of my expert
17    definition?                                         17   engagement was to evaluate the accessibility of
18       A. I am --                                       18   several documents. I didn't do any legal research
19           MR. KAPLAN: Objection. Calls for a           19   on Public.Resource.Org and whether or not it
20    legal conclusion. Vague.                            20   qualified.
21           THE WITNESS: I am not an attorney, and       21         MR. KAPLAN: I think you can say that
22    I have not investigated that either.                22   out loud.
23    BY MR. HUDIS:                                       23         MR. HUDIS: Okay. Counsel, I'd like to
24       Q. Mr. Fruchterman, could we turn to page 3      24   go off the record.
25    of Exhibit 56.                                      25         MR. KAPLAN: No problem.

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                                                    185                                                     187
 1           THE VIDEOGRAPHER: This is the end of          1          So providing technology solutions to
 2    Tape Number 2 in the deposition of                   2   people with disabilities, that's Bookshare?
 3    James Fruchterman. The time is 1:53. Going off       3      A. That's one of our projects in the area
 4    the record.                                          4   of helping people with disabilities, yes.
 5           (Whereupon, a recess was taken.)              5      Q. And then the other one was Route 66?
 6           (Whereupon, Deposition Exhibit 57 was         6      A. That's another one.
 7       marked for identification.)                       7      Q. All right.
 8           THE VIDEOGRAPHER: Here begins Tape            8      A. There are more.
 9    No. 3 in the deposition of James Fruchterman.        9      Q. And then in the human rights arena, that
10    Back on the record at 2:01.                         10   would be Martus?
11    BY MR. HUDIS:                                       11      A. That is our primary product in that
12       Q. Mr. Fruchterman, I've marked as               12   field.
13    Exhibit 57 and ask if you recognize the document.   13          MR. KAPLAN: Objection.
14       A. Yes. It's an article I wrote seven or         14          THE WITNESS: Sorry.
15    eight years ago.                                    15   BY MR. HUDIS:
16       Q. What is the article of Exhibit 57 about?      16      Q. And what is your project in the
17           MR. KAPLAN: Objection. Vague.                17   environmental area?
18           THE WITNESS: It's a case study on the        18          MR. KAPLAN: Objection. Argumentative.
19    creation of my nonprofit organization, Benetech.    19   Vague.
20    BY MR. HUDIS:                                       20          THE WITNESS: At the time, it was the
21       Q. So you describe in the first paragraph        21   Miradi software project. M-I-R-A-D-I.
22    your organization Benetech. And, again, it's        22   BY MR. HUDIS:
23    dated 2007, 2008.                                   23      Q. And what did Miradi do?
24            "We build innovation                        24      A. Essentially project management software
25         technology solutions and widely                25   for environmental project managers.
                                                    186                                                     188
 1        promote entrepreneurial models for               1      Q. If you could turn to page 86 of
 2        developing projects in the                       2   Exhibit 57. In the middle of the page it says,
 3        nonprofit community. Benetech was                3   "Our initial reading machine."
 4        founded as a nonprofit social                    4          Do you see that?
 5        enterprise in 1989 to pursue the                 5      A. Yes.
 6        making of affordable reading                     6      Q. All right.
 7        machines for the blind."                         7           "Our initial reading machine
 8         And it continues. It says:                      8        had four major components: The
 9            "Because the market wasn't"                  9        PC, the Calera OCR board, a
10        -- "wasn't interesting to my                    10        DECtalk voice synthesizer board
11        original venture capital-backed                 11        and a Hewlett-Packard scanner.
12        company."                                       12        Together, these three additional
13         Now, you were referring to Arkenstone?         13        pieces turned the standard PC into
14      A. No. Calera.                                    14        a reading machine."
15      Q. Calera. All right.                             15          My question is, Mr. Fruchterman, are
16         And is that an accurate description of         16   these the hardware elements of an OCR reading
17    why you founded Benetech?                           17   machine?
18      A. Yes.                                           18          MR. KAPLAN: Objection. Vague. Calls
19      Q. And then it says:                              19   for speculation. Lacks foundation.
20            "We've since branched out                   20          THE WITNESS: This is a description of
21        into three major fields in the                  21   our earliest reading system based on the Calera
22        social sector: Helping provide                  22   TrueScan board.
23        technology solutions to people                  23   BY MR. HUDIS:
24        with disabilities, human rights                 24      Q. Mr. Fruchterman, could you please turn
25        groups and environmental groups."               25   to page 95 of Exhibit 57.

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 1       A. Yes.                                            1       A. I wrote a chapter for the book.
 2       Q. Now, we talked about this outside a very        2       Q. Was the title of that book "Accessing
 3    narrow description, so I'd like to ask you here.      3   Books and Documents"?
 4    I am under Bookshare.org, the third full paragraph    4           MR. KAPLAN: Objection. Form.
 5    which starts with "Jerry also came up with."          5           THE WITNESS: That was the title of the
 6       A. Yes.                                            6   chapter.
 7       Q. Okay. So I'm concentrating on the               7   BY MR. HUDIS:
 8    second sentence of that paragraph.                    8       Q. Thank you. I will reask the question
 9             "So a year before Bookshare                  9   because it was very poorly asked.
10         was ready" --                                   10           Was your chapter of the book "Assistive
11           Who is Jerry?                                 11   Technology for Visually Impaired and Blind People"
12       A. My counsel.                                    12   titled "Accessing Books and Documents"?
13       Q. Okay.                                          13       A. Yes.
14         -- "Jerry got us a meeting with the             14       Q. So, Mr. Fruchterman, I'm going to
15         copyright committee of the                      15   represent to you that this Exhibit 58 is not the
16         Association of American Publishers.             16   entire book. The entire book --
17         This committee is made up of the top            17       A. Great.
18         lawyers from the major publishers.              18       Q. -- spans over 700 pages. So I have only
19         We explained how we would honor the             19   provided a copy to you of your chapter.
20         social bargain in the legal                     20       A. Okay.
21         exception: Help people with                     21           MR. KAPLAN: Is it Counsel's position
22         disabilities while not hurting the              22   that this is fair use?
23         business interests of publishers and            23           MR. HUDIS: It is Counsel's position
24         authors. Giving them a year to work             24   that it is fair use in the context of litigation
25         with us to keep this social bargain             25   with this witness.
                                                     190                                                        192
 1         gained us tremendous credibility                 1      Q. Now, if you recall earlier today,
 2         with the publishers and convinced                2   Mr. Fruchterman, we had discussed functional tasks
 3         them not to sue us."                             3   associated with a person with print disabilities
 4          So we talked about before,                      4   accessing content.
 5    Mr. Fruchterman, about why, when you were founding    5           Do you remember that?
 6    Bookshare, you were talking with the publishers.      6      A. Yes.
 7          Does this passage that I just read              7      Q. Okay. And you said that one of the
 8    accurately state why you met with the publishers      8   first functional tasks is to obtain the content?
 9    before Bookshare was founded?                         9      A. Yes.
10          MR. KAPLAN: Objection. Vague. Lacks            10      Q. All right. I'd like to read you here
11    foundation.                                          11   from the -- from a portion of the first paragraph
12          THE WITNESS: Yes. This is a public             12   of your Chapter 15 from Exhibit 58.
13    description of the strategy that our counsel came    13           You see where it says, "Text
14    up with for us.                                      14   acquisition"?
15          (Whereupon, Deposition Exhibit 58 was          15      A. Okay. What page are we on?
16      marked for identification.)                        16      Q. Yes. It is the first page of your
17    BY MR. HUDIS:                                        17   chapter. So it's not numbered itself, but it is
18      Q. Mr. Fruchterman, I show you what's been         18   page 555.
19    marked as Exhibit 58.                                19      A. Okay. So we're on the first page, which
20          Are you familiar with the book                 20   is the titled "Chapter 15. Accessing"-- "Learning
21    "Assistive" -- "Assistive Technology for Visually    21   Objectives."
22    Impaired and Blind People"?                          22      Q. Right.
23      A. Yes.                                            23      A. Where am I looking right now?
24      Q. Were you a contributing author to this          24      Q. Okay. In the middle of that first
25    book of Exhibit 58?                                  25   paragraph it says, "Text acquisition."

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 1       A. Yes.                                            1           THE WITNESS: The question appears to be
 2             "Text acquisition can be" --                 2   what did you mean by these two activities?
 3           (Reporter interruption.)                       3   BY MR. HUDIS:
 4    BY MR. HUDIS:                                         4      Q. (Nods head.)
 5       Q. I'll read it. It says:                          5      A. Text acquisition and accessible
 6             "Text acquisition can be as                  6   presentation is kind of what they mean. I'm a
 7          varied as scanning the printed                  7   little lost on --
 8          page and doing the optical                      8      Q. As used in this paragraph in page -- in
 9          character recognition to directly               9   Exhibit 58, what did you mean by "text
10          downloading the text from the                  10   acquisition"?
11          Internet."                                     11           MR. KAPLAN: Objection. Vague and
12           What were you describing here?                12   confusing.
13       A. Acquiring the text.                            13           THE WITNESS: I'm rereading the
14       Q. That's why I was -- I was curious as to        14   paragraph.
15    our conversation earlier today, where you said       15   BY MR. HUDIS:
16    text acquisition was not something you would use.    16      Q. Mh-hmm.
17           MR. KAPLAN: Objection. Confusing.             17      A. I'm still trying to figure out the
18    BY MR. HUDIS:                                        18   context here of all of this.
19       Q. All right. So we had discussed the             19           I think I was talking primarily about
20    functional tasks associated with accessing content   20   scanning the page in order to potentially getting
21    of a person with print disabilities. So I had        21   the content directly from the Internet, which in
22    used "text acquisition." You said that was a         22   this case I'd be probably thinking about
23    wrong phrase, so I'm -- I'm confused as to the       23   Bookshare.
24    nature of text acquisition used here in              24      Q. And what did you mean in this context as
25    Exhibit 58.                                          25   used on page 555 of Exhibit 58 of "accessible
                                                     194                                                      196
 1       A. The tasks described --                          1   presentations"?
 2           MR. KAPLAN: Wait.                              2          MR. KAPLAN: Objection. Confusing and
 3           THE WITNESS: Sorry. Please.                    3   vague.
 4           MR. KAPLAN: Counsel, there needs to be         4          THE WITNESS: Well, I think this covers
 5    a question.                                           5   territory that we've discussed before of how does
 6           MR. HUDIS: Okay.                               6   a person with a disability access an inaccessible
 7       Q. What did you mean by "text acquisition"         7   print document. One way is that a human being
 8    in the context of the passage that I just read        8   reads it aloud, or it can be made larger, or it
 9    from page 55 of Exhibit 58?                           9   can be made Braille, or it can be made synthetic
10       A. Our earlier conversation encompassed           10   speech. And there are obviously other ones beyond
11    other tasks beyond the two listed here.              11   those as well as the four examples given here.
12       Q. Okay. So the two listed here are text          12   BY MR. HUDIS:
13    acquisition and accessible presentations. And        13      Q. Could we turn to page 556 of Exhibit 58.
14    that says:                                           14          Mr. Fruchterman, this book, "Assistive
15             "Accessible presentations                   15   Technology for Visually Impaired and Blind
16          range from having a human reader               16   People," was published in 2008.
17          narrate the text to enlarged                   17          So do you recall approximately what year
18          print, to Braille, to synthetic                18   you wrote Chapter 15?
19          speech."                                       19          MR. KAPLAN: Objection. Confusing.
20           So what I'd like to know is what did you      20   Argumentative.
21    mean by these two activities as described here on    21          THE WITNESS: I would assume either in
22    page 55 of Exhibit -- 555 of Exhibit 58, "text       22   2008 or in 2007.
23    acquisition" and "accessible presentations"?         23   BY MR. HUDIS:
24           MR. KAPLAN: Objection. Confusing.             24      Q. Okay. So turning to page 556, it says:
25    Vague. Misstates the document.                       25            "Magnification is the

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 1          traditional method for addressing              1         technique still in wide use today.
 2          vision loss and access to text."               2         The Perkins Brailler and Braille
 3            Is this still true today?                    3         printing presses are important
 4            MR. KAPLAN: Objection. Vague.                4         tools for professionals to use to
 5    Confusing.                                           5         create Braille books. And
 6            THE WITNESS: Yes, 'cause it's described      6         human-narrated books are widely
 7    as a traditional method. So the fact that another    7         available on audio cassettes."
 8    few years have gone by, it's still a traditional.    8           We've replaced audio cassettes at this
 9    BY MR. HUDIS:                                        9   point with technology, but the rest of it, are
10       Q. The next paragraph describes Braille as       10   these still document transformation methods in use
11    a -- one of -- was probably the most significant    11   today?
12    adaptive technology advance for the blind of the    12           MR. KAPLAN: Objection.
13    1800s.                                              13   BY MR. HUDIS:
14            Is Braille still used by blind people       14      Q. All right. And that -- and the ones
15    today?                                              15   that I'm pointing to are having the sighted person
16            MR. KAPLAN: Objection.                      16   read aloud, the Perkins Brailler and a Braille
17    Mischaracterizes the document. Vague.               17   printing press.
18            But go ahead.                               18           MR. KAPLAN: Objection. Vague.
19            THE WITNESS: Yes.                           19           THE WITNESS: All of these are still in
20    BY MR. HUDIS:                                       20   use today.
21       Q. Skipping down another two paragraphs, it      21   BY MR. HUDIS:
22    says:                                               22      Q. Now, the next paragraph, it says:
23              "These three alternative                  23            "Technology in use today has
24          techniques for accessing print,               24         greatly expanded the options
25          magnification, tactile Braille and            25         available for accessible reading
                                                    198                                                       200
 1          audible speech, are at the core of             1          and lessoned the need to have a
 2          almost all book and document                   2          sighted person intervene in the
 3          access technology for the visually             3          process. We now have Braille
 4          impaired."                                     4          transcription software, personal
 5           So my question is are these still three       5          Braille embossers, refreshable
 6    alternative techniques for accessing print by the    6          electronic Braille displays for
 7    print-disabled?                                      7          audio. We have computer
 8           MR. KAPLAN: Objection. Vague.                 8          synthesized voices to speak aloud
 9           THE WITNESS: These are three -- these         9          digital text, also known as text
10    are still three alternate techniques used for       10          to speech or TTS."
11    accessing print by the print-disabled, yes.         11            My question is, are these technologies
12    BY MR. HUDIS:                                       12   still in use today as nonhuman intervention
13       Q. Okay. If we could now skip down two           13   methods for the print-disabled to access printed
14    paragraphs. It describes these transformations in   14   material?
15    the past -- and the transformations, I gather, is   15            MR. KAPLAN: Objection. Vague and
16    talking about what precedes this paragraph.         16   confusing.
17              "These transformations in the             17            THE WITNESS: Yes.
18          past have required human                      18   BY MR. HUDIS:
19          intervention. Generally a sighted             19      Q. The next sentence says:
20          person reworks the document into              20              "With reading systems that
21          accessible form."                             21          use optical character recognition,
22           And it says here:                            22          or OCR, we can provide access to
23              "The original approach was to             23          Braille, audio and customized
24          have the sighted person read aloud            24          visual displays directly from the
25          to the visually impaired person, a            25          printed page."

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                                                      201                                                       203
 1           Why is this important?                          1          MR. HUDIS: Yeah. Correct. Excuse me.
 2           MR. KAPLAN: Objection. Vague.                   2   You're right, Counsel, it's the last two
 3           THE WITNESS: Because we want to turn            3   paragraphs.
 4    inaccessible print books into forms where disabled     4          THE WITNESS: Two paragraphs.
 5    people can access them using OCR.                      5          MR. KAPLAN: Both paragraphs.
 6    BY MR. HUDIS:                                          6          MR. HUDIS: Yeah.
 7       Q. Could we turn to page 557 of Exhibit 58.         7      Q. Are those the steps in OCR technology?
 8           At the bottom of page 50 -- 557 to the          8          MR. KAPLAN: Objection. Vague.
 9    top of 558 it says:                                    9          THE WITNESS: Those are some steps in
10             "Authors and publishers of                   10   OCR technology, yes.
11         books are concerned about piracy                 11   BY MR. HUDIS:
12         and worry about making books                     12      Q. Mr. Fruchterman, could you turn to page
13         easily available in electronic                   13   562 at the top. And I'd like to know, are these
14         form, although they rarely object                14   typical types of OCR errors? And what's described
15         to access for people with                        15   here are misrecs, nonrecs, drops and adds.
16         disabilities."                                   16      A. I --
17           Do you believe this is still true?             17          MR. KAPLAN: Objection. Vague.
18           MR. KAPLAN: Objection. Vague.                  18          THE WITNESS: I would say those are
19           THE WITNESS: Yes.                              19   common OCR errors.
20    BY MR. HUDIS:                                         20   BY MR. HUDIS:
21       Q. Mr. Fruchterman, could we turn to page          21      Q. What happens with these common OCR
22    558.                                                  22   errors are encountered?
23       A. Yes.                                            23          MR. KAPLAN: Objection.
24           MR. KAPLAN: We were there.                     24          MR. HUDIS: I'll reask the question.
25           MR. HUDIS: We were there. Okay. Thank          25      Q. If any of these OCR errors are
                                                      202                                                       204
 1    you.                                                   1   encountered, what happens when the printed text is
 2       Q. I would like to direct your attention to         2   converted to speech?
 3    the middle of the page, where it starts "however."     3          MR. KAPLAN: Objection. Vague.
 4       A. Yes.                                             4   Incomplete hypothetical.
 5       Q. All right. It says:                              5          THE WITNESS: Depending on what the
 6              "However, the image cannot be                6   error is, a person listening to the text might
 7          directly used to generate Braille                7   hear something different in the word.
 8          or synthetic voice output."                      8   BY MR. HUDIS:
 9           Why is that?                                    9       Q. Could it be garbled text?
10           MR. KAPLAN: Objection. Vague. Lacks            10          MR. KAPLAN: Objection. Vague.
11    foundation. Incomplete hypothetical.                  11          THE WITNESS: Yeah, it really depends on
12           THE WITNESS: You need to convert the           12   the error. I mean, humans listening to text, you
13    inaccessible image into a text file in OCR.           13   know, will they notice an error? It depends on
14    BY MR. HUDIS:                                         14   how extreme it is. For example, if R and N get
15       Q. Mr. Fruchterman, could you turn to page         15   turned into M, you know, you might hear it was a
16    560 of Exhibit 58.                                    16   case of modem times. Person is going to say, Oh,
17           This paragraph at the bottom of page 560       17   it's probably modern. But 'cause that's -- that
18    talks about the image processing steps of -- in       18   was a common error.
19    OCR. And it talks about despeckling, orienting        19          It gets -- it's been less common in
20    and straightening the page, recognition of            20   recent years because "modem" isn't as common a
21    specialty fine characteristics and recognition of     21   word now as it was once. And the OCR engines do
22    a character or glyph.                                 22   tune themselves for statistics in language.
23           Are those the --                               23   BY MR. HUDIS:
24           MR. KAPLAN: You're talking about the           24       Q. Mr. Fruchterman, could you please turn
25    last full paragraph, not the last paragraph?          25   to page 565 of Exhibit 58.

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                                                    205                                                      207
 1           What is the DAISY standard?                   1           MR. KAPLAN: Objection. Vague and
 2       A. The DAISY standard is a standard for           2   confusing.
 3    delivering accessible books to people with           3           THE WITNESS: No.
 4    disabilities.                                        4   BY MR. HUDIS:
 5       Q. Is that standard still in use today?           5      Q. What is required for use of DAISY
 6       A. It is.                                         6   technology?
 7       Q. By whom?                                       7           MR. KAPLAN: Objection. Vague.
 8           MR. KAPLAN: Objection. Lacks                  8           THE WITNESS: Well, the DAISY standard
 9    foundation. Vague.                                   9   is a format for digitally delivering typically
10           THE WITNESS: The DAISY consortium is         10   books, but could be other kinds of documents. It
11    essentially the leading libraries for people with   11   encompasses digital text, structure, audio, video,
12    print-disabilities, and I believe almost all of     12   pictures, tactile graphics.
13    the DAISY members' libraries use the DAISY format   13           And so a DAISY book might contain one or
14    as part of their system of delivering accessible    14   all of those different elements without respect to
15    books to their disabled patrons.                    15   how it was created or how it will get used. It's
16    BY MR. HUDIS:                                       16   just a file format.
17       Q. Is this a proprietary format?                 17   BY MR. HUDIS:
18           MR. KAPLAN: Objection. Vague.                18      Q. And --
19    Confusing.                                          19           MR. KAPLAN: Can we, when you're done
20           MR. HUDIS: I'll ask -- I'll reask the        20   with this line of questioning, take a very short
21    question.                                           21   break?
22       Q. Is DAISY a proprietary format by the          22           MR. HUDIS: Yes.
23    participating libraries in the consortium?          23           MR. KAPLAN: Thank you.
24           MR. KAPLAN: Objection. Vague.                24   BY MR. HUDIS:
25    Confusing.                                          25      Q. And DAISY -- DAISY-processed texts can
                                                    206                                                      208
 1          THE WITNESS: My understanding is the           1   be delivered either by an audio DAISY book or a
 2    DAISY format is shared widely so that anyone can     2   full-text DAISY book, correct?
 3    use the standard and it is not proprietary to the    3           MR. KAPLAN: Objection. Vague and
 4    members.                                             4   incomplete hypothetical.
 5    BY MR. HUDIS:                                        5           THE WITNESS: Those are two ways a DAISY
 6       Q. Does this technology require use of a          6   book can be delivered.
 7    PDF file?                                            7           MR. HUDIS: That's it for this, so let's
 8          MR. KAPLAN: Objection. Vague and               8   take a break.
 9    confusing.                                           9           THE VIDEOGRAPHER: Going off the record
10          THE WITNESS: It's the antithesis of a         10   at 2:30.
11    PDF file.                                           11           (Whereupon, a recess was taken.)
12    BY MR. HUDIS:                                       12           (Whereupon, Deposition Exhibit 59 and
13       Q. Okay. And why do you say that?                13      60 were marked for identification.)
14       A. Because PDFs are frequently not               14           THE VIDEOGRAPHER: Going back on the
15    accessible in the form that they present            15   record at 2:38.
16    themselves.                                         16   BY MR. HUDIS:
17       Q. Without OCR technology?                       17      Q. Mr. Fruchterman, are you familiar with
18       A. That's --                                     18   the litigation titled "Authors Guild Versus
19          MR. KAPLAN: Objection. Vague.                 19   HathiTrust" which was litigated at the trial level
20          THE WITNESS: That's one of the problems       20   in New York Federal Court in Manhattan in 2011 and
21    with PDFs. Yes.                                     21   2012?
22    BY MR. HUDIS:                                       22           MR. KAPLAN: Objection. Vague and
23       Q. All right. So does -- does the DAISY          23   argumentative.
24    technology require use of an OCR-processed PDF      24           THE WITNESS: Yes.
25    file?                                               25

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                                                     209                                                       211
 1    BY MR. HUDIS:                                         1   witness. But I'm not a lawyer, so -- but I
 2       Q. Okay. What do you recall about who the          2   understand that that's not the same thing.
 3    plaintiffs were in the HathiTrust litigation?         3          MR. KAPLAN: I think the issue is you
 4           MR. KAPLAN: Objection. Argumentative.          4   did not submit an expert report in that case.
 5           THE WITNESS: I remember it was                 5          THE WITNESS: Thank you, Counsel, for
 6    primarily the Authors Guild. That was certainly       6   the legal advice.
 7    the public face. I believe there were some            7          MR. KAPLAN: Yes.
 8    foreign authors associations or publishing            8   BY MR. HUDIS:
 9    associations. I'm a little confused, but I know       9     Q. So, Mr. Fruchterman, is that true, what
10    they were foreign entities. Probably a couple        10   Public.Resource's counsel said, that you did not
11    specific authors. That's my recollection             11   provide an expert's report in the HathiTrust case?
12    primarily from reading the press coverage of the     12     A. That is my understanding, yes.
13    case.                                                13     Q. Okay. Now, these questions all have to
14    BY MR. HUDIS:                                        14   do with the HathiTrust case.
15       Q. Do you remember what the plaintiffs'           15          Did you testify at any deposition?
16    legal claims were in the HathiTrust case?            16     A. No.
17           MR. KAPLAN: Objection. Vague.                 17     Q. Did you testify at any trial?
18           THE WITNESS: The case was always              18     A. No.
19    described as one over allegations of copyright       19     Q. Did you submit any expert's reports?
20    infringement.                                        20     A. No.
21    BY MR. HUDIS:                                        21     Q. Okay. Did you submit any declarations?
22       Q. Do you remember who the defendants were        22     A. Yes.
23    in the HathiTrust case?                              23     Q. Okay. Do you know what a summary
24       A. The HathiTrust is an assemblage of             24   judgment motion is?
25    research libraries that basically had a large book   25          MR. KAPLAN: Objection. Vague.
                                                     210                                                       212
 1    scanning repository that they were using.             1         THE WITNESS: I have a decent idea as
 2        Q. Do you remember what legal defenses            2   someone who has been familiar with legal affairs
 3    those defendants asserted in the HathiTrust           3   as a business and nonprofit executive.
 4    litigation?                                           4   BY MR. HUDIS:
 5           MR. KAPLAN: Objection. Vague. Calls            5      Q. Okay. In that context, what's your
 6    for a legal conclusion.                               6   understanding of what a summary judgment motion
 7           THE WITNESS: As publicly reported, it          7   is?
 8    was primarily defenses of fair use and                8      A. That rather than going to trial, the
 9    Section 121.                                          9   plaintiffs or defendants create a motion to the
10    BY MR. HUDIS:                                        10   judge saying, Based on what you've seen, are we
11        Q. And that's the Chafee Amendment?              11   done?
12        A. Yes.                                          12      Q. Did you submit any declarations in
13        Q. What role, if any, did you play in the        13   support of a summary judgment motion in the
14    HathiTrust litigation?                               14   HathiTrust case?
15           MR. KAPLAN: Objection. Vague.                 15      A. Yes.
16           THE WITNESS: I provided declarations in       16      Q. Do you remember how the HathiTrust
17    the case and an amicus brief.                        17   Digital Library operated?
18    BY MR. HUDIS:                                        18         MR. KAPLAN: Objection. Vague.
19        Q. Were you an expert witness for the            19         THE WITNESS: I have a general
20    intervener, the National Federation for the Blind?   20   familiarity with how it operates, but I have not
21        A. I don't believe I met the definition of       21   studied its operation in detail.
22    "expert witness."                                    22   BY MR. HUDIS:
23        Q. Why do you say that?                          23      Q. What's the nature of your general
24        A. Because I prepared a declaration, which       24   familiarity?
25    I've been told is different than being an expert     25         MR. KAPLAN: Objection. Vague.

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                                                     213                                                       215
 1           THE WITNESS: That the HathiTrust               1   aren't quite as garbled. If you go to --
 2    collection is made available to faculty, students     2          MR. KAPLAN: 118.
 3    and staff of the member libraries.                    3          MR. HUDIS: I believe, but cannot
 4    BY MR. HUDIS:                                         4   confirm, that Mr. Fruchterman's declaration was
 5       Q. And what was the source of the materials        5   submitted once without the attachments as Document
 6    for the HathiTrust Digital Library?                   6   Number 80 and then again with the attachments as
 7           MR. KAPLAN: Objection. Lacks                   7   Document Number 118.
 8    foundation. Vague. Calls for speculation.             8      Q. Mr. Fruchterman, if you could tell me,
 9           THE WITNESS: I believe, based on press         9   is there anything on pages 1 through 7 of
10    reports, that the primary source is the Google       10   Exhibit 59 that you would change at this time.
11    book scanning project.                               11   Something that you believe is incorrect?
12    BY MR. HUDIS:                                        12   Something that you believe, upon further inquiry,
13       Q. And what -- what were the sources of           13   you would supplement? Is there anything you would
14    material that were scanned as part of the Google     14   change in this declaration?
15    scanning project for the HathiTrust library?         15          MR. KAPLAN: Objection. Vague.
16           MR. KAPLAN: Objection. Lacks                  16          THE WITNESS: I will read it. So ...
17    foundation. Vague. Calls for speculation.            17          MR. HUDIS: That's why I wanted to do it
18           THE WITNESS: My general understanding,        18   off the record.
19    it was the collection of the libraries of these      19          Can we go off the record?
20    research universities.                               20          MR. KAPLAN: No. No.
21    BY MR. HUDIS:                                        21          MR. HUDIS: You want to burn the time
22       Q. Mr. Fruchterman, I placed in front of          22   up?
23    you what's been marked Exhibits 59 and 60.           23          MR. KAPLAN: It's your question.
24           Do you recognize the documents?               24          MR. HUDIS: That is my question.
25       A. Yes. I believe these -- first is my            25          THE WITNESS: My first reaction -- and I
                                                     214                                                       216
 1    declaration, and then a supplemental                  1   will continue as I read the document, though -- is
 2    declaration -- declaration.                           2   that in the facts relied upon, these are dated
 3       Q. So on Exhibit 59, is that your signature        3   figures. And so if I was saying how many books we
 4    on page 7?                                            4   had or how many members we had, I would update it
 5       A. Yes.                                            5   to a current number because this is a few years
 6       Q. And the date of the signature is                6   old. So that's my first change of things that I
 7    June 28th, 2012?                                      7   would -- I would change.
 8       A. Yes.                                            8          At Number 16, I guess -- what would you
 9       Q. And Exhibit 60 on page 4, is that your          9   call these numbers to the left here in the
10    signature?                                           10   declaration?
11       A. Yes.                                           11          MR. HUDIS: Mh-hmm.
12       Q. And is your signature in Exhibit 60            12          THE WITNESS: Item 16?
13    dated July 17, 2012?                                 13   BY MR. HUDIS:
14       A. Yes, it appears to be.                         14      Q. Paragraph.
15       Q. Mr. Fruchterman --                             15      A. Paragraph 16.
16           MR. KAPLAN: Counsel, the docket number        16          In paragraph 16, at that time, it was
17    is garbled in Exhibit 59.                            17   close to 200 publishers. Now it's over 500
18           MR. HUDIS: It is.                             18   publishers, so I would update the number.
19           MR. KAPLAN: Do you happen to know what        19          In paragraph 23, we cite average numbers
20    that is?                                             20   of cost per book. I think these numbers are
21           MR. HUDIS: The problem is, the document       21   dated. They're going to be higher now.
22    was submitted twice. I believe the documents in      22          In paragraph 28, I talk about image
23    the HathiTrust litigation are Document Numbers 80    23   descriptions, K-12 textbooks in highest demand.
24    and 118.                                             24   We actually -- I think that at this point in time,
25           THE WITNESS: Looks like the exhibits          25   we probably devote less towards image descriptions

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 1    than we did at the time of this declaration three     1   unit of work have gone up from our outsourcers and
 2    years ago. That was in paragraph 28.                  2   it may be that our textbooks are getting more
 3           Okay. That's the end of that                   3   complicated. So I'm not certain. That number
 4    declaration. So those are the items I would           4   probably has changed. It's probably not less than
 5    update or change.                                     5   $400 a book, but I would have to inquire since
 6       Q. Okay. So of the items that you mention          6   this is a dated declaration.
 7    that you want to update, I'd like to talk about       7   BY MR. HUDIS:
 8    paragraph 23 on page 5 of Exhibit 59.                 8      Q. Mr. Fruchterman, if you could turn to
 9           You said that today, in contrast to when       9   page 6, paragraph 25, of your declaration of
10    you created this declaration in 2002 -- 2012, it     10   Exhibit 59. It says:
11    would cost more per book to make it accessible to    11            "Bookshare divides books into
12    the print-disabled. My question is why?              12         six levels based upon their
13       A. So this paragraph cites two different          13         complexity."
14    figures. One is an average cost across the books     14          Is this -- does Bookshare use these
15    that we're scanning. I believe that it's going to    15   levels of complexity today?
16    cost more both because costs have gone up per unit   16          MR. KAPLAN: Objection. Vague.
17    of effort and because the books that we're           17          THE WITNESS: Yes.
18    converting on average are more complex than they     18   BY MR. HUDIS:
19    were three years ago. And so because the greater     19      Q. In what way?
20    complexity of book, the greater the cost.            20      A. Primarily as a --
21           So I wouldn't stand behind this current       21          MR. KAPLAN: Objection. Vague.
22    number of $40 a book because I'm quite certain       22          THE WITNESS: Primarily as a cost and
23    it's higher. I don't know exactly how much higher    23   management tool for our outsourcers.
24    unless I inquire of my team, but that's the          24   BY MR. HUDIS:
25    impression I've gotten from that.                    25      Q. So as I read paragraphs 25 and 26, I
                                                     218                                                       220
 1       Q. Well, so you cited two possible                 1   would like to know if this statement is true: As
 2    increases in cost. One was more complex books.        2   the complexity of the books you are scanning
 3           Is the first one labor costs?                  3   increases, it costs more to scan the book and make
 4       A. The cost of our contractor to do a given        4   it accessible to those with print disabilities.
 5    amount of work costs more today than it did three     5          MR. KAPLAN: Counsel, is this a
 6    years ago.                                            6   statement in paragraph 25 --
 7       Q. So it's outside contractor work?                7          MR. HUDIS: No.
 8       A. Yeah. Most of our paid costs are from           8          MR. KAPLAN: -- or 26?
 9    outside contractors.                                  9          MR. HUDIS: No. It's a summary, and I
10       Q. I thought it was members who scan books        10   want to know if he agrees with it.
11    for Bookshare.                                       11          MR. KAPLAN: Okay. I'm sorry. That was
12       A. At the origin of Bookshare, it was             12   my confusion. Do you want to try that again
13    mainly members scanning for each other. With our     13   and --
14    Department of Education funding, we're required to   14          MR. HUDIS: I do.
15    deliver high-quality books to students. We           15          MR. KAPLAN: -- I can state my
16    actually pay outsourcers to proofread the books.     16   objections?
17    And that's a significant expense.                    17          MR. HUDIS: Sure.
18       Q. So excuse my rudeness, Mr. Fruchterman.        18      Q. Based upon what you've written here in
19    I cut off your answer on why it would cost more      19   paragraphs 25 and 26, is it true that as the
20    than $40 per book. I did not let you talk about      20   complexity of the scanned material increases, it
21    the $400 per book on the next page.                  21   costs more to scan the book and make it accessible
22           Is there anything you would change about      22   to those with print disabilities?
23    that cost?                                           23          MR. KAPLAN: Objection. Vague.
24           MR. KAPLAN: Objection. Vague.                 24   Incomplete hypothetical.
25           THE WITNESS: Other than our costs per         25          Go ahead.

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 1           THE WITNESS: It costs more to proofread       1          What's your recollection of Mr. Clancy's
 2    the book. And so if by "scan" you mean scan and      2   description of the HathiTrust web site?
 3    proofread, yes. But scanning, the complexity of      3          MR. KAPLAN: Objection. Vague.
 4    the page doesn't change the cost to scan a page.     4          THE WITNESS: I don't think that's what
 5    BY MR. HUDIS:                                        5   I said in this sentence.
 6       Q. Mr. Fruchterman, you go into great             6   BY MR. HUDIS:
 7    detail about how Bookshare operated, at least in     7      Q. Okay. What did you say and what did you
 8    2012, in paragraphs 12 through the 29.               8   mean in this sentence?
 9           My question, why was there no discussion      9      A. I reviewed Dan Clancy's description of
10    in this declaration of Exhibit 59 of all the        10   Google Books project. Stop. And I also reviewed
11    security protocols Bookshare uses to prevent        11   the HathiTrust web site. And based on those two
12    unauthorized access by the sighted community to     12   things, I concluded this opinion.
13    Bookshare?                                          13      Q. Okay. So my question is, what do you
14           MR. KAPLAN: Objection. Privileged.           14   recall of -- I see what you're saying. Okay.
15    Calls for information protected by Rule 26 of the   15          So what do you recall of your review of
16    Federal Rules of Civil Procedure. And I don't       16   the HathiTrust web site?
17    think -- I think that I'm instructing the witness   17          MR. KAPLAN: Objection. Vague.
18    not to answer. I instruct the witness not to        18          THE WITNESS: I've looked at the
19    answer.                                             19   HathiTrust web site since this time, and so I'm
20           THE WITNESS: I agree.                        20   not sure I can distinguish between those.
21    BY MR. HUDIS:                                       21          But it discussed how they were going to
22       Q. All right. And you're going to adhere         22   make available the full text of all of these works
23    to Counsel's instruction?                           23   to students who they provided access to.
24       A. I am.                                         24   BY MR. HUDIS:
25       Q. Okay. Mr. Fruchterman, could you turn         25      Q. Okay. Do you recall what security
                                                    222                                                       224
 1    to page 2 of Exhibit 59. It says, on paragraph       1   measures the HathiTrust web site used to prevent
 2    9 -- are you there?                                  2   unauthorized access?
 3           MR. KAPLAN: Almost.                           3         MR. KAPLAN: Objection. Argumentative.
 4           THE WITNESS: Page 2. Just the second          4   Calls for a legal conclusion. Vague. Lacks
 5    page.                                                5   foundation.
 6           MR. HUDIS: You've got it rolled over.         6         THE WITNESS: I believe that they used
 7    That's why.                                          7   authentication protocols common in the university
 8           THE WITNESS: You're at the back.              8   systems for authenticating faculty, staff and
 9           MR. HUDIS: You're at the back.                9   students.
10           MR. KAPLAN: Which exhibit? Oh, I'm           10   BY MR. HUDIS:
11    sorry. I thought you meant the declaration. I'm     11      Q. Was that a user name and password?
12    sorry. There's only one exhibit. Exhibit 59,        12         MR. KAPLAN: Objection. Vague. Lacks
13    page 2.                                             13   foundation.
14           MR. HUDIS: Right. Paragraph 9.               14         THE WITNESS: Yes. Primarily.
15       Q. You say:                                      15   BY MR. HUDIS:
16             "Having reviewed                           16      Q. Mr. Fruchterman, let's now turn to
17          Daniel Clancy's description of                17   Exhibit 60, your supplemental declaration in the
18          Google's Book" -- "of the Google              18   HathiTrust litigation. Please read through the
19          Books project and the HathiTrust              19   document and tell me if there's anything today you
20          web site, it is my opinion that               20   would change about the document and what you wrote
21          the HathiTrust provides the best              21   here.
22          opportunity for [sic] blind                   22      A. As before, I would change numbers that
23          students will ever have to access             23   are based on the date of this declaration.
24          a comprehensive digital library of            24         Oh, you're having problems with the
25          university collections."                      25   captioning again.

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                                                    225                                                       227
 1           MR. HUDIS: No. I'm having problems            1   BY MR. HUDIS:
 2    with --                                              2      Q. Why is there no discussion of the
 3           MR. KAPLAN: Scrolling.                        3   HathiTrust security measures in this declaration
 4           MR. HUDIS: -- what was put down as your       4   of Exhibit 60?
 5    answer.                                              5          MR. KAPLAN: Objection. Argumentative.
 6            (Record read by the reporter                 6   Vague.
 7         as follows:                                     7          And I will instruct the witness not to
 8            ANSWER: As before, I would                   8   answer to the extent that it calls for privileged
 9         change numbers that are based on                9   communications or information protected by Rule 26
10         the date of this declaration.)                 10   of the Federal Rules of Civil Procedure.
11    BY MR. HUDIS:                                       11   BY MR. HUDIS:
12      Q. So which numbers would you change?             12      Q. Mr. Fruchterman, first of all, will you
13           MR. KAPLAN: Objection. Vague.                13   adhere to counsel's instructions?
14           THE WITNESS: Yeah. Paragraph 1 -- 2 --       14      A. Yes.
15    sorry, paragraph 2, I cite how many users, how      15          MR. KAPLAN: First --
16    many books, what our monthly capacity is. I would   16   BY MR. HUDIS:
17    update those to current figures.                    17      Q. And can you --
18    BY MR. HUDIS:                                       18          MR. KAPLAN: Yeah. Okay.
19      Q. So it would be more?                           19   BY MR. HUDIS:
20      A. Yes.                                           20      Q. And can you answer my question without
21           MR. KAPLAN: Description.                     21   revealing the substance of attorney-client
22           THE WITNESS: Sorry.                          22   communications?
23           That's it.                                   23      A. No.
24    BY MR. HUDIS:                                       24      Q. In making the statement "I believe that
25      Q. Are paragraphs 4 through 12 of                 25   the risk of online piracy or unauthorized copying
                                                    226                                                       228
 1    Exhibit 60 still today an accurate description of    1   and distribution of works made fully available to
 2    Bookshare's seven-point digital rights management    2   individuals with print disabilities through the
 3    plan?                                                3   HathiTrust is minimal," did you review the
 4            MR. KAPLAN: Objection. Vague.                4   security measures on the HathiTrust web site?
 5            THE WITNESS: Yes.                            5          MR. KAPLAN: Objection. Vague.
 6    BY MR. HUDIS:                                        6          THE WITNESS: Not beyond previously
 7       Q. If we could turn to paragraph 1, page 1,       7   discussed.
 8    of Exhibit 60. You say:                              8   BY MR. HUDIS:
 9             "Based upon my experience                   9      Q. Mr. Fruchterman, do you recall what the
10          with the Bookshare online library             10   outcome was in the HathiTrust litigation?
11          for people with print                         11          MR. KAPLAN: Objection. Vague. Calls
12          disabilities, I believe that the              12   for a legal conclusion. Lacks foundation.
13          risk of online piracy or                      13          THE WITNESS: I do.
14          unauthorized copying and                      14          MR. KAPLAN: I'm sorry. Scratch the
15          distribution of works made fully              15   last objection.
16          available to individuals" --                  16          THE WITNESS: I do.
17          "individuals with print                       17   BY MR. HUDIS:
18          disabilities through the                      18      Q. All right. What -- and what was -- what
19          HathiTrust is minimal."                       19   is your understanding of the outcome of the
20            What was the basis for this statement       20   HathiTrust litigation?
21    that you made in paragraph 1?                       21      A. That the motion for summary judgment by
22            MR. KAPLAN: Objection. Confusing. The       22   the defendants was granted by the district court
23    document speaks for itself. Vague.                  23   judgment and upheld in an appellate court
24            THE WITNESS: My declaration explains        24   decision.
25    why, at length.                                     25      Q. And did you -- did you review the

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 1    district court's opinion after it was issued?         1         digital copy of each scanned work
 2       A. I did.                                          2         to the universities which includes
 3            (Whereupon, Deposition Exhibit 61 was         3         scanned image files of the pages
 4       marked for identification.)                        4         and a text file from the printed
 5    BY MR. HUDIS:                                         5         work."
 6       Q. Mr. Fruchterman, I'd like you to turn to        6          Was that also your understanding of how
 7    page 4 of what's now been marked as Exhibit 61.       7   the HathiTrust Digital Library worked?
 8    It is the district court's opinion in the Authors     8          MR. KAPLAN: Objection. Vague.
 9    Guild, Inc. versus HathiTrust, et al., reported at    9          THE WITNESS: This describes much more
10    902 F.Supp.2d 445 and the date of the decision is    10   of what Google does than what the HathiTrust does.
11    October 10, 2012.                                    11   It simply says that it gave them a copy. It
12            MR. KAPLAN: Counsel, it's a Westlaw          12   doesn't actually describe what the HathiTrust does
13    printout.                                            13   with the copy.
14            MR. HUDIS: Yes.                              14   BY MR. HUDIS:
15            MR. KAPLAN: Including Westlaw's              15      Q. So -- and then it says:
16    commentary and descriptions and additional           16             "After Google provides the
17    material that was not contained in the original      17         universities with digital copies
18    decision.                                            18         of their works, the universities
19            MR. HUDIS: Noted.                            19         then contribute these digital
20       Q. Mr. Fruchterman, could you please turn         20         copies to the HathiTrust Digital
21    to page 4 of the document.                           21         Library."
22       A. Yes.                                           22          Is that your understanding --
23       Q. And it says, under "Background,"               23          MR. KAPLAN: Objection. Vague.
24    "Defendants"-- are you with me?                      24   BY MR. HUDIS:
25       A. Yes.                                           25      Q. -- of how the HathiTrust Digital Library
                                                     230                                                       232
 1       Q. All right.                                      1   worked?
 2            "Defendants have entered into                 2          MR. KAPLAN: Still vague.
 3         agreements with Google Inc. that                 3          THE WITNESS: To the extent it's stated
 4         allow Google to create digital                   4   here, yes.
 5         copies of works in the                           5   BY MR. HUDIS:
 6         universities' libraries in                       6     Q. And then skipping below Footnote 4, it
 7         exchange for which Google provides               7   says:
 8         digital copies to defendants, the                8           "For works with known
 9         mass digitization product or MDP."               9        authors, defendants use the works
10          Was that your understanding of how the         10        within the HDL or HathiTrust
11    HathiTrust library worked?                           11        Digital Library in three ways:
12          MR. KAPLAN: Objection. Vague.                  12        Full-text searches, preservation
13    Confusing.                                           13        and access for people with
14          THE WITNESS: Yes. Generally.                   14        certified print disabilities. The
15    BY MR. HUDIS:                                        15        full-text search capabilities
16       Q. All right. If we could turn to page 5          16        allow users to search for
17    of Exhibit 61. At the top left-hand corner, it       17        particular terms" -- "a particular
18    says:                                                18        term across all the works within
19            "After digitization, Google                  19        the HathiTrust Digital Library.
20         retains a copy of the digital book              20        For works that are not in the
21         that is available through Google                21        public domain or for which the
22         Books, an online system through                 22        copyright owner has not authorized
23         which Google users can search the               23        use, the full-text search
24         content and view snippets of the                24        indicates only page numbers on
25         books. Google also provides a                   25        which a particular term is found

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 1          and the number of times the term                1      A. Stop. Stop.
 2          appears on each page."                          2          MR. HUDIS: Yep.
 3           Was that your understanding of how the         3          THE WITNESS: Okay. So it's the last
 4    HathiTrust Digital Library worked?                    4   partial sentence there. All right.
 5           MR. KAPLAN: Objection. Vague and               5   BY MR. HUDIS:
 6    confusing.                                            6      Q. Yes. So it says:
 7           THE WITNESS: This states my                    7            "Defendants respond with a
 8    understanding about how some of the Hathi digital     8        declaration from the individual in
 9    trust works.                                          9        charge of security for the works
10    BY MR. HUDIS:                                        10        in the HathiTrust Digital Library
11       Q. All right. At the bottom of page 5,            11        who describes the security
12    starting at the bottom of the left-hand column and   12        measures in place" -- citing to
13    going to the top of the right-hand column, it        13        the Snavely declaration -- "and
14    says:                                                14        notes that the libraries have been
15             ""Since the digital text in                 15        certified as a trustworthy
16          the HDL or" --                                 16        depository by the Center for
17           MR. KAPLAN: Wait. Wait. Okay. I               17        Research Libraries."
18    found it.                                            18          Do you see that?
19           THE WITNESS: Okay.                            19      A. Yes.
20           (Reporter interruption.)                      20      Q. All right. Is that your understanding
21    BY MR. HUDIS:                                        21   of how the security measures of the HathiTrust
22       Q.     "Since the digital texts in                22   Digital Library worked?
23          the HathiTrust Digital Library                 23          MR. KAPLAN: Objection. Vague and
24          became available, print-disabled               24   confusing.
25          students have had full access to the           25          THE WITNESS: It's consistent with my
                                                     234                                                       236
 1          materials through a secure system               1   understanding of the access control portion of the
 2          intended solely for students with               2   system, yes.
 3          certified disabilities."                        3   BY MR. HUDIS:
 4           Was this also your understanding of how        4      Q. And that was -- the access control
 5    the HathiTrust Digital Library worked?                5   portion of the system was a user name and password
 6           MR. KAPLAN: Objection. Vague.                  6   access?
 7           THE WITNESS: I didn't think they               7      A. Yes.
 8    excluded disabled faculty and staff from their        8          MR. KAPLAN: Objection. Vague.
 9    system. I thought it was not just students, but       9   Misstates testimony. Lacks foundation.
10    also faculty and staff.                              10          THE WITNESS: Yes.
11    BY MR. HUDIS:                                        11   BY MR. HUDIS:
12       Q. But, otherwise, you would agree with           12      Q. Mr. Fruchterman, I'm done with
13    this statement?                                      13   Exhibit 61.
14       A. I think I'm less familiar with what the        14      A. Okay.
15    secure system actually was. I -- but that they       15      Q. Do you know, Mr. Fruchterman, if the
16    had access, I did understand.                        16   plaintiffs appealed the trial court's decision in
17       Q. Which brings me to my next question.           17   the HathiTrust litigation?
18           Could you turn to page 15 of Exhibit 61.      18      A. I do.
19       A. Okay. I'm on page 15.                          19      Q. And what's your understanding? Did
20       Q. I'm reading from the bottom of the             20   they -- did the plaintiffs appeal?
21    right-hand column.                                   21      A. They did.
22           It says:                                      22      Q. Okay. What role, if any, did you play
23              "Defendants respond with a                 23   in the HathiTrust appeal?
24          declaration from the individual in             24      A. I filed an amicus brief with our chief
25          charge" --                                     25   competitor/collaborator in the field.

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                                                     237                                                       239
 1       Q. And who was that?                               1        disability' is any disability that
 2       A. Learning Ally.                                  2        prevents a person from effectively
 3       Q. Do you recall what the outcome was in           3        reading printed material.
 4    the HathiTrust appeal?                                4        Blindness is one example, but
 5       A. That the appellate court sustained, for         5        print disabilities also include
 6    the most part, the district court's decision to       6        those that prevent a person from
 7    grant a summary judgment.                             7        physically holding a book or
 8       Q. Did you review the appeals court opinion        8        turning pages."
 9    in the HathiTrust litigation after it was issued?     9          First, Mr. Fruchterman, do you agree
10       A. Yes.                                           10   with the court's description of what a print
11           (Whereupon, Deposition Exhibit 62 was         11   disability is?
12       marked for identification.)                       12          MR. KAPLAN: Objection. Vague.
13    BY MR. HUDIS:                                        13          THE WITNESS: Yes, in general.
14       Q. Mr. Fruchterman --                             14   BY MR. HUDIS:
15           MR. KAPLAN: It's getting confusing.           15      Q. Continuing, the court says:
16    We're switching from Westlaw to Lexis?               16            "To use this service, a
17           MR. HUDIS: What can I tell you.               17        patron must obtain certification
18           THE WITNESS: Okay.                            18        of his disability from a qualified
19    BY MR. HUDIS:                                        19        expert. Through the HathiTrust
20       Q. So, Mr. Fruchterman, I now place in            20        Digital Library, a print-disabled
21    front of you what's been marked as Exhibit 62. It    21        user can obtain access to the
22    is, as Counsel noted, the Lexis reported version     22        contents of works in the digital
23    of the Second Circuit Court of Appeals decision in   23        library using adaptive
24    Authors Guild versus HathiTrust reported at 755      24        technologies such as software that
25    F.3d 87. The decision was issued on October 30,      25        converts the text into spoken
                                                     238                                                       240
 1    2013.                                                 1         words or that magnifies the text.
 2           MR. KAPLAN: Is that --                         2         Currently" -- I guess it means at
 3    BY MR. HUDIS:                                         3         the time of this decision -- "the
 4       Q. Mr. Fruchterman -- did I get something          4         University of Michigan's library
 5    wrong, Counsel?                                       5         is the only HDL member that
 6           MR. KAPLAN: I think it was decided on          6         permits such access, although
 7    June 10th, 2014.                                      7         other member libraries intend to
 8           MR. HUDIS: Oh, it says --                      8         provide it in the future."
 9           MR. KAPLAN: Argued October 30th, 2013.         9           With respect to individuals with print
10           MR. HUDIS: Counsel, thank you. All            10   disabilities, Mr. Fruchterman, do you agree with
11    right. So it was argued in October 2013. And the     11   the Court's description of how the HathiTrust
12    decision was issued on June 10, 2014. Thank you.     12   Digital Library worked?
13    Appreciate it.                                       13           MR. KAPLAN: Objection. Vague.
14       Q. If you could turn to page 7 of                 14   Compound. Confusing.
15    Exhibit 62. Mr. Fruchterman, I'm reading now from    15           THE WITNESS: Yes. I think it's a
16    the top of the right-hand column of page 7.          16   decent summary of my understanding of the state at
17           Are you with me? It says "second."            17   the time of the decision.
18       A. Yes.                                           18   BY MR. HUDIS:
19       Q. Okay. It says:                                 19      Q. Mr. Fruchterman, if you could now turn
20            "Second, the HathiTrust                      20   to page 13 of Exhibit 62.
21         Digital Library allows member                   21           Now, starting towards the bottom of the
22         libraries to provide patrons with               22   left-hand column and continuing to most of the
23         certified print disabilities                    23   right-hand column of Exhibit 62, page 13, it
24         access to the full text of                      24   describes -- and the Court says:
25         copyrighted works. A 'print                     25             "The record before us

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 1          documents the extensive security                1          MR. HUDIS: Thank you, Counsel.
 2          measures the libraries have                     2          MR. KAPLAN: For the sake of brevity and
 3          undertaken to safeguard against                 3   to be clear, I just wanted to point out that
 4          the risk of a data breach."                     4   there's multiple comments.
 5           And citing to the Wilkins' declaration.        5          MR. HUDIS: Right.
 6           As part of your work in the HathiTrust         6          THE WITNESS: That I've written multiple
 7    litigation, did you ever review the Wilkins'          7   comments?
 8    declaration?                                          8          MR. HUDIS: Yes.
 9           MR. KAPLAN: Objection. Vague and               9          THE WITNESS: Okay. Sorry. Thank you.
10    confusing.                                           10          MR. KAPLAN: I don't want you to be
11           THE WITNESS: No.                              11   misled.
12    BY MR. HUDIS:                                        12          MR. HUDIS: That wasn't my intention.
13        Q. As part of your work in the HathiTrust        13          MR. KAPLAN: I know it wasn't.
14    litigation, did you review the security controls     14   BY MR. HUDIS:
15    that the HathiTrust Digital Library employed?        15      Q. Mr. Fruchterman, just let me know when
16           MR. KAPLAN: Objection. Vague.                 16   you're ready.
17           THE WITNESS: No.                              17      A. All right. Read the rest of the
18    BY MR. HUDIS:                                        18   comments after my --
19           (Whereupon, Deposition Exhibit 63 was         19          MR. KAPLAN: No.
20        marked for identification.)                      20          MR. HUDIS: I'm not going to ask --
21    BY MR. HUDIS:                                        21          MR. KAPLAN: Advertisements after that.
22        Q. Mr. Fruchterman, I have now marked a          22          THE WITNESS: All right. Cool. So the
23    document as Fruchterman Exhibit 63. It's ten         23   question?
24    pages. I'd like to know if you recognize the         24   BY MR. HUDIS:
25    document.                                            25      Q. Yes. Mr. Fruchterman, first of all, the
                                                     242                                                        244
 1      A. I recognize it as an article that I              1   author, Mr. Meadows, on page 2 refers to top of
 2    believe I've read at least a portion of.              2   the page -- third paragraph that starts with "and
 3      Q. Now, it is entitled "The Internet                3   some of those modern eBooks."
 4    Archive's Open Library is violating authors'          4      A. Okay. I'm -- on which page?
 5    copyrights," and it bears a date of July 10, 2013.    5     Q. Page 2.
 6          Mr. Fruchterman, did you provide any            6      A. Page 2.
 7    comments to this article?                             7     Q. Okay. And the paragraph starting "and
 8          MR. KAPLAN: Objection. Vague.                   8   some of those modern eBooks."
 9          THE WITNESS: I will take a moment to            9      A. Yeah.
10    examine the comments.                                10     Q. All right. He says:
11          I think it's a possibility that I              11           "And some of those modern
12    submitted a comment on this, but I didn't find it    12        eBooks for the print-disabled are
13    on the initial inspection. Maybe I need to reread    13        only available in protected DAISY
14    more carefully.                                      14        format."
15    BY MR. HUDIS:                                        15         Do you see that?
16      Q. We're going to go over that.                    16      A. Yes.
17      A. There we go. I just found my comment.           17     Q. Would you describe the DAISY format as a
18      Q. Okay.                                           18   protected format?
19      A. So, yes.                                        19         MR. KAPLAN: Objection. Vague.
20      Q. All right. So you recall Exhibit 63 as          20         THE WITNESS: There are DAISY format
21    being a blog post by Chris --                        21   books that have protections on them and those that
22          MR. KAPLAN: I'm going to ask the               22   do not. DAISY by itself does not require
23    witness to review the entire document.               23   protection.
24          MR. HUDIS: Sure.                               24   BY MR. HUDIS:
25          THE WITNESS: Okay.                             25     Q. Does the -- does the DAISY format come

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 1    with protections, some of them?                       1      A. Because, for example, if I believed
 2       A. Some --                                         2   them, I could not operate the Bookshare library on
 3       Q. I'll reask the question.                        3   that title. And I think that's incorrect.
 4           Do some textual material available in          4      Q. Mr. Fruchterman, I want to verify. Did
 5    DAISY format come with access protections?            5   you write this post of July 12, 2013, at 8:06 p.m.
 6           MR. KAPLAN: Calls for speculation.             6   on page 4 of Exhibit 63?
 7    Lacks foundation. Vague.                              7      A. I would agree that I wrote these posts.
 8           THE WITNESS: Some DAISY libraries use          8      Q. And did you also write the post on
 9    digital rights management technical protection        9   July 12, 2013, at 10:45 p.m., which spans pages 4
10    mechanisms and some -- well, some -- we do, but I    10   and 5 of Exhibit 63?
11    would characterize our books as unprotected rather   11      A. Yes.
12    than protected in the common understanding of what   12      Q. I just want to get some context here
13    "protected" means.                                   13   just to make sure.
14    BY MR. HUDIS:                                        14           "SFWA" stands for the Science and
15       Q. In the context of the question I'm going       15   Fantasy Writers of America?
16    to ask you next, I'd like you to refer to, on        16      A. I believe it's Science Fiction and
17    page 2, the text that Mr. Meadows has called out     17   Fantasy Writers of America.
18    in tan -- in a tan background.                       18      Q. Okay. And you say here at the bottom of
19           Do you see that?                              19   page 4 to the top of page 5:
20       A. Yes.                                           20             "In the case of SFWA, we
21       Q. All right. And it says -- it's the             21         committed ourselves to be against
22    copyright page of X-COM PDF.                         22         digital piracy (already our
23             "No part of this book may be                23         approach since we're an example of
24         reproduced or transmitted in any                24         legal copying without permission,
25         form or by any means, electronic                25         didn't want to support illegal
                                                     246                                                       248
 1         or mechanical, including                         1         copying without permission) and
 2         photocopying, recording or by any                2         increased respect for authors'
 3         information storage or retrieval                 3         rights in the quality of their
 4         system without written permission                4         accessible version of their work."
 5         from Prima Publishing, except for                5           Mr. Fruchterman, what did you mean by
 6         the inclusion of quotations in a                 6   this sentence?
 7         review. All products and                         7           MR. KAPLAN: Objection. Vague.
 8         characters mentioned in this book                8   Compound.
 9         are trademarks of their respective               9           THE WITNESS: Benetech signed an
10         companies."                                     10   agreement with SFWA that contained many of the
11          Do you see that?                               11   things I'm summarizing here. So, yes, we had an
12      A. Yes.                                            12   agreement with the Science Fiction and Fantasy
13      Q. In your comment of July 12, 2013, at            13   Writers of America that could be summarized with
14    8:06 p.m. on page 4 --                               14   this sentence.
15      A. Yes.                                            15           MR. HUDIS: So, Sebastian, we're going
16      Q. -- of Exhibit 63, you say:                      16   to go into Mr. Fruchterman's expert's report. I
17            "Restricted language in a                    17   think now would be a good time to take a break
18         printed book like that quoted from              18   before we dive into that.
19         the copyright page of the X-COM is              19           MR. KAPLAN: Okay. I was wondering if
20         a useless gesture."                             20   we were going to get there.
21          What did you mean by that, that it was a       21           MR. HUDIS: Now --
22    useless gesture?                                     22           THE VIDEOGRAPHER: Going off the record
23      A. As a nonlawyer, I read it as asserting          23   at 3:34 p.m.
24    powers that they don't have.                         24           (Whereupon, a recess was taken.)
25      Q. Why?                                            25           (Whereupon, Deposition Exhibit 64 was

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 1      marked for identification.)                         1          THE WITNESS: Not in this report.
 2          THE VIDEOGRAPHER: Here begins -- here           2   BY MR. HUDIS:
 3    begins Tape No. 4 in the deposition of                3      Q. Do you intend to offer any expert
 4    James Fruchterman. We're back on the record at        4   opinions in this litigation other than that's
 5    3:48.                                                 5   contained in your expert's report of Exhibit 64?
 6    BY MR. HUDIS:                                         6      A. Am I?
 7      Q. Mr. Fruchterman, I place in front of you         7          MR. HUDIS: Note, Counsel has pointed to
 8    what's been marked as Exhibit Fruchterman 64.         8   the --
 9          This is your expert's report?                   9          THE WITNESS: To my expert report.
10       A. Yes.                                           10          MR. HUDIS: To his expert's report.
11      Q. And you've reviewed it before testifying        11          THE WITNESS: I don't -- I believe that
12    today?                                               12   I'm here to talk about the matter of accessibility
13       A. Correct.                                       13   of this document, but --
14      Q. Mr. Fruchterman, I'd like you to turn to        14          MR. KAPLAN: Sorry.
15    page 1.                                              15          THE WITNESS: -- if I'm asked some other
16       A. Yes.                                           16   question and it's okay with the Court, I will
17      Q. In the first paragraph at the top, it           17   answer any other question.
18    says:                                                18          MR. KAPLAN: I'm just pointing you to
19            "As an expert in                             19   the last sentence of the second full paragraph of
20         accessibility of written materials              20   your expert report.
21         for people who have disabilities                21          THE WITNESS: "I reserve the right
22         that affect using standard print,               22         to change or supplement this
23         people who are print-disabled, I                23         report if additional evidence comes
24         have been retained by                           24         to my attention and to prepare
25         Public.Resource.Org to evaluate                 25         demonstrative and/or exhibits to
                                                     250                                                       252
 1          the accessibility of certain                    1        explain my opinions as appropriate."
 2          content that had been available on              2   BY MR. HUDIS:
 3          the web site of the defendant in                3     Q. Other than the reservation in your
 4          this case."                                     4   expert's report that you just read into the
 5           Do you see that?                               5   record, do you intend to provide any other expert
 6        A. Yes.                                           6   opinions in this case other than what's in your
 7        Q. All right. And as you use                      7   expert's report of Exhibit 64?
 8    "accessibility" in this report at the top of          8     A. I do not intend to.
 9    page 1, that's consistent with the definition of      9     Q. So you're offering your opinion or
10    "accessible" or "access" that we discussed this      10   evaluation on the accessibility of certain content
11    morning?                                             11   that had been posted at one time on
12           MR. KAPLAN: Objection. Vague.                 12   Public.Resource's web site?
13           THE WITNESS: Yes.                             13         MR. KAPLAN: Objection. Vague and
14    BY MR. HUDIS:                                        14   compound.
15        Q. And when you discuss people who are           15         THE WITNESS: Yes.
16    print-disabled, that's consistent with the           16   BY MR. HUDIS:
17    definition of "print-disabled" that you testified    17     Q. Your evaluation on the accessibility of
18    to this morning?                                     18   content that had been posted on the
19           MR. KAPLAN: Objection. Vague.                 19   Public.Resource's web site concerns the 1999
20           THE WITNESS: Yes.                             20   edition of the Standards for Educational and
21    BY MR. HUDIS:                                        21   Psychological Testing.
22        Q. All right. You are not offering your          22     A. Yes.
23    expertise on any other topic related to this         23     Q. And if we refer to that document as "the
24    litigation?                                          24   1999 standards," you'll understand what I mean?
25           MR. KAPLAN: Objection. Vague.                 25     A. Yes.

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 1       Q. You are not offering your evaluations on        1          MR. KAPLAN: Because you sent it to us.
 2    the Internet posting of any other content related     2          MR. HUDIS: We actually --
 3    to this litigation, other than the 1999 standards?    3          MR. KAPLAN: I think.
 4       A. On two different web sites, yes.                4          MR. HUDIS: Well, no.
 5    Although, I will note that I searched for them on     5          MR. KAPLAN: Actually, I don't know.
 6    other web sites.                                      6   Matt handled that part of it.
 7       Q. So apart from the Public.Resource web           7          MR. HUDIS: Yeah. We actually -- all
 8    site and the Internet archive web site, you were      8   the counsel waived the expert fee for all experts.
 9    not offering your evaluations on the Internet         9          MR. KAPLAN: Yeah, that may have been
10    posting of the 1999 standards to any other web       10   the other case.
11    site?                                                11          THE WITNESS: I don't know. It said $40
12           MR. KAPLAN: Objection. Vague.                 12   on the thing that I was shown this morning. And
13           THE WITNESS: I didn't find them on any        13   so -- which I didn't remember seeing.
14    other web site.                                      14          MR. KAPLAN: Okay.
15    BY MR. HUDIS:                                        15   BY MR. HUDIS:
16       Q. That's not what I asked, though.               16      Q. Whether for compensation or not,
17           So what I asked was you are not offering      17   Mr. Fruchterman, did you enter into any agreement
18    your evaluations on the Internet posting of the      18   with Public.Resource in connection with your
19    1999 standards to any other web site besides         19   participation in this litigation?
20    Public.Resource's web site and the Internet          20          MR. KAPLAN: Objection. Vague.
21    Archive web site?                                    21          THE WITNESS: Yes.
22           MR. KAPLAN: Objection. Vague.                 22   BY MR. HUDIS:
23           THE WITNESS: Yes, I am offering my            23      Q. Was it a written agreement?
24    evaluation on the availability of the 1999           24          MR. KAPLAN: Objection. Argumentative
25    standards on other web sites where I did not find    25   and vague.
                                                     254                                                      256
 1    them.                                                 1           THE WITNESS: Yes.
 2           (Reporter clarification.)                      2           MR. HUDIS: Counsel, just noted, we have
 3           THE WITNESS: 1999.                             3   never been provided with that agreement. We
 4           MR. HUDIS: 1999.                               4   didn't think that it was necessary to ask for it
 5        Q. Mr. Fruchterman, your entire                   5   by way of subpoena since that's part of what's
 6    participation in this litigation is pro bono?         6   required under Federal Rules 26.
 7           MR. KAPLAN: Objection. Calls for a             7   BY MR. HUDIS:
 8    legal conclusion. Vague.                              8      Q. Mr. Fruchterman --
 9           THE WITNESS: I am offering my time pro         9           MR. KAPLAN: Where is that required
10    bono, yes.                                           10   by --
11    BY MR. HUDIS:                                        11           MR. HUDIS: Well, it's part -- that's
12        Q. You are not receiving any compensation        12   what's part of the expert's report.
13    for your participation in this litigation?           13           MR. KAPLAN: I'm sorry. I don't know
14           MR. KAPLAN: Objection. Vague.                 14   what you mean by that.
15           THE WITNESS: Not for my time, no.             15           MR. HUDIS: Part of the --
16    BY MR. HUDIS:                                        16           MR. KAPLAN: Looking at
17        Q. Are you receiving compensation for any        17   Rule 26(a)(2)(B)?
18    other purpose for your participation in this         18           MR. HUDIS: (a)(2)(B).
19    litigation?                                          19           MR. KAPLAN: I don't see it.
20           MR. KAPLAN: Objection. Vague.                 20           MR. HUDIS: It's -- I believe it's the
21           THE WITNESS: I have not been offered          21   last item.
22    any compensation up till this point for any          22           MR. KAPLAN: The statement of the
23    expenses I have incurred with respect to this,       23   compensation to be paid for the study and
24    though, in theory, you sent me a check for $40,      24   testimony in the case is what the rule says.
25    but I didn't get it.                                 25           MR. HUDIS: So anyway, Counsel, I just

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                                                     257                                                       259
 1    note that the agreement that Mr. Fruchterman has      1     Q. Can you find that in your expert's
 2    just testified to was not produced. We think it       2   report?
 3    should be.                                            3     A. Reading from the page that we're
 4       Q. Mr. Fruchterman, if you could turn to           4   referring to:
 5    page 3 of your expert's report. And when I say        5           "The other groups of people
 6    "expert's report," just note for the record that I    6        with print disabilities use
 7    am constantly referring to Exhibit 64 so I don't      7        similar technologies to access
 8    have to constantly say it over and over again.        8        print, such as having it read
 9       A. Yes.                                            9        aloud, and experience similar
10       Q. Are you there? All right.                      10        challenges as blind people. In
11           So, Mr. Fruchterman, you limited the          11        the accessibility field, it is
12    focus of your report to accessibility challenges     12        generally understood that if you
13    faced by totally blind people.                       13        make information accessible to a
14           MR. KAPLAN: Is there a question?              14        blind person, it will probably
15           MR. HUDIS: Yes.                               15        also meet the accessibility needs
16           MR. KAPLAN: What is the question?             16        of the great majority of people
17    BY MR. HUDIS:                                        17        with other print disabilities."
18       Q. You limited the focus of your report to        18         I can continue to search my report for
19    accessibility challenges faced by totally blind      19   other references that I feel address that need.
20    people.                                              20         Would you like me to do that?
21       A. That sounds like a statement.                  21     Q. Go ahead. I don't think you'll find
22       Q. All right. Do you --                           22   them, but please go ahead.
23       A. Do you want to reframe it as a question?       23     A. Okay. On page 6:
24       Q. Sure. Mr. Fruchterman --                       24           "The unavailability of a
25       A. Thank you.                                     25        version of the 1999 standards that
                                                     258                                                       260
 1       Q. -- did you limit the focus of your              1         is accessible to people who are
 2    report to accessibility challenges based -- faced     2         blind or print-disabled is
 3    by totally blind people?                              3         problematic because the 1999
 4           MR. KAPLAN: Objection. Vague.                  4         standards are important references
 5           THE WITNESS: I believe that I talked           5         for those making tests that are
 6    about a variety of people with different              6         accessible to students who are
 7    disabilities and that I focused my report on the      7         print-disabled as well as those
 8    needs of people with -- who are blind, because        8         impacted by these tests."
 9    they generally have the most severe needs. But I      9      Q. And that's your -- that, in your view,
10    did discuss the needs of other people with print     10   is a discussion of making print content available
11    disabilities.                                        11   to people with -- who are visually impaired?
12    BY MR. HUDIS:                                        12           MR. KAPLAN: Objection. Argumentative.
13       Q. Well, Mr. Fruchterman, you did not             13   Vague.
14    consider print accessibilities -- accessibility      14           THE WITNESS: I include them in the
15    problems faced by the visually impaired.             15   definition of people with print disabilities. I
16       A. That sounds like a statement again.            16   have an additional line I can read from this page.
17           Do you want to reframe it as a question.      17   BY MR. HUDIS:
18       Q. All right. Well, that's either a yes or        18      Q. Please.
19    no.                                                  19      A. I will look for more references to print
20           Isn't it true, you did not consider           20   disabilities, but as a starting point,
21    print accessibility problems faced by the visually   21             "This also means that it is
22    impaired?                                            22         an important resource to any
23       A. I believe I did consider the                   23         students or other individuals with
24    accessibility problems of people who are visually    24         print disabilities who want to
25    impaired.                                            25         assess compliance with the 1999

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 1          standards. The unavailability of                1          MR. KAPLAN: Objection. Asked and
 2          the 1999 standards means that some              2   answered. Vague, confusing.
 3          of those who are most impacted,                 3          MR. HUDIS: I don't believe he's
 4          people who are blind or                         4   answered the question.
 5          print-disabled, are unable to                   5          MR. KAPLAN: That's your opinion,
 6          independently access the 1999                   6   Counsel.
 7          standard."                                      7          THE WITNESS: So the question, why did I
 8       Q. So in that -- in that passage that you          8   focus on that?
 9    just read, you are equating people who are totally    9   BY MR. HUDIS:
10    blind with people who have print disabilities?       10      Q. Yes.
11           MR. KAPLAN: Objection. Vague.                 11      A. I think from our extensive discussion
12    Misstates the document and the testimony.            12   today, that taking an inaccessible print document
13    Confusing.                                           13   and turning it into text is a fundamental element
14           THE WITNESS: My phrase is "people who         14   of accessibility.
15    are blind or print-disabled." That way I was         15          A person with a physical disability who
16    including people who are print-disabled who aren't   16   cannot turn a page can greatly benefit from having
17    blind, but I wasn't meaning to say that blind        17   a digital copy of that book so that they can, for
18    people are not print-disabled.                       18   example, use electronic controls to turn the page.
19    BY MR. HUDIS:                                        19          So when I say that I focused on the
20       Q. Just so we have a working context here,        20   needs of blind people, is if you solve the needs
21    so "print-disabled" can mean the following:          21   of blind people, you solve the needs of every
22    Totally blind?                                       22   other one of the categories of print-disabled
23       A. Correct.                                       23   persons that are in that definition.
24       Q. Somebody who has low vision?                   24          Please. And I note that I haven't
25       A. Right.                                         25   actually gone through the rest of the report to
                                                     262                                                       264
 1       Q. Somebody who is learning-disabled?              1   look for more examples of this. There may be
 2       A. Okay.                                           2   more. But I'll let you manage the time of how I
 3       Q. Someone who is brain-injured?                   3   spend that time.
 4       A. Mh-hmm.                                         4      Q. Thank you, Mr. Fruchterman.
 5       Q. And someone who is physically disabled          5      A. Certainly.
 6    so that the person cannot pick up text?               6      Q. All right. Now, looking at page 3, at
 7           MR. KAPLAN: Objection. Vague and               7   the bottom, it's the third full paragraph, which
 8    misleading.                                           8   also spans to page 4, you say:
 9           THE WITNESS: That describes, I'd say,          9            "The most common technology
10    over 95 percent of people with print disabilities,   10         used by a blind person for
11    but there are quite another -- other diagnoses       11         accessibility is called a screen
12    that would qualify as print disabilities beyond      12         reader."
13    those.                                               13          First of all, what is a screen reader?
14    BY MR. HUDIS:                                        14      A. Quoting from the report, a screen reader
15       Q. All right.                                     15   is a program that runs on a personal computer or a
16       A. For example, cortical blindness would be       16   smartphone that reads the information on the
17    an example of something where the eyes work fine,    17   screen aloud using a computer-synthesized voice.
18    but they still can't perceive.                       18      Q. Is that also known as text to speech or
19       Q. All right. So, Mr. Fruchterman, I turn         19   TTS?
20    now back to page 3, the second paragraph. What I     20      A. It utilizes text to speech as the most
21    want to know is why did you say:                     21   common way of outputting information from a screen
22             "I focused on the                           22   reader.
23         accessibility challenges that                   23      Q. In your report, did you consider the
24         would be experienced by blind                   24   accessibility of the 1999 standards through screen
25         people"?                                        25   magnification systems?

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 1           MR. KAPLAN: Objection. Vague.                1   BY MR. HUDIS:
 2           THE WITNESS: I don't believe that I          2      Q. It's Braille technology using a slate
 3    discussed screen magnification in this report.      3   and stylus.
 4    BY MR. HUDIS:                                       4          MR. KAPLAN: Objection. Vague.
 5       Q. In your report, Mr. Fruchterman, did you      5          THE WITNESS: The question still doesn't
 6    consider the accessibility of the 1999 standards    6   make any sense to me.
 7    through a portable magnifier?                       7   BY MR. HUDIS:
 8           MR. KAPLAN: Objection. Vague.                8      Q. In your report, did you consider the
 9           THE WITNESS: No, I did not.                  9   accessibility of the 1999 standards through a
10    BY MR. HUDIS:                                      10   Braille embosser?
11       Q. In your report, did you consider the         11          MR. KAPLAN: Objection. Vague.
12    accessibility of the 1999 standards through a      12          THE WITNESS: Yes, because you emboss
13    video magnifier?                                   13   text by sending it -- basically, you create a
14           MR. KAPLAN: Objection. Vague.               14   Braille document by sending text to the Braille
15           THE WITNESS: No, I did not.                 15   embosser, like a printer.
16    BY MR. HUDIS:                                      16   BY MR. HUDIS:
17       Q. In your report, did you consider the         17      Q. Text in what form? Digital text?
18    accessibility of the 1999 standards through        18      A. Yes.
19    closed-circuit television technology?              19      Q. And that would have to be OCR scanned
20           MR. KAPLAN: Objection. Vague.               20   digital text or text recognized?
21           THE WITNESS: No, I did not.                 21          MR. KAPLAN: Objection. Compound.
22    BY MR. HUDIS:                                      22   Vague.
23       Q. Okay. In your report, did you consider       23          THE WITNESS: Any text can be sent to a
24    the accessibility of the 1999 standards through    24   Braille printer, much as any text can be sent to a
25    Braille display technology?                        25   print printer.
                                                   266                                                       268
 1           MR. KAPLAN: Objection. Vague.                1   BY MR. HUDIS:
 2           THE WITNESS: I might have. Yes, I did.       2      Q. Did you consider the accessibility of
 3    BY MR. HUDIS:                                       3   the 1999 standards through refreshable Braille?
 4       Q. Where?                                        4         MR. KAPLAN: Objection. Vague.
 5       A. On page 11, second sentence.                  5         THE WITNESS: Yes, when I use the phrase
 6             "Because the text is provided              6   "a digital Braille device," I was referring it --
 7         in the standard format, such as                7   basically to all types of digital Braille devices,
 8         Microsoft Word, a blind person is              8   which would include an embosser, a note taker, a
 9         able to listen to the text or                  9   Braille display. It would not include slate and
10         access it using a digital Braille             10   stylus.
11         device. This kind of text content             11   BY MR. HUDIS:
12         is also highly accessible to                  12      Q. Mr. Fruchterman, now I'd like to know
13         people with other print                       13   your understanding of the following terms we've
14         disabilities and the assistive                14   used.
15         telling technology they use to                15         What is a screen magnification system?
16         access print. For example, people             16      A. It is software that operates on top of a
17         with low vision or dyslexia often             17   PC or device to magnify what's on the screen.
18         use a screen reader to read text              18      Q. And what is your understanding of a
19         aloud."                                       19   portable magnifier?
20       Q. Mr. Fruchterman, in your report, did you     20      A. Most commonly, a magnifying glass. But
21    consider the accessibility of the 1999 standards   21   there are other variations on the theme.
22    through writing Braille?                           22      Q. Can it include a video magnifier with a
23           MR. KAPLAN: Objection. Vague.               23   handheld camera?
24           THE WITNESS: As phrased, that question      24      A. It can.
25    doesn't make sense to me.                          25      Q. And what's your understanding of what a

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 1    video magnifier is?                                   1      A. Yes.
 2       A. It would be a -- most commonly a device         2      Q. System Access from Serotek?
 3    with a camera and a monitor attached to it that       3      A. Yes.
 4    would magnify what's in the field of view of the      4      Q. ZoomText from Ai Squared?
 5    camera.                                               5      A. ZoomText is a combination screen reader,
 6       Q. Is that also known as closed-circuit            6   but most people think of it as a screen
 7    television technology?                                7   magnification product.
 8       A. That's another term for the same.               8      Q. And NVDA open source screen reader.
 9       Q. And you said that you considered the use        9      A. Yes.
10    of Braille display technology.                       10      Q. Would screen reader technology work with
11          What is your understanding of Braille          11   an image-only PDF document?
12    display technology?                                  12         MR. KAPLAN: Objection. Incomplete
13       A. Do you want to know how it works?              13   hypothetical. Vague.
14       Q. No. Just your understanding.                   14         THE WITNESS: Some do. Some screeners
15       A. It takes text and displays Braille to          15   also have image magnification as well as screen
16    the reader in a tactile form.                        16   reading. So you can make it big or change the
17       Q. Mr. Fruchterman, I'm turning again now         17   contrast by reversing the contrast or changing the
18    to page 3 of your expert's report at the bottom.     18   colors, so -- but that would be not the typical
19          Please describe generally how screen           19   use.
20    reader technology works.                             20   BY MR. HUDIS:
21       A. Screen reader is a separate software           21      Q. What is the typical use of screen reader
22    program that operates on top of the program that     22   technology?
23    the person is using at that moment and changes       23         MR. KAPLAN: Objection. Vague.
24    generally the visual and auditory presentation of    24   Confusing.
25    that material, most commonly by reading what's on    25         THE WITNESS: Generally, to read what's
                                                     270                                                       272
 1    the screen aloud.                                     1   on the screen aloud in words.
 2       Q. All right. And is that example of text          2   BY MR. HUDIS:
 3    to speech?                                            3      Q. So text to speech?
 4           MR. KAPLAN: Objection. Vague.                  4      A. Yes.
 5           THE WITNESS: Different users use their         5      Q. So would screen reader technology for
 6    screen reader with different forms of information.    6   text to speak -- text to speech work with an
 7    The most common is text to speech. But, for           7   image-only PDF document?
 8    example, a deaf/blind person uses a screen reader     8          MR. KAPLAN: Objection. Incomplete
 9    with a Braille display, and the text is -- that's     9   hypothetical. Vague.
10    on the screen is presented on the Braille display.   10          THE WITNESS: No.
11    BY MR. HUDIS:                                        11   BY MR. HUDIS:
12       Q. And, again, so that -- if it's a blind         12      Q. Mr. Fruchterman, please turn to page 4
13    and deaf person, it would be a tactile Braille?      13   of your report. And I'm focusing in on the first
14       A. All Braille is tactile. Or at least all        14   full paragraph of that page. The paragraph starts
15    sensible uses of Braille are tactile, though there   15   "For the purpose of this report."
16    are sighted people who can read Braille visually,    16          Do you see that?
17    so ...                                               17      A. Mh-hmm.
18       Q. I'd like to know if you recognize these        18      Q. And the second sentence says:
19    as brand names of screen reader technology.          19            "Based on the information the
20           JAWS from Freedom Scientific?                 20         screen reader can glean from the
21       A. Yes.                                           21         pages displayed on the screen, can
22       Q. Window-Eyes from GW Micro?                     22         a blind person locate the standard
23       A. Yes.                                           23         and read it."
24       Q. Okay. Dolphin SuperNova from Dolphin           24          In this context, what did you mean by
25    Computer Access?                                     25   "locate the standard"?

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 1       A. In this context, I was focusing on web          1           In the context of that sentence, what
 2    searches.                                             2   did you mean by "assistive technology"?
 3       Q. And in this context, what did you mean          3      A. I would include all the different
 4    by "read the standard"?                               4   technology that people, in this case blind users,
 5       A. Basically, read it aloud, generally,            5   would use to -- to access information.
 6    would be the most common use.                         6      Q. And that would include the technologies
 7       Q. Which, if the person was blind, could           7   we discussed previously?
 8    not do?                                               8           MR. KAPLAN: Objection. Vague.
 9           MR. KAPLAN: Objection. Vague and               9           THE WITNESS: Yes.
10    confusing.                                           10   BY MR. HUDIS:
11           THE WITNESS: Well, if they located a          11      Q. All right. All right. So in the
12    text version of the standard, they certainly could   12   context of a totally blind person, that would
13    read it aloud.                                       13   include screen reader technology?
14    BY MR. HUDIS:                                        14      A. Most commonly, yes.
15       Q. They'd need assistive technology to do         15      Q. But it would not include screen
16    so?                                                  16   magnification systems because that would be of no
17       A. Yes. But when -- when I use the term           17   use to a blind person?
18    "can a blind person read it," I'm presuming that     18      A. Many of the tasks that I examined, I was
19    they're using technology to read it as opposed to    19   also considering whether other people with print
20    something else.                                      20   disabilities could use that same content because,
21       Q. And when you say "use technology," what        21   as I've noted, people with low vision and dyslexia
22    did you mean?                                        22   often use screen readers as well.
23           MR. KAPLAN: Objection. Vague.                 23      Q. My question was screen magnification
24           THE WITNESS: Okay. Taking a step back.        24   systems would not be of use to a blind person;
25                                                         25   isn't that correct?
                                                     274                                                        276
 1    BY MR. HUDIS:                                         1          MR. KAPLAN: Objection. Incomplete
 2       Q. Sure.                                           2   hypothetical. Vague.
 3       A. When a blind person says "I've read a           3          THE WITNESS: A screen magnification
 4    book," they mean that they have ingested the          4   system would not be useful to a completely blind
 5    content of that book in a way that would be           5   person, that is correct.
 6    similar to what a sighted person would do. And        6   BY MR. HUDIS:
 7    whether they did that in Braille or by listening      7      Q. All right. And closed-circuit
 8    to it, or if they're low vision, seeing it            8   television technology would not be of any use to a
 9    enlarged, they, in the common use of "I read that     9   completely blind person --
10    book," a blind or vision-impaired person would       10          MR. KAPLAN: Objection.
11    mean those things without describing the             11   BY MR. HUDIS:
12    technology that they happen to use to read that      12      Q. -- that is also correct?
13    book.                                                13          MR. KAPLAN: Objection. Vague.
14       Q. Mr. Fruchterman, I'm looking now at the        14          THE WITNESS: Yes.
15    second full paragraph on page 4.                     15   BY MR. HUDIS:
16             "The accessibility tasks I                  16      Q. Mr. Fruchterman, at the bottom of page 4
17          tested were designed to assess                 17   of your report, what did you mean by "the
18          whether a blind user with basic                18   functional approach as a method of assessing
19          assistive technology skills could              19   accessibility"?
20          perform the same kind of tasks one             20          MR. KAPLAN: Objection. Vague.
21          might expect a user without a                  21          THE WITNESS: Can a person with a
22          disability to perform in accessing             22   disability functionally do tasks similar to those
23          a given standard without requiring             23   of people who do not have a disability?
24          the intervention of a third                    24   BY MR. HUDIS:
25          party."                                        25      Q. So that's to obtain the content, to read

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 1    the content, and make structural use of the          1   Vague.
 2    document?                                            2          THE WITNESS: I would do a Google search
 3           MR. KAPLAN: Objection. Confusing.             3   on "automated accessibility tools" and I would
 4    Misstates testimony. Vague.                          4   find a bunch of them.
 5           THE WITNESS: I included do a full-text        5   BY MR. HUDIS:
 6    search and find specific mentions of terms of        6      Q. Are there any ones that you know of as
 7    interest.                                            7   we sit here today?
 8    BY MR. HUDIS:                                        8          MR. KAPLAN: Objection. Vague.
 9       Q. Now, you call the functional approach          9          THE WITNESS: I have certainly used them
10    "the most common method of assessing                10   in the past, and I find them through Google
11    accessibility."                                     11   searches. And I've certainly -- I've used one in
12           Do you see that?                             12   the last year. I just don't memorize their brand
13       A. Yes.                                          13   names because they're generally free on the
14       Q. Are there any other methods of assessing      14   Internet.
15    print accessibility?                                15   BY MR. HUDIS:
16           MR. KAPLAN: Objection. Vague.                16      Q. Can you recall any such automated tools
17           THE WITNESS: There are, let's say,           17   by their -- by its brand name?
18    attempts to say do these ten things, and your       18          MR. KAPLAN: Objection. Vague.
19    document will be accessible. And those approaches   19          THE WITNESS: I know early on, the
20    have often fallen short of actually being usable    20   Center on Applied Special Technology, CAST, had an
21    by disabled people.                                 21   elevated tool for assessing this, and it had a
22           So when implementing accessibility,          22   name like Willie (phonetic) or Sammy (phonetic) or
23    people usually focus on functional elements, like   23   something. But, no, I don't. I know -- I can
24    can a person with a disability actually do this     24   remember a brand name, CAST, who was the original
25    task, as opposed to did you follow a checklist,     25   publisher of this accessibility tool.
                                                    278                                                       280
 1    which might end up in resulting in them not being    1   BY MR. HUDIS:
 2    able to do that task.                                2      Q. So other than automated tools and the
 3    BY MR. HUDIS:                                        3   functional approach for assessing print
 4       Q. Are there any other usable methods of          4   accessibility, can you name any other method as
 5    assessing print accessibility besides the            5   you sit here now for assessing print
 6    functional method?                                   6   accessibility?
 7           MR. KAPLAN: Objection. Vague.                 7          MR. KAPLAN: Objection. Vague.
 8           THE WITNESS: Yes. You could design a          8          THE WITNESS: Well, I would certainly
 9    completely automated tool that purported to          9   refer you to the W3C web content accessibility
10    access -- to assess accessibility.                  10   guidelines that specify a standard for
11    BY MR. HUDIS:                                       11   assessing -- I would say that they primarily
12       Q. And what would such an automated tool         12   follow a functional approach, but they also have a
13    do?                                                 13   proscriptive approach.
14           MR. KAPLAN: Objection. Incomplete            14   BY MR. HUDIS:
15    hypothetical. Vague.                                15      Q. What is the proscriptive approach?
16           THE WITNESS: It might show -- okay.          16      A. I think I've kind of alluded to it
17    These tools do exist. And like any pattern          17   earlier. It's to follow a set of specifications
18    recognition system, they have errors. They pick     18   without actually testing them.
19    up problems that aren't problems. They miss         19          An example of a proscriptive approach is
20    problems that are problems. And they don't see      20   don't have flashing lights that go at a certain
21    things that they weren't designed to see.           21   number of hertz because it might trigger an
22    BY MR. HUDIS:                                       22   epileptic seizure. So that's something, for
23       Q. Could you give me an example of such an       23   example, that -- don't do this. And there's no
24    automated tool?                                     24   need to test this on an epileptic person to see if
25           MR. KAPLAN: Objection. Argumentative.        25   it generates a seizure. Just don't do this.

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 1       Q. So as I understand your definition of "a        1   BY MR. HUDIS:
 2    proscription approach to assessing print              2      Q. Mr. Fruchterman, I'd like to create a
 3    accessibility," it is a checklist of items without    3   shorthand so that we can be efficient in the rest
 4    testing them in context?                              4   of your testimony.
 5           MR. KAPLAN: Objection. Misstates               5          So referring back to your expert's
 6    testimony. Vague.                                     6   report at page 5, the first paragraph:
 7           THE WITNESS: Correct.                          7        "I was asked to review the
 8    BY MR. HUDIS:                                         8     accessibility of the 1999 edition of the
 9       Q. In your report, what distinction do you         9     standards for people who are blind or
10    make, Mr. Fruchterman, between one who is blind      10     otherwise print-disabled."
11    and one who is otherwise print-disabled?             11          I'm going to use the term "accessibility
12           MR. KAPLAN: Objection. Argumentative.         12   review."
13    Vague.                                               13          Can you -- can we use that as a
14           THE WITNESS: I consider blind people to       14   shorthand for the work you did in the report you
15    be a subset of those people with print               15   have given us?
16    disabilities.                                        16          MR. KAPLAN: Objection. Calls for
17    BY MR. HUDIS:                                        17   speculation.
18       Q. In what way is a blind person a subset         18          THE WITNESS: Fine.
19    of people with print disabilities?                   19   BY MR. HUDIS:
20       A. Let me rephrase that more carefully.           20      Q. Okay. What tools did you use for your
21           There are, let's say, a population of         21   accessibility review of the 1999 standards?
22    people who have print disabilities, which I would    22          MR. KAPLAN: Objection. Vague.
23    generally define functionally as having a            23          THE WITNESS: A variety of technological
24    limitation when it comes to accessing print.         24   tools, usually using a computer, assistive
25    People who have a visual impairment that is          25   technology, web browsers, commonly available
                                                     282                                                      284
 1    commonly described as blindness are one of those      1   software.
 2    people.                                               2   BY MR. HUDIS:
 3           But there are many people with other           3      Q. Was the ABBYY FineReader one of those
 4    print disabilities that do not meet the definition    4   tools?
 5    of blindness as its commonly understood.              5      A. Yes.
 6       Q. Mr. Fruchterman --                              6      Q. And was Window-Eyes one of those tools?
 7           MR. KAPLAN: Jonathan, we've been going         7      A. Yes.
 8    almost an hour. Do you want to take a break when      8      Q. And you used those pieces of software on
 9    you've reached the end of a line of questions?        9   a Windows-based PC?
10           MR. HUDIS: Actually, now is a good            10      A. Yes.
11    time.                                                11      Q. As part of your accessibility review,
12           MR. KAPLAN: Okay.                             12   what did you use the ABBYY FineReader software
13           THE WITNESS: Okay.                            13   for?
14           MR. KAPLAN: Go off the record at              14          MR. KAPLAN: Objection. Vague.
15    4:28 --                                              15          THE WITNESS: One of the two standards I
16           THE WITNESS: I guess I moved, huh?            16   was examining was an image-based PDF, and I used
17           THE VIDEOGRAPHER: You did, but people         17   the ABBYY FineReader software to do optical
18    do.                                                  18   character recognition on the image-based PDF to
19           THE WITNESS: Right after saying that I        19   create a text version of the standard.
20    didn't move, I, of course --                         20   BY MR. HUDIS:
21           THE VIDEOGRAPHER: Going off the record        21      Q. And when you use the term "the
22    at 4:29.                                             22   standard," you're talking about the 1999
23           (Whereupon, a recess was taken.)              23   standards?
24           THE VIDEOGRAPHER: We are back on record       24      A. Correct.
25    at 4:37.                                             25      Q. Do you remember what version of the

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 1    ABBYY FineReader software you used?                   1   accessible text?
 2       A. No. But a recent one from this year.            2      A. Recognized text is text that has been
 3       Q. Do you know how the price of the ABBYY          3   created through a process using recognition.
 4    FineReader program that you use compares with         4   Accessible text is digital text without regard to
 5    competitor OCR software programs on the market?       5   its source production mechanism. For example, it
 6           MR. KAPLAN: Objection. Vague.                  6   could be created digitally by typing it into a
 7           THE WITNESS: I'm familiar that they            7   word processor, and it would be accessible text
 8    range from free or nearly free to many thousands      8   without it ever having been recognized.
 9    of dollars.                                           9      Q. So recognized text, for example, would
10    BY MR. HUDIS:                                        10   be to use OCR technology on a PDF image-only
11       Q. And where would the ABBYY FineReader           11   document?
12    program fall in that spectrum?                       12          MR. KAPLAN: Objection. Incomplete
13       A. I don't know. I didn't buy it.                 13   hypothetical. Vague.
14       Q. Mr. Fruchterman, in your report, you use       14          THE WITNESS: That would be one way to
15    two different terms, and I'd like to know if there   15   produce recognized text.
16    is a distinction with a difference or a              16   BY MR. HUDIS:
17    distinction without a difference.                    17      Q. All right. Now, accessible text, an
18           On page 8, the first full paragraph at        18   example would be creating a Word document, but
19    the bottom, you use the term "recognized text."      19   that's not necessarily using recognition
20           Do you see that?                              20   technology?
21       A. As in the resulting word processor file,       21          MR. KAPLAN: Objection. Vague.
22    a recognized text --                                 22   Incomplete hypothetical.
23       Q. Yes.                                           23          THE WITNESS: There are many ways you
24       A. -- could then be read using a screen           24   can create a Word document.
25    reader?                                              25
                                                    286                                                        288
 1       Q. Yes.                                            1   BY MR. HUDIS:
 2       A. Okay.                                           2      Q. And using --
 3       Q. And then on page 10 at the top, you use         3      A. And they would generally be accessible.
 4    the term "accessible text." It's the sentence         4      Q. All right. So one way to create
 5    just before the picture.                              5   accessible text would be to use Microsoft Word?
 6       A. Accessible --                                   6           MR. KAPLAN: Objection. Incomplete
 7           MR. KAPLAN: That's the end of the              7   hypothetical. Vague.
 8    question.                                             8           THE WITNESS: There are many ways to use
 9           MR. HUDIS: I wanted him to look at the         9   Microsoft Word, but typing into Microsoft Word
10    two different terms for reference.                   10   would be an example of a way to create accessible
11           THE WITNESS: I've looked at the two           11   text.
12    terms.                                               12           Copying, pasting from an Internet
13    BY MR. HUDIS:                                        13   document web page into a Word document would be
14       Q. All right. Now, here's the question:           14   taking accessible text in one program, a web
15    Do you make any distinction between "recognized      15   browser, and putting it into a different program,
16    text" and "accessible text"?                         16   a web or processor.
17           MR. KAPLAN: Objection. Vague.                 17   BY MR. HUDIS:
18           THE WITNESS: Yes.                             18      Q. And the distinction with -- you're
19    BY MR. HUDIS:                                        19   making with recognized text is you are taking text
20       Q. What is the distinction?                       20   that's in an image document, using technology to
21       A. Recognized text is a subset of                 21   recognize it and make it accessible?
22    accessible text.                                     22           MR. KAPLAN: Objection. Vague and
23       Q. So let's have these definitions one at a       23   confusing.
24    time.                                                24           THE WITNESS: Yes. That's one way to
25           What is recognized text and what is           25   create recognized text.

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 1    BY MR. HUDIS:                                         1   in the ABBYY FineReader, one which I looked at
 2       Q. If you know, how commonly is the ABBYY          2   more pages on. But it didn't seem like a
 3    FineReader software used by the blind or visually     3   significant number.
 4    impaired to convert textual material to recognized    4      Q. As part of your accessibility review,
 5    text?                                                 5   what did you use the Window-Eyes software for?
 6           MR. KAPLAN: Objection. Vague.                  6          MR. KAPLAN: Objection. Vague.
 7    Compound.                                             7          THE WITNESS: Window-Eyes is one of the
 8           THE WITNESS: I think of it as one of           8   leading screen readers, and so I was confirming
 9    the top two commercial OCR products that are          9   that functional element of being able to do the
10    frequently used in the production of recognized      10   process and read the recognized text aloud.
11    text.                                                11   BY MR. HUDIS:
12           Many blind consumers have OCR products        12      Q. Do you recall what version of
13    that are built into assistive technology products.   13   Window-Eyes software you used?
14    Many of those license the ABBYY FineReader or        14      A. No. But it would have been a current
15    other leading commercial products. So the            15   one from this year.
16    technology is the same, but the product              16      Q. Do you know how the price of the
17    presentation would be different.                     17   Window-Eyes program that you use compares with
18    BY MR. HUDIS:                                        18   competitor screen reader software programs on the
19       Q. Referring to the top of page 5, why did        19   market?
20    you also use the free online OCR service as part     20          MR. KAPLAN: Objection. Vague.
21    of your accessibility review?                        21          THE WITNESS: I'm aware that it's free
22           MR. KAPLAN: Objection. Vague.                 22   to people who have Microsoft Office. That's
23           THE WITNESS: I just chose to use              23   probably why I chose it.
24    another OCR engine. And by doing a Google search     24   BY MR. HUDIS:
25    on OCR, I found a free online OCR, and I thought,    25      Q. Is Window-Eyes sold as a stand-alone
                                                     290                                                       292
 1    Wow, let's see, let's see if it works as well on      1   program?
 2    that one. Yeah, it does.                              2          MR. KAPLAN: Objection. Lacks
 3    BY MR. HUDIS:                                         3   foundation.
 4      Q. In the context of your accessibility             4          THE WITNESS: It historically has been.
 5    review, how did the OCR conversion process using      5   But I had read of this offer through Microsoft,
 6    the free online OCR service compare with the          6   buying it for all Microsoft Office users, and saw
 7    conversion process you used using the ABBYY           7   that, well, I'll use the free one.
 8    FineReader software?                                  8   BY MR. HUDIS:
 9           MR. KAPLAN: Objection. Vague.                  9      Q. Do you know what the price of the
10    Confusing.                                           10   stand-alone product is for Window-Eyes?
11           THE WITNESS: I visually inspected the         11          MR. KAPLAN: Objection. Vague.
12    pages and didn't see a noticeable difference in      12   Argumentative.
13    OCR accuracy.                                        13          THE WITNESS: I don't recall a current
14    BY MR. HUDIS:                                        14   price. In the past, it was generally cheaper than
15      Q. And what is your definition of "OCR             15   JAWS. Hundreds of dollars as opposed to a
16    accuracy"?                                           16   thousand dollars or more than a thousand dollars.
17       A. Well, in this context, do I spot a bunch       17   BY MR. HUDIS:
18    of errors or not. And I didn't spot very many        18      Q. Generally, without going into minute
19    errors at all, actually.                             19   detail, what steps does the Window-Eyes program go
20      Q. You did spot a few?                             20   through to convert textual material into
21           MR. KAPLAN: Objection. Vague.                 21   synthesized speech?
22    Confusing.                                           22          MR. KAPLAN: Objection. Vague.
23    BY MR. HUDIS:                                        23          THE WITNESS: So think of the
24      Q. Did you spot any errors?                        24   synthesized speech as a printer for words. You
25       A. I am sure I spotted at least one error         25   send a stream of words to it, and it says them

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 1    aloud, much like a printer puts them on a page.       1         MR. KAPLAN: Objection. Vague.
 2           So a screen reader has a bunch of              2         MR. HUDIS: I haven't asked a question
 3    controls so the user can kind of say what they        3   yet. You like that.
 4    want spoken, the stop speech, that's the most         4     Q. So the tools that you used as part of
 5    important control. It also analyzes the structure     5   your accessibility review included the ABBYY
 6    of a document if that structure is available to       6   FineReader software?
 7    it. Analyzes what's on the screen.                    7     A. Mh-hmm.
 8           And so, you know, a screen reader will         8     Q. The free OCR service?
 9    tell you different things depending on whether        9         MR. KAPLAN: Are we doing it this way?
10    you're examining a Word document, a web page, an     10   Okay. Objection. Vague.
11    Excel spreadsheet. But the goal is through the       11   BY MR. HUDIS:
12    use of your -- generally, your keyboard as your      12     Q. Do you want to do it one at a time and
13    input mechanism to control things and listening,     13   say yes or no or --
14    you glean the information from the program and the   14         MR. KAPLAN: That's how you started
15    content in the program that you need to access the   15   doing it, but you're the questioner.
16    information.                                         16         MR. HUDIS: Okay. Right.
17    BY MR. HUDIS:                                        17     Q. I'm going to list the tools I believe
18       Q. How commonly is Window-Eyes software           18   that you have used as part of your accessibility
19    used by the blind or visually impaired to convert    19   review, Mr. Fruchterman, and I'd like to know at
20    textual material into synthesized speech?            20   the end of my list if I have mentioned them all.
21       A. I think of it as the number two screen         21         The ABBYY FineReader software; the free
22    reader.                                              22   OCR service; the Window-Eyes screen reader
23       Q. Which is the number one?                       23   program; the third-party web sites mentioned in
24       A. JAWS.                                          24   your report, which is on page 5; a web browser;
25       Q. What other tools, if any, besides the          25   web search engines; Microsoft Word; and Adobe
                                                     294                                                       296
 1    ABBYY FineReader program, the free OCR service,       1   Acrobat Reader.
 2    Window-Eyes and a Windows-based computer did you      2          MR. KAPLAN: Objection. Vague.
 3    use as part of your accessibility review?             3          THE WITNESS: I think my report also
 4            MR. KAPLAN: Objection. Vague.                 4   mentions going to Amazon.com.
 5            THE WITNESS: Web browser. Web search          5   BY MR. HUDIS:
 6    engines. The web sites of different                   6      Q. Anything else?
 7    organizations.                                        7          MR. KAPLAN: Objection. Vague.
 8    BY MR. HUDIS:                                         8          THE WITNESS: Public -- sorry. Internet
 9       Q. And you listed them in your report?             9   Archive.
10       A. Yes. I think that covers -- did I say          10   BY MR. HUDIS:
11    Microsoft Word?                                      11      Q. Any other tools?
12       Q. You have now.                                  12          MR. KAPLAN: Objection. Vague.
13       A. Yeah. Certainly those seem to be all           13          THE WITNESS: Not that I recollect.
14    the significant ones that come to mind.              14   BY MR. HUDIS:
15       Q. I just want to make sure that I have a         15      Q. Mr. Fruchterman, on pages 5 through 6 of
16    list of all the tools that you've used as part of    16   your report, it says you searched library catalogs
17    your accessibility review for this report. So I'm    17   that serve the print-disabled and conducted an
18    going to list them --                                18   online Google search to find electronic versions
19       A. Add one more?                                  19   of the 1999 standards; is that true?
20       Q. Yes.                                           20          MR. KAPLAN: Are you summarizing or are
21       A. Adobe Acrobat Reader.                          21   you quoting?
22            Let me pause for a second.                   22          MR. HUDIS: Summarizing.
23            Okay. Continue.                              23          MR. KAPLAN: Objection. Vague.
24       Q. So I'm going to list them, and I want to       24   Misstates the document. Confusing.
25    make sure I have a complete list.                    25          THE WITNESS: Yes.

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                                                     297                                                       299
 1    BY MR. HUDIS:                                         1   preparation for people with disabilities.
 2       Q. What -- in this context, what did you           2   BY MR. HUDIS:
 3    mean by an "electronic version"?                      3      Q. Did you determine -- did you attempt to
 4           MR. KAPLAN: Objection. Vague.                  4   determine the level of the demand for the 1999
 5           THE WITNESS: A version that a person           5   standards by the -- by persons who are blind or
 6    could find and download, ideally, in a text           6   visually impaired?
 7    format. But an image-only format would have been      7           MR. KAPLAN: Objection. Vague.
 8    the next best thing.                                  8           THE WITNESS: Not beyond the sites at
 9           And then, I guess, the print version           9   the web sites that I mentioned and plus the fact
10    would have been the third best thing. And then I     10   that it wasn't on any of the web sites was at
11    did find a used version of the book available for    11   least some indication that -- I guess what would
12    sale on Amazon.                                      12   you say -- there are many, many books that people
13    BY MR. HUDIS:                                        13   with disabilities desire that are not available in
14       Q. All right. So you did not find an              14   accessible formats. So -- but if it was already
15    electronic version for download either in text       15   available in accessible format, that would have
16    format or image format?                              16   been an indicator that someone had requested it or
17           MR. KAPLAN: Objection. Vague.                 17   that someone had thought it was worth doing
18           THE WITNESS: Correct.                         18   proactively.
19    BY MR. HUDIS:                                        19   BY MR. HUDIS:
20       Q. You did find a print version of the 1999       20      Q. So is the converse true, the fact that
21    standards for sale on Amazon.com?                    21   it was not available in electronic format on the
22       A. Correct.                                       22   Internet, as you searched for it, means there was
23       Q. Did you capture the Amazon.com web pages       23   not a high demand for it in digital form?
24    showing the 1999 standards for sale on that site?    24           MR. KAPLAN: Objection. Vague.
25           MR. KAPLAN: Objection. Vague.                 25   Confusing.
                                                     298                                                       300
 1           THE WITNESS: No.                               1          THE WITNESS: I don't think you can
 2    BY MR. HUDIS:                                         2   reach that conclusion by its lack of availability
 3       Q. All right. Did you document the                 3   alone.
 4    availability of the 1999 standards for sale on        4   BY MR. HUDIS:
 5    Amazon.com in some other way?                         5      Q. What other facts would you need?
 6           MR. KAPLAN: Objection. Vague and               6          MR. KAPLAN: Objection. Incomplete
 7    confusing.                                            7   hypothetical. Vague.
 8           THE WITNESS: Not beyond noting it in my        8          THE WITNESS: I might measure if
 9    report.                                               9   Google -- like, for example, how many times it was
10    BY MR. HUDIS:                                        10   searched for on Google. That would be some
11       Q. Did you document your searches for the         11   indication of -- of demand for this particular
12    1999 standards online?                               12   document.
13           MR. KAPLAN: Objection. Vague and              13          The fact that I was able to find the
14    confusing.                                           14   document cited at blindness organizations made me
15           THE WITNESS: No, I did not document           15   think that it was, relatively speaking to other
16    them beyond stating in my expert report that I       16   books and education, more important than many
17    performed them.                                      17   other books. So let's just say middling
18    BY MR. HUDIS:                                        18   importance.
19       Q. Do you know the demand for the 1999            19   BY MR. HUDIS:
20    standards by persons who are blind or visually       20      Q. I'm sorry, Mr. Fruchterman, I've never
21    impaired?                                            21   heard the word before.
22           MR. KAPLAN: Objection. Vague.                 22          What is your definition of "middling"?
23           THE WITNESS: Not beyond the mentions by       23      A. This book --
24    a couple of the leading organizations in the field   24      Q. The 1999 standards?
25    that this is a relevant document in test             25      A. -- was referred to in documents on both

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 1    the American Printing House for the Blind and the     1   certainty that it's not in the hundred thousands.
 2    American Foundation for the Blind's web sites.        2   BY MR. HUDIS:
 3           MR. KAPLAN: You just want to answer his        3      Q. And you could probably say with
 4    question, which is define "middling."                 4   certainty that it's not in the hundreds.
 5           THE WITNESS: Definition of "middling."         5          MR. KAPLAN: Objection.
 6    Above zero. Below infinity.                           6          THE WITNESS: I'm not --
 7           MR. KAPLAN: That defines it as moderate        7          MR. KAPLAN: Misleading.
 8    or average in size of note to rank.                   8          THE WITNESS: -- really certain of that.
 9           THE WITNESS: It's not a "Harry Potter"         9   BY MR. HUDIS:
10    book. It's not the political history of Albania      10      Q. You have no knowledge as you sit here
11    from 1960 to 1980.                                   11   about the level of demand for the 1999 standards
12    BY MR. HUDIS:                                        12   by the blind or the visually impaired?
13       Q. So the fact that the 1999 standards are        13          MR. KAPLAN: Objection. Asked and
14    mentioned in publications for the blind does not     14   answered. Vague.
15    tell you the level of demand for the 1999            15          THE WITNESS: Not beyond the
16    standards by people who are blind or otherwise       16   considerations I've already expressed.
17    print-disabled?                                      17          MR. HUDIS: Counsel, what I'm about to
18           MR. KAPLAN: Objection. Vague.                 18   put in front of the witness was already marked
19    Argumentative.                                       19   during Mr. Malamud's deposition. Do you want us
20           THE WITNESS: I disagree.                      20   to re-mark it as a separate exhibit for this
21    BY MR. HUDIS:                                        21   deposition?
22       Q. Why?                                           22          MR. KAPLAN: I think we can use the same
23       A. Because there are many blind educators         23   exhibit number. In this case, not in that case?
24    and many blind students. And testing of blind        24          MR. HUDIS: Yes.
25    people is a very big issue in the blindness field.   25          I'm going to give a copy to the court
                                                     302                                                      304
 1    The number of books specifically mentioned as         1   reporter. Just note for the record that the
 2    relevant to the blindness field is very small         2   document I'm now putting in front of the witness
 3    because the publishing of the American Printing       3   was marked as Exhibit 34 during Mr. Malamud's
 4    House on topics concerning blind people or the        4   deposition on May 12, 2015.
 5    American Foundation for the Blind is very small.      5          THE WITNESS: Do you need to do anything
 6           The fact that it's mentioned at two            6   with it? Okay. And the mike got kind of knocked.
 7    different web sites as an important reference work    7   I don't know if that matters. Okay. All right.
 8    to me is a statement that it is far more likely to    8   BY MR. HUDIS:
 9    be interesting to a blind person, knowing what I      9      Q. Mr. Fruchterman, could you please pull
10    know about the blindness field, than some random     10   out Exhibit 59 that was previously marked at your
11    other title. It's an indication that this is a       11   deposition today. It's in the pile of documents
12    relevant book.                                       12   in front of you.
13           I am certain that some blind person has       13          That's your declaration from the
14    said, I wish I had a copy of this book in an         14   HathiTrust litigation?
15    accessible format, though no one has actually said   15      A. Okay. Was it a truck or an earthquake?
16    that to me. I'm quite certain that that has          16          MR. KAPLAN: I don't think that was an
17    occurred to a blind person in the United States.     17   earthquake.
18       Q. So the fact that the 1999 standards are        18          MR. HUDIS: I think that was a truck.
19    relevant to some blind people does not tell you      19   Bite your tongue.
20    whether the demand for the 1999 standards are        20      Q. Mr. Fruchterman, let's turn back to your
21    something that blind people would want to acquire    21   declaration from the HathiTrust litigation that's
22    in the tens, the hundreds, the thousands, the        22   Exhibit 59.
23    hundred thousand, is it?                             23      A. Yes.
24           MR. KAPLAN: Vague. Argumentative.             24      Q. At pages 6 through 7, paragraphs 25 and
25           THE WITNESS: I could tell you with            25   26.

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 1       A. Yes.                                            1          MR. KAPLAN: I'm sorry. I'm getting
 2       Q. All right. And that's where you                 2   confused about numbers.
 3    discover the levels of complexity of documents?       3          THE WITNESS: Oh, are we on my expert
 4       A. Yes.                                            4   report now?
 5           MR. KAPLAN: It's paragraph 25.                 5          MR. HUDIS: Yes.
 6    BY MR. HUDIS:                                         6          THE WITNESS: Oh, okay.
 7       Q. And then it goes to 26.                         7   BY MR. HUDIS:
 8       A. Talks about costs.                              8      Q. Yes.
 9       Q. Costs.                                          9      A. All right. All right. So a third
10       A. Yeah. Yes. Okay.                               10   document. Okay. Great. 5 and 6.
11       Q. Now, Mr. Fruchterman, I've put in front        11      Q. And I'm pointing you now to the sentence
12    of you what was previously marked during             12   that spans from the bottom of page 5 to the top of
13    Mr. Malamud's deposition as Exhibit 34. And I'm      13   page 6.
14    really focusing you on the textual material after    14      A. Yes.
15    the certificate on the front and after the cover.    15      Q. So, Mr. Fruchterman, you were told by
16    So I want you to concentrate on the textual          16   defense counsel that an electronic version of the
17    material.                                            17   1999 standards was hosted on the
18           MR. HUDIS: All right. And just note           18   Public.Resource.Org web site but has since been
19    for the record, the witness is thumbing through      19   removed during the course of this litigation.
20    Malamud Exhibit 34 to review the textual material.   20      A. Yes, that is a fact that I was informed
21           Let me know when you're ready.                21   of by counsel.
22           While the witness is reading through the      22      Q. All right. You did not obtain this
23    document, Exhibit 34 is the 1999 Standards for       23   information from Carl Malamud?
24    Educational and Psychological Testing.               24      A. No, I did not.
25           THE WITNESS: Okay. I'm ready for a            25      Q. Did you attempt to locate a historical
                                                     306                                                        308
 1    question.                                             1   version of the Public.Resource.Org web site to
 2    BY MR. HUDIS:                                         2   determine whether an electronic version of the
 3       Q. Using the complexity levels discussed in        3   1999 standards was previously hosted there?
 4    your HathiTrust declaration, Exhibit 59, what         4          MR. KAPLAN: Objection. Vague.
 5    level of complexity would you assign to the 1999      5          THE WITNESS: I did discover in
 6    standards?                                            6   Google-searching a placeholder noting the
 7       A. Probably a Level 2. It could be a Level         7   voluntary takedown of the file.
 8    3. It would be in that range.                         8   BY MR. HUDIS:
 9       Q. With that complexity level, how much            9      Q. So other than the placeholder that you
10    would it cost to make the 1999 standards             10   just described, did you conduct, say, using the
11    accessible to persons who are blind or visually      11   Wayback Machine historical search of the
12    impaired?                                            12   Public.Resource.Org web site to determine whether
13       A. Low hundreds of dollars.                       13   an electronic version of the 1999 standards, in
14       Q. To put a finer point on that, when you         14   its full form, was previously hosted there?
15    say "low hundreds," do you mean 100 to $200?         15          MR. KAPLAN: Objection. Vague and
16       A. I'd say 100 to $400.                           16   confusing.
17       Q. Turning back to your expert's report, on       17          THE WITNESS: I did not examine the
18    pages 5 through 6 --                                 18   Wayback Machine as you've described.
19       A. Yes.                                           19   BY MR. HUDIS:
20       Q. -- that's Exhibit 64 --                        20      Q. Did you use any other method to
21           MR. KAPLAN: Objection.                        21   determine whether an historical version of the
22    Mischaracterizes the document.                       22   1999 standards was at any time hosted on the
23           MR. HUDIS: Okay.                              23   Public.Resource.Org web site?
24           MR. KAPLAN: Oh, are we talking about --       24          MR. KAPLAN: Objection. Vague and
25           THE WITNESS: Pages 5 and 6?                   25   confusing.

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                                                     309                                                        311
 1           THE WITNESS: Not beyond the two points         1   confusing.
 2    already mentioned.                                    2          THE WITNESS: I was able to easily read
 3    BY MR. HUDIS:                                         3   the content, and it looked like an OCR device
 4       Q. Turning to page 9 now at the top of your        4   would be able to recognize the characters.
 5    report, Exhibit 64, and I am focused on the first     5   BY MR. HUDIS:
 6    full paragraph under the title "The                   6      Q. As part of your work for the report of
 7    Public.Resource.Org Version of the 1999               7   Exhibit 64, did you compare the text of the PDF
 8    Standards."                                           8   file given to you of 1999 standards with the
 9       A. Yes.                                            9   printed version?
10       Q. Mr. Fruchterman, you were provided by          10          MR. KAPLAN: Objection. Vague.
11    defense counsel with a PDF file containing the       11          THE WITNESS: Not side-by-side.
12    content of the 1999 standards.                       12   BY MR. HUDIS:
13       A. That's my recollection.                        13      Q. Did you check for any missing pages in
14       Q. And it was represented to you by defense       14   the PDF file?
15    counsel that this PDF file containing the 1999       15          MR. KAPLAN: Objection. Vague.
16    standards was the version that had been made         16          THE WITNESS: No.
17    available on the Public.Resource.Org web site at     17   BY MR. HUDIS:
18    one time?                                            18      Q. Did you check for any misaligned pages
19       A. That was my understanding, yes.                19   in the PDF file?
20       Q. You were informed Public.Resource              20          MR. KAPLAN: Objection. Vague.
21    created this PDF file by purchasing a printed copy   21          THE WITNESS: I scanned quite a number
22    of the 1999 standards, chopping off the binding      22   of pages looking for misalignments and didn't see
23    and scanning the pages?                              23   any.
24       A. I am not sure I was informed of that           24   BY MR. HUDIS:
25    fact by anyone in particular. I might have read      25      Q. Did you review the entire document to
                                                     310                                                        312
 1    it in a deposition 'cause I read the deposition       1   look for PDF misaligned pages?
 2    reports. So I don't recall exactly, but that          2          MR. KAPLAN: Objection. Vague.
 3    makes a lot of sense to me, that that would be        3          THE WITNESS: I did not review every
 4    what they would do.                                   4   page.
 5       Q. So you were either informed of that fact        5   BY MR. HUDIS:
 6    either by defense counsel or by reading a             6      Q. After you were provided with the
 7    deposition transcript in this case?                   7   image-only PDF file of the 1999 standards by
 8       A. Yes.                                            8   defense counsel, you used the ABBYY FineReader
 9       Q. The OCR process had not been performed          9   software and free online OCR service to OCR
10    on the electronic PDF file of the 1999 standards     10   process selected pages of the document; isn't that
11    that defense counsel gave to you?                    11   right?
12           MR. KAPLAN: Objection. Vague.                 12      A. Correct.
13           THE WITNESS: Correct. The                     13      Q. All right. You did not OCR process the
14    Public.Resource.Org version of the 1999 standards    14   entire 212 pages of the PDF-scanned 1999
15    was an image-only PDF format.                        15   standards?
16    BY MR. HUDIS:                                        16      A. Correct.
17       Q. Okay. In your report, Mr. Fruchterman,         17      Q. And it is common that OCR processing of
18    on page 9, in that same full paragraph, you          18   scanned text results in text recognition errors?
19    describe the content of the 1999 standards within    19          MR. KAPLAN: Objection. Argumentative.
20    the PDF file given to you by defense counsel to be   20   And vague.
21    the result of a high-quality image scan.             21          THE WITNESS: Depending on the quality
22       A. Mh-hmm. Yes.                                   22   of the scan and the complexity of the material,
23       Q. What did you mean by "high-quality image       23   you would see a variety of OCR error levels, yes.
24    scan"?                                               24   BY MR. HUDIS:
25           MR. KAPLAN: Objection. Vague and              25      Q. After you subjected the selected pages

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                                                    313                                                       315
 1    of the 1999 standards from the PDF document you      1   from the image-only PDF file of the 1999 standards
 2    were given, did you check for the following          2   given to you by defense counsel, you used the
 3    errors, yes or no.                                   3   Window-Eyes software tool to read text aloud and
 4           Misrec errors?                                4   to conduct full-text searches by keyword?
 5           MR. KAPLAN: Objection. Vague.                 5      A. Right.
 6           THE WITNESS: Yes.                             6      Q. All right. Now, Mr. Fruchterman, you
 7    BY MR. HUDIS:                                        7   could not use the Window-Eyes software tool to
 8       Q. Did you find any?                              8   read text of the 1999 standards aloud or to
 9       A. Yes.                                           9   conduct full-text searches by keyword before the
10       Q. Did you check for nonrec errors?              10   PDF pages were OCR processed.
11           MR. KAPLAN: Objection. Vague.                11          MR. KAPLAN: Objection. Vague.
12           THE WITNESS: Yes.                            12   Compound.
13    BY MR. HUDIS:                                       13          THE WITNESS: You're making a statement.
14       Q. Did you find any?                             14   What's the question?
15       A. Yes.                                          15   BY MR. KAPLAN:
16       Q. Did you check for drops?                      16      Q. All right. I will ask the question a
17           MR. KAPLAN: Objection. Vague.                17   different way.
18           THE WITNESS: Yes.                            18          Could you use the Window-Eyes software
19    BY MR. HUDIS:                                       19   tool to read the text of the 1999 standards aloud
20       Q. Did you find any?                             20   before the PDF pages were OCR processed?
21       A. Yes.                                          21          MR. KAPLAN: Objection. Vague.
22       Q. Did you check for adds?                       22   Confusing.
23           MR. KAPLAN: Objection, vague.                23          THE WITNESS: No.
24           THE WITNESS: I didn't see any adds.          24   BY MR. KAPLAN:
25                                                        25      Q. Could you use the Window-Eyes software
                                                    314                                                       316
 1    BY MR. KAPLAN:                                       1   to conduct full-text searches by keyword before
 2       Q. So let's take that one at a time.              2   the PDF pages were OCR processed?
 3           So you checked for adds?                      3          MR. KAPLAN: Objection. Vague and
 4       A. Well, I examined the document, and I'm         4   confusing.
 5    talking about errors I observed as opposed to        5          THE WITNESS: No.
 6    errors I didn't observe. So if I had seen an add,    6   BY MR. KAPLAN:
 7    I would have been seeing it. I don't know.           7      Q. And, in fact, Mr. Fruchterman, you could
 8       Q. So --                                          8   not use any screen reader software tool to read
 9       A. I was looking for errors.                      9   the text of the 1999 standards aloud before the
10       Q. Right. So my first question is, did you       10   PDF pages were OCR processed?
11    check for adds errors?                              11          MR. KAPLAN: Objection. Vague and
12           MR. KAPLAN: Objection. Vague.                12   confusing.
13           THE WITNESS: If I -- if an add had been      13          THE WITNESS: That's correct. But some
14    there and I had been looking at it, I would have    14   screen readers have OCR software built in and
15    been checking for them, yes. But --                 15   would be able to do that process inside the screen
16    BY MR. KAPLAN:                                      16   reader. But I did not do that process inside the
17       Q. And you didn't find any?                      17   screen reader. I did it in a separate product.
18       A. I didn't see any adds.                        18   BY MR. KAPLAN:
19       Q. And did you check the entire 212 pages        19      Q. And you could not use a screen reader
20    of the document for adds errors?                    20   software tool to conduct full-text searches by
21       A. No.                                           21   keyword before the PDF pages were OCR processed?
22       Q. So now we're at page 10, at the bottom        22          MR. KAPLAN: Objection. Vague and
23    of page -- of Exhibit 64, your expert's report.     23   confusing.
24       A. Yes.                                          24          THE WITNESS: Correct.
25       Q. After you OCR-processed select pages          25

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 1    BY MR. KAPLAN:                                        1          THE WITNESS: No.
 2       Q. Let's turn to pages 11 and 12 of your           2   BY MR. HUDIS:
 3    report. And I'm focusing on the textual material      3      Q. And you didn't use the Wayback Machine
 4    in your report, Mr. Fruchterman, under the title      4   for that purpose either?
 5    "The Archive.Org Version of the 1999 Standards."      5          MR. KAPLAN: Objection. Vague.
 6       A. Yes.                                            6          THE WITNESS: No.
 7       Q. Now, it's true you were -- it's true you        7   BY MR. HUDIS:
 8    were told by a representative of the Internet         8      Q. And on that same page, page 11, at the
 9    Archive that an electronic text or txt version of     9   bottom paragraph, you were provided by an Internet
10    the '99 standards was hosted on the Internet         10   Archive representative with a text or txt file
11    Archive web site at one time?                        11   containing the content of the 1999 standards?
12       A. Yes.                                           12      A. Correct.
13       Q. You did not attempt to locate a                13      Q. All right. And it was represented to
14    historical version of the Internet Archive web       14   you by the Internet Archive representative that
15    site to determine whether an electronic text         15   this txt file containing the 1999 standards was
16    version of the 1999 standards was previously         16   the version that had been made available on the
17    hosted on Internet Archive?                          17   Internet Archive web site at one time?
18           MR. KAPLAN: Objection. Vague and              18      A. Yes.
19    confusing.                                           19      Q. All right. And now continuing on that
20           THE WITNESS: Not beyond doing a Google        20   same explanation on pages 11 and 12 of Exhibit 64,
21    search, which I don't believe turned it up for me.   21   your report, by reviewing the Archive.Org
22    But it might have if I kept going in the results.    22   derivatives page, you were able to determine that
23    BY MR. HUDIS:                                        23   when a PDF file is uploaded to the Internet
24       Q. But if you did, you didn't document it         24   Archive web site, that web site automatically
25    in your report.                                      25   creates derivative file types that are also
                                                     318                                                       320
 1           MR. KAPLAN: Objection. Vague.                  1   accessible on that web site, including in the txt
 2           THE WITNESS: What's your question?             2   format?
 3    BY MR. KAPLAN:                                        3          MR. KAPLAN: Objection. Vague and
 4       Q. Well, you said if you had a Google              4   confusing.
 5    search, you would have kept going. You would have     5          THE WITNESS: Yes. I read that at that
 6    found an historical version of the 1999 standards     6   link. And I believe I also saw mention of that in
 7    on the Internet Archive web site. You didn't          7   some of the depositions that I reviewed.
 8    document that in your report, did you?                8   BY MR. HUDIS:
 9       A. I didn't say that.                              9      Q. You just anticipated my next question.
10           MR. KAPLAN: Objection. Vague.                 10   Thank you, Mr. Fruchterman.
11    BY MR. HUDIS:                                        11          So from reading -- from your reading of
12       Q. What did you say?                              12   the transcripts from the depositions of
13       A. I said I did conduct a Google search for       13   Carl Malamud of Public.Resource and
14    the report. I found it on the Internet Archive       14   Christopher Butler of Internet Archive, when
15    site. I did not see a link -- I'm sorry.             15   Public.Resource uploaded the PDF file of the 1999
16           I found it on the Public.Resource.Org         16   standards to the Internet Archive web site, that
17    site with a takedown notice that it was gone. I      17   web site automatically created a txt file of the
18    did not see a link to the Internet Archive. All I    18   1999 standards?
19    said is it might have been in the Google results     19          MR. KAPLAN: Objection. Vague.
20    beyond the place where I stopped looking.            20          THE WITNESS: That's my understanding.
21       Q. So my question, then, is did you use any       21   BY MR. HUDIS:
22    method to determine whether an historical version    22      Q. Okay. And this txt file of the 1999
23    of the '99 standards was hosted on the Internet      23   standards, in your view, had been created by
24    Archive web site at one time in the past?            24   optical character recognition because the txt file
25           MR. KAPLAN: Objection. Vague.                 25   contained uncorrected errors typical of the OCR

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 1    process?                                             1      Q. I'm sorry. It's late.
 2           MR. KAPLAN: Objection. Vague.                 2          Mr. Fruchterman --
 3           THE WITNESS: Correct.                         3      A. Yes.
 4    BY MR. HUDIS:                                        4      Q. -- if you could turn to page 7 of your
 5      Q. What were those errors?                         5   expert's report, Exhibit 64.
 6      A. Well, looking at Malamud 34, the first          6          MR. KAPLAN: That one almost slipped
 7    page is a very stylized cover sheet. And the         7   past me.
 8    second page has the word "standards" bridging the    8          (Reporter interruption.)
 9    entire page. Those didn't recognize well. It's       9          MR. HUDIS: Sure. What he said was I
10    quite typical of OCR that it doesn't do well --     10   blew past him.
11    so, for example, I remember specifically the word   11          MR. KAPLAN: Yes.
12    "standards," I think, had errors in it as it        12   BY MR. HUDIS:
13    appeared on the top of this.                        13      Q. Are you there, Mr. Fruchterman?
14      Q. Continuing through the rest of                 14      A. I am.
15    Malamud 34, did you notice any other errors         15      Q. Thank you.
16    typical of the OCR process?                         16          As part -- now, looking at page 7, the
17      A. Those were the -- certainly that cover         17   top paragraph of your expert's report, as part of
18    page kind of material was the thing that stuck in   18   your accessibility review for the purposes of your
19    my mind as having obvious OCR errors. Once I got    19   expert's report, you reviewed the
20    down to, say, the copyright section, you know, I    20   Public.Resource.Org web site?
21    zeroed to that, and I saw very few errors.          21          MR. KAPLAN: Objection. Vague.
22      Q. But you did see errors?                        22          THE WITNESS: Yes.
23           MR. KAPLAN: Objection. Vague and             23   BY MR. HUDIS:
24    confusing.                                          24      Q. Did you observe on Public.Resource's web
25           THE WITNESS: I don't remember any            25   site any place where Public.Resource held itself
                                                    322                                                       324
 1    particular errors. I could conceive of that there    1   out as making the materials posted on its site
 2    might be one or two in that amount of text, but      2   accessible to the blind or print-disabled?
 3    perhaps zero.                                        3          MR. KAPLAN: Objection. Vague.
 4    BY MR. HUDIS:                                        4          THE WITNESS: I did not.
 5       Q. When you engaged in your accessibility         5   BY MR. HUDIS:
 6    to review, in particular, the txt file, access --    6      Q. Except for a placeholder noting the
 7    accessible at one time from the Internet Archive     7   voluntary takedown of the 1999 standards, you
 8    web site, did you go through the rest of the 1999    8   could not locate this document on the
 9    standards to look for OCR errors?                    9   Public.Resource web site, correct?
10           MR. KAPLAN: Objection. Vague and             10          MR. KAPLAN: Objection. Vague.
11    confusing.                                          11          THE WITNESS: Correct.
12           THE WITNESS: I did go through more           12   BY MR. HUDIS:
13    pages and performed the same tests that -- that I   13      Q. However, you did search for and access
14    had performed on the earlier one, but I had the     14   other standards posted on the Public.Resource web
15    benefit of the entire text file instead of just     15   site?
16    the handful of pages I'd recognized.                16          MR. KAPLAN: Objection. Vague.
17    BY MR. HUDIS:                                       17          THE WITNESS: Correct.
18       Q. And I did notice OCR errors throughout        18   BY MR. HUDIS:
19    the document?                                       19      Q. Mr. Malamud -- I did it again. My
20           MR. KAPLAN: Objection. Vague.                20   apologies.
21           THE WITNESS: A few. But I felt like          21          Mr. Fruchterman, there were no sign-up
22    the OCR was working quite well on this document.    22   procedures in order for an Internet user to access
23    BY MR. HUDIS:                                       23   the content on the Public.Resource web site,
24       Q. Mr. Malamud, let's --                         24   correct?
25       A. I'm not --                                    25          MR. KAPLAN: Objection. Vague. Calls

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 1    for speculation. Lacks foundation.                    1   for a legal conclusion. Confusing.
 2          THE WITNESS: Correct.                           2          THE WITNESS: I didn't find a DRM plan
 3    BY MR. HUDIS:                                         3   in evidence on the Public.Resource.Org site.
 4       Q. During your review of Public.Resource's         4          MR. HUDIS: I'd like to take a break for
 5    web site, you were able to access standards           5   five minutes.
 6    produced by other companies, such as the NFPA,        6          THE VIDEOGRAPHER: Going off the record
 7    without restriction?                                  7   at 5:33.
 8          MR. KAPLAN: Objection. Vague.                   8          (Whereupon, a recess was taken.)
 9          THE WITNESS: Yes.                               9          THE VIDEOGRAPHER: Back on the record at
10    BY MR. HUDIS:                                        10   5:39.
11       Q. There were no requirements that a user         11   BY MR. HUDIS:
12    be visually impaired to access these other           12      Q. Mr. Fruchterman, when you examined
13    standards documents on Public.Resource's web site?   13   Public.Resource's web site, you noticed a number
14          MR. KAPLAN: Objection. Vague.                  14   of standards that were hosted on that web site?
15          THE WITNESS: Correct.                          15      A. Correct.
16    BY MR. HUDIS:                                        16          MR. KAPLAN: Objection. Vague. Asked
17       Q. Mr. Fruchterman, for the next series of        17   and answered.
18    questions, I would like you to pull out              18   BY MR. HUDIS:
19    Exhibit 60, which was your supplemental              19      Q. Did you notice any restrictions on the
20    declaration from the HathiTrust litigation.          20   ability of an Internet user to copy any of the
21       A. Okay.                                          21   standards that you saw on Public.Resource's web
22       Q. And I'd also like you to pull out              22   site?
23    Exhibit 55, which is the materials we reviewed       23          MR. KAPLAN: Objection. Vague.
24    from the Bookshare web site.                         24          THE WITNESS: No.
25       A. Good. Do I get to put the rest of them         25

                                                     326                                                       328
 1    away?                                                 1   BY MR. HUDIS:
 2       Q. Soon.                                           2      Q. Did you notice any restrictions on the
 3       A. Or are these the only two I need to have        3   ability of an Internet user to download any of the
 4    out now?                                              4   standards hosted on the Public.Resource's web
 5       Q. Those are the only two you have to have         5   site?
 6    out now.                                              6          MR. KAPLAN: Objection. Vague.
 7       A. Okay. I have those two documents in             7          THE WITNESS: No.
 8    front of me, Exhibit 55 and 60.                       8   BY MR. HUDIS:
 9       Q. Okay. So I would like to focus your             9      Q. Did you notice any restrictions on the
10    attention on -- in the supplemental declaration,     10   ability of an Internet user to print any of the
11    Exhibit 60, to pages 2 and 3, where you talk about   11   standards hosted on the Public.Resource web site?
12    the digital rights management plan.                  12          MR. KAPLAN: Objection. Vague.
13       A. Yes.                                           13          THE WITNESS: No.
14       Q. Okay. And similarly, an explanation of         14          MR. HUDIS: Thank you, Mr. Fruchterman.
15    the DRM plan on page 18 of Exhibit 55. And that's    15   That's all I have.
16    the Bookshare web site.                              16          THE WITNESS: Okay. Thank you.
17       A. Okay.                                          17          MR. KAPLAN: I have no questions at this
18       Q. During your review of Public.Resource's        18   time.
19    web site, how did their web site compare with the    19          THE WITNESS: Okay. Oh, that's right.
20    Bookshare web site in terms of employing a digital   20   You get a chance, huh.
21    rights management or DRM plan to protect the         21          THE VIDEOGRAPHER: This marks the end of
22    digital copies of standards posted on                22   the deposition of James Fruchterman. Going off
23    Public.Resource's web site from unauthorized         23   the record at 5:41.
24    copying?                                             24          (Whereupon, the deposition concluded
25           MR. KAPLAN: Objection. Vague. Calls           25      at 5:41 p.m.)

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 1              CERTIFICATE OF REPORTER
 2           I, Kathleen A. Wilkins, Certified
 3    Shorthand Reporter licensed in the State of
 4    California, License No. 10068, hereby certify that
 5    the deponent was by me first duly sworn, and the
 6    foregoing testimony was reported by me and was
 7    thereafter transcribed with computer-aided
 8    transcription; that the foregoing is a full,
 9    complete, and true record of proceedings.
10           I further certify that I am not of
11    counsel or attorney for either or any of the
12    parties in the foregoing proceeding and caption
13    named or in any way interested in the outcome of
14    the cause in said caption.
15           The dismantling, unsealing, or unbinding
16    of the original transcript will render the
17    reporter's certificates null and void.
18           In witness whereof, I have hereunto set
19    my hand this day:
20    _______ Reading and Signing was requested.
21    _______ Reading and Signing was waived.
22    ___X___ Reading and Signing was not requested.
23           _________________________
24           KATHLEEN A. WILKINS
25           CSR 10068, RPR-RMR-CRR-CCRR-CLR




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